Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 1 of 89




      EXHIBIT C
     Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 2 of 89


                                                                              1
 1              UNITED STATES DISTRICT COURT

 2              EASTERN DISTRICT OF LOUISIANA

 3

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                                *
 6 DEBORAH JOHNSON,             *   CASE NO.
               Plaintiffs       *   2:16-CV-15607
 7                              *
                                *
 8 VERSUS                       *
                                *
 9                              *
     SANOFI S.A., ET AL         *
10           Defendants         *
                                *
11 ************************

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20                  Deposition of DEBORAH ANN

21 JOHNSON, taken on Thursday, November 30,

22 2017, commencing at 9:07 a.m., at the law

23 offices of Morris Bart, LLC, 601 Poydras

24 Street, 24th Floor, New Orleans, Louisiana

25 70130.



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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 3 of 89

                                                     2                                                              4
   1              INDEX                                    1 APPEARANCES:
                                                           2
   2                            PAGE                       3   Representing the Plaintiffs:
   3   Caption                     1                       4   MORRIS BART, LLC
   4   Exhibit Index                   3                        Attorneys-at-Law
                                                           5    601 Poydras Street
   5   Appearances                     4                        24th Floor
   6   Agreement of Counsel                  5             6    New Orleans, Louisiana 70130
                                                           7    BY: RICHARD L. ROOT
   7   Examination                                              AND CHRISTINE BRANDT
   8       BUFFY J. MIMS                6-341,             8
                                343                        9
                                                          10    Representing the Plaintiffs Steering
   9
                                                                Committee:
  10                                                      11
           RICHARD L. ROOT                 341-343        12    ANDREWS, THORNTON, HIGGINS, RAZMARA, LLP
  11                                                            Attorneys-at-Law
                                                          13    2 Corporate Park
  12                                                            Suite 110
  13                                                      14    Irvine, California 92606
                                                          15    BY: JOHN C. THORNTON
  14 Witness' Attestation              344                      AND LAUREN R. DAVIS
  15                                                      16
  16 Reporters' Certification         345-346             17    Representing the Defendants:
                                                          18    SHOOK, HARDY & BACON, LLP
  17                                                            Attorneys-at-Law
  18                                                      19    1155 F Street, NW
  19                                                            Suite 200
                                                          20    Washington, DC 20004
  20                                                      21    BY: BUFFY J. MIMS
  21                                                            AND HILLARY S. NICHOLAS
  22                                                      22
                                                          23
  23                                                      24 Reported by: Terence D. Skelton
  24                                                                  Certified Court Reporter
                                                          25          State of Louisiana
  25                                                      26


                                                     3                                                              5
   1              EXHIBIT INDEX                             1            STIPULATION
   2   Exhibits                Page                         2
   3   Exhibit A-Complaint            14                    3         It is stipulated and agreed by and
   4   Exhibit B-Notice             36                      4   between counsel that the deposition of
   5   Exhibit C-Second Amended PFS        39               5   DEBORAH ANN JOHNSON, is hereby being taken
   6   Exhibit D-Declaration          75                    6   under the Federal Rules of Civil Procedure,
   7   Exhibit E-UMC Record, Bates 35-37 248                7   in accordance with the Rules.
   8   Exhibit F-Visit 8/9/10        256                    8         The formalities of sealing and
   9   Exhibit G-Bates 113-114         293                  9   certification are hereby waived. The witness
  10   Exhibit H-Bates 503-505         300                 10   reserves the right to read and sign the
  11   Exhibit I-Photos           315                      11   deposition. The party responsible for
  12   Exhibit J-Photos           325                      12   service of the discovery material shall
  13                                                       13   retain the original.
  14                                                       14         All objections are to be made in
  15                                                       15   accordance with the Rules of Civil Procedure.
  16                                                       16             * * * * *
  17                                                       17         Terence D. Skelton, Certified Court
  18                                                       18   Reporter in and for the State of Louisiana,
  19                                                       19   officiated in administering the oath to the
  20                                                       20   witness.
  21                                                       21
  22                                                       22
  23                                                       23
  24                                                       24
  25                                                       25


                                                                                                       2 (Pages 2 to 5)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 4 of 89

                                                  6                                                  8
   1              DEBORAH ANN JOHNSON,                 1   Dunn?
   2   3601 Texas Drive, Apartment 726B, New           2     A. 1975.
   3   Orleans, Louisiana 70114, after having first    3     Q. Until?
   4   been duly sworn, did testify on her oath as     4     A. I was married.
   5   follows:                                        5     Q. Okay.
   6   EXAMINATION BY MS. MIMS:                        6     A. But I'm separated.
   7      Q. Good morning, Ms. Johnson.                7     Q. And did you officially change your
   8      A. Good morning.                             8   name to Johnson?
   9      Q. We just met. My name is Buffy Mims,       9     A. No. I was married. My maiden name
  10   and I represent Sanofi in this matter. And     10   was Dunn.
  11   sitting next to me to my left is Hillary       11     Q. Your maiden name was Dunn?
  12   Nicholas, also representing the defendant      12     A. Yes.
  13   Sanofi.                                        13     Q. And you were married in what year?
  14         And I'm going to go ahead and let the    14     A. '76.
  15   rest of the counsel at the table introduce     15     Q. Okay. And your last name is now
  16   themselves --                                  16   Johnson?
  17         MS. MIMS:                                17     A. Yes.
  18            -- since there's a number of you,     18     Q. Okay. And Mr. Root here today is
  19   and I forget everyone's last name already,     19   your lawyer; is that correct?
  20   so . . .                                       20     A. Yes.
  21         MR. ROOT:                                21     Q. Okay. How do you feel today?
  22            Sure. I'm Richard Root, and I         22     A. Fine.
  23   represent Ms. Johnson. I work at Morris        23     Q. Good. Have you taken any medications
  24   Bart.                                          24   today?
  25         MR. THORNTON:                            25     A. No.

                                                  7                                                  9
   1           John Thornton. I'm with Andrews,        1      Q. Are there any medications that you
   2   Thornton, Higgins, and Razmara. And also        2   normally take every day?
   3   present is Lauren Davis from our office. And    3      A. Yes. Uh-huh (affirmative).
   4   we're here for the PSC.                         4      Q. Have you skipped those medications
   5   EXAMINATION BY MS. MIMS:                        5   today, or is it just not time to take them?
   6     Q. Ms. Johnson, can you please state          6      A. No, I just -- unh-unh (negative). I
   7   your full name for the record?                  7   don't take them in the morning.
   8     A. Deborah Johnson.                           8      Q. When do you take them?
   9     Q. Okay. That includes your middle            9      A. In the afternoon.
  10   name?                                          10      Q. About what time?
  11     A. Deborah Ann Johnson.                      11      A. About 6:00.
  12     Q. Deborah Ann Johnson.                      12      Q. 6:00 p.m.?
  13        Have you ever gone by any other           13      A. Yes.
  14   names?                                         14      Q. Okay. And what medications do you
  15     A. No, ma'am.                                15   generally take every day?
  16     Q. Okay. No other names from a previous      16      A. My blood pressure and my gabapentin.
  17   marriage?                                      17      Q. Your blood pressure, what medication
  18     A. Dunn.                                     18   is that? What is it called?
  19     Q. All right. So your prior name was         19      A. Lisinopril --
  20   Deborah Dunn?                                  20      Q. And who --
  21     A. Yes.                                      21      A. -- my amlodipine, and the HCT.
  22     Q. Okay. Any other names besides             22      Q. Is that three separate medications
  23   Deborah Dunn and Deborah Johnson?              23   that you're listing?
  24     A. No.                                       24      A. Yes. Yes. And my gabapentin for my
  25     Q. When did you go by the name Deborah       25   neuropathy.

                                                                                      3 (Pages 6 to 9)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 5 of 89

                                                 10                                                   12
   1      Q. Okay. Tell me which of those are the       1       Q. Oh, okay.
   2   blood pressure medications.                      2       A. It's a big dose. It's 600
   3      A. My lisinopril, the -- what that is,        3   milligrams.
   4   the HCT, and the amlodipine.                     4       Q. So if you're traveling or outside of
   5      Q. Okay. Who prescribed those for you?        5   your house, you don't take your morning
   6      A. My doctor at JenCare. That's my            6   dosage?
   7   primary care.                                    7       A. No.
   8      Q. And what is that doctor's name?            8       Q. Okay. Will that affect your
   9      A. It's a new doctor. I'm not sure.           9   testimony at all here today, the fact that
  10      Q. How long have you been taking blood       10   you were unable to take that medication this
  11   pressure medication?                            11   morning?
  12      A. Oh, since I was about 23.                 12       A. If I would have taken it, I would
  13      Q. Okay. Has that dosage stayed the          13   have been dizzy.
  14   same over time, or has it changed at all?       14       Q. But it won't affect your ability to
  15      A. Pretty much the same. It's the same       15   testify here today, that you did not take it
  16   dosage.                                         16   this morning.
  17      Q. And what is the dosage?                   17       A. Oh, no, it would not.
  18      A. I take the one amlodipine and two         18       Q. Okay. Who prescribed that medication
  19   lisinopril and one of the other one, the HCT.   19   for you?
  20      Q. And do you take each of those at 6:00     20       A. My doctor when I was having surgery.
  21   p.m. every day?                                 21   That doctor prescribed it, but I still take
  22      A. Yes, ma'am.                               22   it through my primary care doctor.
  23      Q. That's your routine?                      23       Q. And is that the same doctor at
  24      A. Right.                                    24   JenCare?
  25      Q. Okay. The gabapentin, is that what        25       A. Yeah. Dr. Causey. That's her name.

                                                 11                                                   13
   1   -- how did you pronounce that one again?         1      Q. Okay. That's the name you couldn't
   2      A. Gabapentin.                                2   remember earlier?
   3      Q. Gabapentin. How long have you been         3      A. Right. Dr. Causey. See, I've had
   4   taking that medication?                          4   about three different doctors.
   5      A. Since I had surgery.                       5      Q. Have you consumed any alcohol in the
   6      Q. And what surgery are you referring         6   last 24 hours?
   7   to?                                              7      A. No, ma'am.
   8      A. My mastectomy.                             8      Q. Are there any emotional or personal
   9      Q. Your mastectomy.                           9   issues that will affect your testimony here
  10         And tell me what dosage you take of       10   today?
  11   that.                                           11      A. No.
  12      A. Three times a day.                        12      Q. Is there any reason that you can
  13      Q. Okay. What is that prescribed for?        13   think of, that you won't be able to testify
  14      A. For my numbness in my hand and my         14   truthfully, completely, and accurately here
  15   feet.                                           15   today?
  16      Q. Okay. When do you normally take that      16      A. No.
  17   medication?                                     17      Q. Okay. Have you ever done a
  18      A. Once in the morning, once in the          18   deposition before?
  19   evening, and once at night.                     19      A. No.
  20      Q. Okay. You didn't take that, though,       20      Q. I'm going to go over a couple of the
  21   this morning?                                   21   rules, before we get into the substance of
  22      A. No. I get dizzy when I take it in         22   the deposition. We both can't speak at the
  23   the mornings. If I'm out, I can't take it.      23   same time, so if you'll let me get my full
  24      Q. Why is that?                              24   question out before you give an answer,
  25      A. I be dizzy.                               25   because the court reporter won't be able to

                                                                                     4 (Pages 10 to 13)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 6 of 89

                                                  14                                                  16
   1   take it down if we're speaking at the same       1      A. Yeah.
   2   time.                                            2      Q. Okay. What is it that you understand
   3         If you don't understand a question,        3   your claims are in this litigation?
   4   ask me, ask for clarification. If you answer     4      A. I understand that I'm going against
   5   the question, I'm going to assume that you       5   this company.
   6   understood it. Okay?                             6      Q. What company is that?
   7      A. Yes.                                       7      A. The company.
   8      Q. Okay. If you need to take a break at       8      Q. Is that Sanofi?
   9   any time, just let me know, and we'll do         9      A. Yeah.
  10   that. Okay?                                     10      Q. Do you understand that you're
  11      A. Okay.                                     11   bringing claims against any other companies?
  12      Q. And you understand that for this          12      A. Yes.
  13   deposition here today, you're under oath, and   13      Q. What companies are those?
  14   that means that you have to tell the truth,     14      A. The company of the medication.
  15   just like you would in a courtroom.             15      Q. What medication is that, that you're
  16      A. Right.                                    16   referring to? Do you know the name of it?
  17      Q. Okay. You understand that you're          17      A. Taxotere.
  18   here today to testify about a lawsuit that      18      Q. Okay. What do you contend that
  19   you have brought, and one of the defendants     19   Sanofi did wrong?
  20   is Sanofi. Do you understand that?              20      A. Not giving more information
  21      A. Yes.                                      21   concerning the medication.
  22      Q. Okay. Let me show you -- I'm going        22      Q. More information regarding what?
  23   to mark the complaint as Exhibit A. Could       23   What is the additional information that you
  24   you take a look at that document, please, and   24   contend should have been provided?
  25   tell me if you've ever seen that before?        25      A. About the medication, referring to

                                                  15                                                  17
   1   Feel free to flip through the document to see    1   the chemo.
   2   if any of it triggers a memory as to whether     2      Q. And could you be a little more
   3   you have seen it or not.                         3   specific about what you allege the
   4      A. (Witness complies).                        4   information is that you think the company
   5      Q. Do you know whether you've ever seen       5   should have provided?
   6   that document before?                            6      A. More information about the
   7      A. No.                                        7   medication.
   8      Q. No, you don't know; or, no, you            8      Q. What additional information would you
   9   haven't seen it?                                 9   like to have known before you took Taxotere?
  10      A. I'm not sure.                             10      A. Knowing about the risks I have taken,
  11      Q. You're not sure whether you've ever       11   knowing that my hair would come out. It
  12   seen that document before?                      12   should have been temporary, but it was --
  13      A. Unh-unh (negative).                       13   didn't come back at all.
  14      Q. Okay. Do you understand what a            14      Q. All right. So --
  15   complaint is?                                   15      A. Had I known about the medication, I
  16      A. Yes.                                      16   would have asked more questions about, was
  17      Q. Okay. You understand that a               17   there anything else that I could have taken
  18   complaint is what triggers the filing of a      18   to prevent my hair from falling out.
  19   lawsuit in a case, right?                       19      Q. Okay. Let me see if I can break that
  20      A. Uh-huh (affirmative).                     20   down so I understand it. You contend that
  21      Q. Okay. So do you understand that a         21   Sanofi should have provided you more
  22   complaint, the complaint that I've just         22   information on --
  23   handed you, is the document that triggers all   23      A. No. The doctor.
  24   of the claims that you've brought against       24      Q. The doctor.
  25   Sanofi in this case. Do you understand that?    25      A. Uh-huh (affirmative).

                                                                                     5 (Pages 14 to 17)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 7 of 89

                                               18                                                    20
   1      Q. That the doctor should have provided     1   my hair and why did it come out and what
   2   you more information --                        2   caused it.
   3      A. No. Not my doctor, because he didn't     3      Q. What did Dr. Lewis say to you?
   4   understand. He didn't know.                    4      A. He didn't really know.
   5      Q. He didn't know what?                     5      Q. And what else did he say?
   6      A. More about the medication.               6      A. He couldn't really go into details
   7      Q. And when you say your doctor didn't      7   because he didn't know.
   8   know, who are you referring to?                8      Q. So you approached Dr. Lewis with
   9      A. My doctor who had dealings with me       9   questions about why your hair had fallen out;
  10   from my chemo.                                10   is that right?
  11      Q. What was that doctor's name?            11      A. Yeah.
  12      A. Dr. Lewis.                              12      Q. Okay. And when did that conversation
  13      Q. Okay. Has Dr. Lewis informed you        13   take place?
  14   that he would have liked more information     14      A. After my mastectomy.
  15   from Sanofi?                                  15      Q. And when was that?
  16      A. No.                                     16      A. After I had my surgery, June the
  17      Q. Well, how is it that you come to the    17   10th.
  18   conclusion that Dr. Lewis needed more         18      Q. Okay. And Dr. Lewis, you are saying,
  19   information about Taxotere?                   19   during that conversation, couldn't provide
  20      A. We discussed it, and he didn't know     20   you with any information as to why some of
  21   more about it.                                21   your hair fell out; is that accurate?
  22      Q. Tell me about that discussion.          22      A. Uh-huh (affirmative).
  23      A. The discussion we had, it was about     23      Q. Okay. I want to focus on the
  24   the medication. It was told to me that I      24   original question, which was, what do you
  25   would lose my hair permanently. Not           25   contend that Sanofi did wrong. And as I

                                               19                                                    21
   1   permanently, but temporarily.                  1   understand your testimony, you are saying
   2      Q. When did that discussion take place?     2   that Sanofi should have provided Dr. Lewis
   3      A. During the time we was getting ready     3   with more information; is that correct?
   4   for my -- after my operation.                  4      A. Yes.
   5      Q. After your mastectomy?                   5      Q. Okay. Do you contend that Sanofi
   6      A. Yes.                                     6   should have provided you with any additional
   7      Q. And you had a conversation with          7   information?
   8   Dr. Lewis, correct?                            8      A. No. Because I didn't know anything
   9      A. Yes.                                     9   about the company that made the medication.
  10      Q. And was this before you started         10      Q. Okay. And what specifically do you
  11   chemotherapy?                                 11   believe Sanofi -- what specific information
  12      A. No. It was after.                       12   do you believe that they should have provided
  13      Q. After. After you completed              13   Dr. Lewis?
  14   chemotherapy.                                 14      A. More information about the
  15      A. Uh-huh (affirmative).                   15   medication.
  16      Q. Okay. Was this a conversation you       16      Q. What specific information do you
  17   initiated with Dr. Lewis?                     17   believe that Sanofi should have provided him?
  18      A. Yes.                                    18      A. Knowing what the medication would do.
  19      Q. And why did you initiate a              19      Q. Can you be more specific than that?
  20   conversation with Dr. Lewis about Taxotere?   20      A. Knowing that the medication would
  21      A. That I wanted to know more about the    21   take the hair out permanently instead of
  22   medication.                                   22   temporarily.
  23      Q. Okay. So what did you say to            23      Q. Okay. And do you believe that from
  24   Dr. Lewis?                                    24   something that Dr. Lewis told you? Has
  25      A. I wanted to know what had happened to   25   Dr. Lewis ever informed you that he believes

                                                                                    6 (Pages 18 to 21)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 8 of 89

                                                  22                                                  24
   1   that Sanofi should have provided him more        1   ad?
   2   information regarding hair loss and Taxotere?    2      A. Well, it mostly talked about the
   3      A. No.                                        3   Taxotere and the hair loss, and that's what
   4      Q. Okay. So --                                4   caught my attention.
   5      A. That was --                                5      Q. And what is it about that that caught
   6      Q. -- why is it that you believe that         6   your attention?
   7   Sanofi should have provided him more             7      A. The hair loss.
   8   information?                                     8      Q. What about the hair loss?
   9      A. Because of my hair loss.                   9      A. I wanted to know more about the
  10      Q. Okay. We're going to move on from         10   medication that caused the hair loss. I was
  11   that. I will have a few more questions later    11   concerned about my hair coming out.
  12   about it.                                       12      Q. Okay.
  13         When did you retain counsel Morris        13      A. And I felt like one of the unlucky
  14   Bart to represent you in this case?             14   ones, so it caught my attention.
  15      A. Last year.                                15      Q. Did you discuss the advertisement
  16      Q. And how did you go about choosing         16   with anyone?
  17   Morris Bart to represent you?                   17      A. No. I called Morris Bart.
  18      A. I saw the ad, and I wanted to go in       18      Q. Okay. You called. And the telephone
  19   further, to find out about the medication and   19   number that you got to call Morris Bart, was
  20   what had happened to my hair.                   20   that something that you saw in the
  21      Q. When you say you saw the ad, what's       21   advertisement?
  22   the ad that you're referring to?                22      A. Yeah.
  23      A. The Morris Bart ad containing             23      Q. How long after you saw the
  24   Taxotere.                                       24   advertisement -- how long after you
  25      Q. Was this on television?                   25   telephoned Morris Bart was it that you filed

                                                  23                                                  25
   1     A. Yes, it was.                                1   suit in this case?
   2     Q. When did you see the advertisement?         2      A. It was soon after.
   3     A. The summer of last year.                    3      Q. Okay. After seeing the
   4     Q. You saw an advertisement in the             4   advertisement, did you do any further
   5   summer of 2016?                                  5   research? Did you look up anything on the
   6     A. Yeah. Around, what -- like, it was          6   Internet?
   7   summer.                                          7      A. No.
   8     Q. I'm sorry. I didn't hear that.              8      Q. No. Did you call any friends? Did
   9     A. The summer.                                 9   you speak to anyone about the advertisement?
  10     Q. Summer of 2016.                            10      A. Yeah. I talked to a couple of
  11     A. Uh-huh (affirmative).                      11   friends.
  12     Q. And this was on television?                12      Q. Okay. Tell me about that, those
  13     A. Yes.                                       13   conversations.
  14     Q. What did the ad -- describe the ad         14      A. Well, I called to find out, did they
  15   for me, generally.                              15   know anything about the ad.
  16     A. It was talking about Taxotere and          16      Q. And who did you call?
  17   hair loss, and I was concerned about my hair    17      A. A couple of my friends and a couple
  18   because it did not come back. So I pursued      18   of my family members.
  19   the ad and called Morris Bart so I could find   19      Q. Okay. Tell me -- let's start with
  20   out more about hair loss.                       20   your friends. What are the names of the
  21     Q. How many times did you see the ad          21   friends that you called?
  22   before you telephoned Morris Bart?              22      A. My friend Claudia.
  23     A. Twice.                                     23      Q. Claudia?
  24     Q. Okay. Did the ad -- is there               24      A. Uh-huh (affirmative).
  25   anything else that you can recall about the     25      Q. What is her last name?

                                                                                     7 (Pages 22 to 25)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 9 of 89

                                                  26                                                   28
   1      A. Jones.                                     1      A. Uh-huh (affirmative).
   2      Q. Claudia Jones. Did you call her            2      Q. -- with a history of cancer.
   3   before or after you contacted Morris Bart?       3      A. Uh-huh (affirmative). Yeah.
   4      A. I talked to her after.                     4      Q. Is that a history of breast cancer?
   5      Q. And what did you tell her?                 5      A. Yes.
   6      A. I asked her, did she know anything         6      Q. Okay. And so what did Erica Jones
   7   about it, but she didn't know anything about     7   tell you?
   8   it. Because I had asked her, did she have        8      A. She didn't know anything about it.
   9   anybody that she know, that maybe they could,    9      Q. And so was it that you were just
  10   you know, check into it, to find out more       10   generally calling to ask if they had heard of
  11   about it, too.                                  11   the medication or --
  12      Q. Why is it that you chose to call          12      A. No. I was calling, had they heard
  13   Claudia?                                        13   anything about the ad.
  14      A. She had a family member at one time,      14      Q. About the advertisement.
  15   but she died with cancer, and I wanted to       15      A. Right.
  16   know, did she know anything about it, and did   16      Q. And by saying that, do you mean, had
  17   she have anybody else in the family.            17   they heard anything about the lawsuit?
  18      Q. Did Claudia know anything about it?       18      A. Yeah. And I wanted to know, did she
  19      A. No. She hadn't heard anything.            19   know anything about it.
  20      Q. And did she refer you to anyone,          20      Q. Okay. And did she know anything
  21   provide you names of anyone that --             21   about it?
  22      A. No.                                       22      A. She didn't know anything about it,
  23      Q. -- you could talk to?                     23   no.
  24      A. No.                                       24      Q. Okay. So other than your niece
  25      Q. And Claudia herself, does she or did      25   and --

                                                  27                                                   29
   1   she ever have breast cancer?                     1      A. That was it.
   2      A. No.                                        2      Q. -- your friend -- so Erica Jones and
   3      Q. Okay. And you said friends. Were           3   Claudia were the only two people that you
   4   there any other friends that you called?         4   contacted.
   5      A. No. She was the only one.                  5      A. Right.
   6      Q. Okay. And you indicated that you           6      Q. After your telephone call,
   7   called her after you had spoken to Morris        7   precipitated by the ad, when was your next
   8   Bart. Did you tell her about your                8   communication with Morris Bart?
   9   conversations with Morris Bart?                  9      A. I came in to the office, and we
  10      A. No. Unh-unh (negative). We didn't         10   talked to discuss.
  11   discuss that.                                   11      Q. Do you remember when you came to the
  12      Q. Okay. You said you also called some       12   office with Morris Bart to talk to them?
  13   family members. What family members did you     13      A. It wasn't long after I called, phone
  14   call?                                           14   called.
  15      A. I called my niece.                        15      Q. Okay. And about when did that
  16      Q. What is her name?                         16   happen?
  17      A. Erica Jones.                              17      A. About a month after.
  18      Q. And tell me about the substance of        18      Q. Could you give me a date, a month,
  19   that conversation.                              19   and a year?
  20      A. Well, I had talked to her, because        20      A. August.
  21   she had a -- her mother-in-law had cancer.      21      Q. August of two thousand --
  22      Q. And so you chose to call Erica Jones      22      A. '16.
  23   because she had a --                            23      Q. -- '16. And who did you meet with
  24      A. Mother-in-law.                            24   when you came to Morris Bart in August of
  25      Q. -- family member --                       25   2016?

                                                                                     8 (Pages 26 to 29)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 10 of 89

                                                 30                                                   32
    1      A. Ms. Betsy.                                1      Q. Okay. And after you told her about
    2      Q. Betsy Barnes?                             2   the lawsuit --
    3      A. Yes.                                      3      A. She was asking me what it was
    4      Q. How long was that meeting?                4   concerning. So I told her it was concerning,
    5      A. About an hour.                            5   after I had my surgery, the medication. I
    6      Q. Was anyone else present?                  6   was trying to find out more about what had
    7      A. No. Me and her talked.                    7   happened to my hair loss.
    8      Q. Okay. Do you know any other people        8      Q. Okay. And what did she say to you in
    9   who are plaintiffs in this litigation?          9   response to that?
   10      A. No.                                      10      A. She didn't know what to say because
   11      Q. Have you talked about the fact that      11   she didn't know too much about it.
   12   you are a plaintiff in this litigation with    12      Q. Okay.
   13   anyone?                                        13      A. I told her I was trying to find out
   14      A. No.                                      14   more about it, to find out about my hair
   15      Q. Do your family members know you're a     15   loss.
   16   plaintiff in this litigation?                  16      Q. Did she give you any encouragement to
   17      A. I talked to my mother. She knows.        17   continue the lawsuit?
   18      Q. Okay. What is your mother's name?        18      A. She didn't say anything.
   19      A. Elnora Dunn.                             19      Q. All right.
   20      Q. Okay. And where does she live?           20      A. She's 84, so she don't -- you know,
   21      A. Mississippi.                             21   she'll talk, but she didn't encourage.
   22      Q. Could you give us her address,           22      Q. Other than that conversation, have
   23   please?                                        23   you had any other conversations with her
   24      A. 3793 Perry Road.                         24   about the lawsuit?
   25      Q. Okay. And when did you talk to your      25      A. No. I haven't spoken about it.

                                                 31                                                   33
    1   mother about the litigation?                    1      Q. Okay.
    2      A. Right after I started referring with      2      A. No.
    3   Morris Bart.                                    3      Q. How often do you talk to your mother?
    4      Q. All right. Was it after you met with      4      A. Every day.
    5   Ms. Barnes?                                     5      Q. And has that been the same pretty
    6      A. Yes.                                      6   much throughout your life, that you've spoken
    7      Q. And tell me about the substance of        7   -- that you talk to her every day?
    8   the conversation with your mother.              8      A. Yes.
    9      A. I was letting her know that I had saw     9      Q. How often do you see her?
   10   the ad, so I pursued the ad. And at the        10      A. I haven't seen her in a while because
   11   time, she was concerned, too, because I lost   11   I haven't had transportation to get up there.
   12   two sisters and a father.                      12   But I usually see her seven, eight times.
   13      Q. But what was her concern? What was       13      Q. Seven, eight times per what?
   14   your mother's concern?                         14      A. Year.
   15      A. About my condition. Was I okay and       15      Q. Seven, eight times per year.
   16   everything. So I told her I was fine.          16      A. Yeah. I usually go up there and
   17      Q. When you say your condition, what are    17   spend a week or two.
   18   you referring to?                              18      Q. Okay. Was your mother familiar with
   19      A. My surgery and by me taking              19   the treatment that you received for breast
   20   medication and stuff.                          20   cancer?
   21      Q. Okay. So your mother was concerned       21      A. No.
   22   about -- are you saying she was generally      22      Q. Okay.
   23   concerned about the fact that you were         23      A. She knew I had treatment, but she,
   24   diagnosed with breast cancer?                  24   you know, wasn't familiar with it.
   25      A. Yeah, she was.                           25      Q. Okay. Does your mother have a

                                                                                     9 (Pages 30 to 33)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 11 of 89

                                                  34                                                   36
    1   history of breast cancer herself?                1      Q. Did your review of those records help
    2      A. No.                                        2   refresh your memory about your treatment for
    3      Q. All right. So you didn't talk during       3   cancer?
    4   the period you were going through treatment      4      A. Yes.
    5   for breast cancer. You didn't discuss that       5      Q. Did you review any photographs?
    6   with your mother; is that accurate?              6      A. No.
    7      A. I spoke with her, but we didn't            7      Q. Did you bring any documents to that
    8   really talk about it.                            8   meeting?
    9      Q. Okay. Even during your period of           9      A. No.
   10   chemotherapy?                                   10      Q. Other than your attorneys, did you
   11      A. Yeah. I talked to her, but we didn't      11   talk to anyone else about the deposition here
   12   really discuss it.                              12   today?
   13      Q. Okay.                                     13      A. No.
   14      A. She would ask me, you know, how I'm       14      Q. Does anyone know that you're giving
   15   doing or something like that, but . . .         15   this deposition here today --
   16      Q. Okay. Do you know anyone else who         16      A. No.
   17   was treated with Taxotere?                      17      Q. -- other than your attorneys?
   18      A. No.                                       18      A. No.
   19      Q. Did you do anything to prepare for        19      Q. Did you do any research to prepare
   20   your deposition here today?                     20   for the deposition?
   21      A. Yes.                                      21      A. No.
   22      Q. What did you do?                          22      Q. I'm going to mark a notice of the
   23      A. I talked with my lawyer.                  23   deposition as Exhibit B. I'm going to hand
   24      Q. And when did that -- when did you         24   you the notice of deposition in this case.
   25   speak with your lawyer?                         25         Oh, I'm sorry. Ms. Johnson, can you

                                                  35                                                   37
    1      A. On yesterday.                              1   hand that back to me, please? I'm going to
    2      Q. How long -- and when you say your          2   go ahead and put a sticker on it.
    3   lawyer, you motioned to your right. Are you      3         Can you look at that document and
    4   talking about Mr. Root or Ms. Barnes or other    4   tell me if you've seen it before, please?
    5   attorneys?                                       5      A. (Witness complies). Yes.
    6      A. Mr. Root, Ms. Barnes.                      6      Q. You have seen this before?
    7      Q. Okay. So you spoke to Mr. Root and         7      A. Yes.
    8   Ms. Barnes yesterday.                            8      Q. Okay. If you turn to Page 5 of that
    9      A. Yes.                                       9   document -- and you understand that this
   10      Q. Did you actually come here to meet,       10   document is the document that was drafted to
   11   or was this on the telephone?                   11   give you notice that this deposition was
   12      A. I came to meet.                           12   going to take place, correct?
   13      Q. How long was that meeting?                13      A. Uh-huh (affirmative).
   14      A. About two hours.                          14      Q. And I will just state for the record,
   15      Q. Did you review any documents during       15   that there is an amended deposition that
   16   that meeting?                                   16   corrects the address for the Morris Bart
   17      A. Yes.                                      17   office here today, but this was the first
   18      Q. What documents did you review?            18   notice that was submitted.
   19      A. Documents pertaining to when I went       19         So, are you on Page 5?
   20   to the doctor.                                  20      A. Yes.
   21      Q. Medical records?                          21      Q. Okay. You see that says, items to be
   22      A. Yes.                                      22   produced. And the first sentence is: All
   23      Q. Okay. Anything other than medical         23   documents referenced or requested in
   24   records?                                        24   plaintiff's most recent PFS, fact sheet, and
   25      A. No.                                       25   not previously produced, including but not

                                                                                     10 (Pages 34 to 37)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 12 of 89

                                                  38                                                   40
    1   limited to.                                     1   that document?
    2         Did you review this list of items?        2      A. Yes.
    3   Do you remember if you reviewed this list       3      Q. Okay. Now, going back to Exhibit B,
    4   prior to coming here this morning?              4   the notice of deposition, and looking at the
    5      A. Yes.                                      5   items, did you use any documents to help you
    6      Q. You did review the list.                  6   prepare the Plaintiff Fact Sheet there? And
    7         Is that a yes, you did review the         7   when I ask you that question, I'm referring
    8   list prior to coming here this morning?         8   to any documents -- medical records,
    9         MR. ROOT:                                 9   journals, calendars, notebooks, anything.
   10            So what was your original             10      A. Well, I referred to my doctors.
   11   question?                                      11      Q. You spoke with your doctors in
   12         MS. MIMS:                                12   order --
   13            I'm asking her if she reviewed        13      A. No. I referred my paperwork from my
   14   the list of items that we requested in the     14   doctors to them.
   15   deposition notice.                             15      Q. Are you talk -- I don't understand
   16         THE WITNESS:                             16   what you're saying.
   17            Yes.                                  17      A. I referred my doctors. I signed
   18   EXAMINATION BY MS. MIMS:                       18   papers for the doctors to give me information
   19      Q. Okay. Did you bring any documents        19   about --
   20   with you here today?                           20      Q. Okay. So you signed a document --
   21      A. No.                                      21      A. -- about my health.
   22      Q. Okay. I'm going to go ahead and go       22      Q. You signed -- and are you referring
   23   through these, to make sure everything has     23   to a document that you signed that said: I
   24   been turned in. And if you want to follow      24   agree to allow my physicians to provide
   25   along with me, that's fine.                    25   information about my health?

                                                  39                                                   41
    1         And I'm going to mark, before we          1      A. Right.
    2   start reviewing the items in the list,          2      Q. Something to that effect?
    3   Exhibit C, which is entitled, Second Amended    3      A. Yes.
    4   Plaintiff Fact Sheet.                           4      Q. Okay. But did you -- do you keep a
    5         Do you recognize the document I've        5   copy of any of your medical records?
    6   just handed you, that's titled, Second          6      A. No. I didn't have a copy of my
    7   Amended Plaintiff Fact Sheet?                   7   medical records. I have -- when I went
    8      A. Yes.                                      8   through my lawyers, I had a tape, but I
    9      Q. What do you recognize that from?          9   didn't never get to see the tape.
   10   When did you see it?                           10      Q. You had it taped?
   11      A. When I came to the office.               11      A. It didn't work. It didn't work with
   12      Q. When was that? When was the last         12   all, you know, my medical records.
   13   time you saw that document?                    13      Q. What do you mean by a tape?
   14      A. I'm not sure.                            14      A. They gave me a tape when I went to my
   15      Q. When was the first time you saw that     15   Social Security, when I was getting my -- I
   16   document?                                      16   couldn't work anymore, so I was going through
   17      A. When I was signing my papers.            17   them to get, you know, my Social Security.
   18      Q. What papers is that -- are those that    18   So after that, they had gave me a disc.
   19   you're referring to?                           19      Q. Okay.
   20      A. When I was talking to my lawyer.         20      A. It was supposed to be with my medical
   21      Q. Are you referring to when you            21   records, but I didn't never see it because it
   22   initially decided to bring a lawsuit in this   22   didn't work.
   23   case?                                          23      Q. A disc. And when you say a disc,
   24      A. Yes.                                     24   you're referring to something that you would
   25      Q. Okay. And so did you help prepare        25   stick into a computer?

                                                                                    11 (Pages 38 to 41)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 13 of 89

                                                   42                                                  44
    1       A. Right.                                    1   really understand what was going on with it.
    2       Q. And you're saying that the Social         2   So I wanted to know more about it. So I did
    3   Security office provided you a disc of your      3   some reading about it. I had, you know,
    4   medical records.                                 4   pamphlets and stuff when I went to the
    5       A. Right.                                    5   clinic, you know, and I read about it like
    6       Q. And was that on your request?             6   that.
    7       A. No. After I finished everything when      7      Q. Okay. But let me just make sure I
    8   they just gave it to me.                         8   understand.
    9       Q. When did this happen?                     9      A. All right.
   10       A. But I --                                 10      Q. Was this before you saw an
   11       Q. Sorry. Go ahead.                         11   advertisement, the Morris Bart advertisement?
   12       A. I wanted to know about, you know,        12      A. Oh, yeah.
   13   different stuff that had happened during my     13      Q. Okay. And you had had your surgery
   14   surgery and everything, and I wanted to read    14   -- when you say your surgery, you're
   15   about it, but I didn't never get no paperwork   15   referring to a mastectomy.
   16   or anything. They wouldn't sign off on it.      16      A. Mastectomy, yes.
   17   So I don't know. I didn't never get it.         17      Q. And you had had chemotherapy at that
   18       Q. Who were you requesting -- were you      18   point, correct?
   19   requesting paperwork from someone?              19      A. Right.
   20       A. Well, I had wanted to see and read       20      Q. And you had -- also had radiation at
   21   about, you know, what had happened during my    21   that point, correct?
   22   surgery and chemo and radiation and things of   22      A. Right.
   23   that nature.                                    23      Q. And you're saying, at some point, you
   24       Q. When you say you wanted to read about    24   decided you wanted to learn more information
   25   it, are you talking about prior to filing the   25   about --

                                                   43                                                  45
    1   lawsuit?                                         1      A. Uh-huh (affirmative).
    2      A. Oh, no. Unh-unh (negative). That           2      Q. -- the treatment you had received,
    3   was way before. After my surgery and             3   right?
    4   everything.                                      4      A. Right. Right.
    5      Q. So after your surgery, you made a          5      Q. Okay. About when was this? What
    6   request to see your medical records.             6   year?
    7      A. Yeah. I wanted to see it.                  7      A. This was still in '10.
    8      Q. And you made that request to whom?         8      Q. 2010.
    9      A. To my doctor.                              9      A. Yes.
   10      Q. Which doctor are you referring to?        10      Q. Did you ask them for information
   11      A. My chemo doctor.                          11   prior to having those treatments? Did you
   12      Q. Do you know that doctor's name?           12   ask them for copies of any of your records?
   13      A. Lewis.                                    13      A. No. I wanted to know after.
   14      Q. Okay. So you made -- after your           14      Q. What was it that made you decide that
   15   mastectomy, you made a request to Dr. Lewis     15   you wanted to get information after the
   16   to provide you with a copy of your medical      16   treatments had been completed?
   17   records?                                        17      A. Because I wanted to know what was
   18      A. Yeah.                                     18   going through the chemo and going through my
   19      Q. Was that before you started               19   radiation. I wanted to know more about what
   20   chemotherapy?                                   20   had happened after and during the surgery.
   21      A. Yeah.                                     21      Q. Was there --
   22      Q. Why were you requesting --                22      A. That had taken place.
   23      A. Well, it was going to be after. It        23      Q. Was there something in particular
   24   was after I had chemo and radiation. I          24   that inspired this concern? Like, how did
   25   wanted to know more about it because I didn't   25   the concern come about?

                                                                                     12 (Pages 42 to 45)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 14 of 89

                                                   46                                                   48
    1      A. Being sick and irritated. And I had        1   was gone. And then there was another lady
    2   a port. I had been -- had a blood clot, and      2   there, so I didn't never get a response,
    3   they take it out and move it over, and I         3   so . . .
    4   wasn't understanding all that.                   4      Q. When she never responded to you, did
    5      Q. Okay. So you had had these                 5   you follow up? Did you go back to the social
    6   treatments for your cancer.                      6   worker's office?
    7      A. Right.                                     7      A. No.
    8      Q. And correct me if I'm wrong. As I          8      Q. Did you call her?
    9   understand it, you're telling me, some of the    9      A. No.
   10   treatment, including the port, and possibly     10      Q. Okay. But you referred to a disc
   11   some side effects that you experienced, led     11   that you received.
   12   you to go and then ask for more information     12      A. No. I got that through Social
   13   and to look at your medical records so you      13   Security, after I was trying to get my money,
   14   could understand what was happening to you;     14   because I couldn't no longer work.
   15   is that --                                      15      Q. Okay. So you made an attempt to get
   16      A. Right.                                    16   your records through the social worker.
   17      Q. -- is that a fair characterization?       17      A. No. They just gave it to me after I
   18      A. Right. Yes.                               18   finished everything. They told me they had a
   19      Q. Okay. And so you went to your             19   disc concerning my medical records.
   20   doctor, Dr. Lewis, and asked him for a copy     20      Q. Okay. And who is it -- they, that
   21   of your medical records at some point in        21   you're talking about, that gave it to you?
   22   2010, correct?                                  22      A. My lawyer at the lawyer's office.
   23      A. Right.                                    23      Q. Okay. I'm a little confused, and I'm
   24      Q. Okay. And what did Dr. Lewis say to       24   sorry. So we're going to have back up.
   25   you?                                            25   Let's start with your request --

                                                   47                                                   49
    1      A. Well, I then was referred to a social      1      A. Okay.
    2   worker.                                          2      Q. -- to the social worker.
    3      Q. What's the social worker's name?           3      A. Uh-huh (affirmative).
    4      A. I don't remember her name.                 4      Q. She was the social worker at what
    5      Q. Okay. Did you go to that social            5   hospital?
    6   worker?                                          6      A. University.
    7      A. Yes.                                       7      Q. What's the full name of the hospital?
    8      Q. Was she at the Social Security             8      A. It's not University anymore. It's
    9   office?                                          9   the Medical Center.
   10      A. No. Unh-unh (negative). She was at        10      Q. Okay. University Hospital.
   11   the hospital.                                   11      A. Right.
   12      Q. A social worker at the hospital.          12      Q. The hospital where Dr. Lewis worked.
   13      A. Yes.                                      13      A. Well, he used to work there. He's no
   14      Q. Okay. And tell me about that              14   longer there.
   15   conversation with the social worker. You        15      Q. Okay. But at the time of your
   16   requested your medical records?                 16   diagnosis and treatment --
   17      A. Yes.                                      17      A. Right.
   18      Q. And did you tell her -- did she ask       18      Q. -- was he at that hospital?
   19   you why you were requesting them?               19      A. Yes.
   20      A. Right. I told her I wanted to know        20      Q. Okay. And you went to the social
   21   more about my condition and what had            21   worker, attempted to get medical records --
   22   happened.                                       22      A. Yes.
   23      Q. Okay. And what did she say?               23      Q. -- but you were unable to.
   24      A. She told me she would look into it,       24      A. Right.
   25   but I never heard back from her, and then she   25      Q. And you did not follow up on that; is

                                                                                     13 (Pages 46 to 49)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 15 of 89

                                                  50                                                 52
    1   that accurate?                                   1      Q. Okay. And do you keep any copies
    2      A. Right.                                     2   anywhere on the computer or anywhere else?
    3      Q. And so you tried to get medical            3      A. No.
    4   records in a different way, right?               4      Q. So as far as you know, the only copy
    5      A. No. I didn't try to get it in a            5   you had was that disc, correct?
    6   different way. They gave me a disc.              6      A. Right.
    7      Q. Who is they?                               7      Q. Okay. Do you keep any documents
    8      A. When I went to Social Security on          8   related to your prescription medications at
    9   Poydras Street at my lawyer's office.            9   home?
   10      Q. So now, at this point, you've hired       10      A. No.
   11   Morris Bart.                                    11      Q. Do you keep a journal or any notes
   12      A. No.                                       12   regarding your cancer or your cancer
   13      Q. Okay. This is a lawyer for another        13   treatment?
   14   matter.                                         14      A. No.
   15      A. Right.                                    15      Q. Okay. Do you keep a journal or any
   16      Q. Is this for your disability?              16   notes, whether it's on the computer or
   17      A. Right.                                    17   handwritten, regarding your health in
   18      Q. Okay. So you had gone to your lawyer      18   general?
   19   related to your disability.                     19      A. No.
   20      A. Right.                                    20      Q. Do you keep a calendar?
   21      Q. And did you request records?              21      A. Yes.
   22      A. No, I didn't request it.                  22      Q. Does that calendar contain medical
   23      Q. Why were they providing you with          23   appointments on it?
   24   records then?                                   24      A. Somewhat. But most of the time, I
   25      A. I guess they was finished with            25   don't write them on there.

                                                  51                                                 53
    1   everything, and they gave it to me at the end    1      Q. But you do sometimes?
    2   of my session, after I finished everything.      2      A. Yes.
    3      Q. Okay. I understand. And they gave          3      Q. All right. How long have you kept a
    4   you a disc.                                      4   calendar?
    5      A. Right.                                     5      A. I have a calendar every year.
    6      Q. Did you ever put that disc in a            6      Q. Okay. Where's that located? And
    7   computer?                                        7   is --
    8      A. I tried to put it in there, but it         8      A. In my bedroom.
    9   didn't work.                                     9      Q. It's in your bedroom?
   10      Q. Okay. And was that around 2010?           10         And is it a paper calendar?
   11      A. No. That was about 2013, '14.             11      A. Yes. That's what I could write on.
   12      Q. Okay.                                     12      Q. And you write on -- you fill it out
   13      A. Somewhere along in there. That was        13   yourself.
   14   after I did everything. Because I had to go     14      A. Yes.
   15   through the process to receive my disability.   15      Q. Okay. And so, as you sit here today,
   16      Q. Okay. And where is that disk today?       16   do you have a calendar in your bedroom?
   17      A. I can't find it. I was trying to          17      A. Yes.
   18   find it, but I didn't find it. Because I had    18      Q. Okay. And so what happened to the --
   19   moved a couple of times, so I don't know.       19   and that's for 2017, right?
   20      Q. Okay. So other than that disc, do         20      A. Right.
   21   you keep any other copies of any medical        21      Q. Okay. Has a copy of that been
   22   records, pathology reports, radiology           22   provided to your lawyers?
   23   reports, anything like that? Do you have        23      A. No.
   24   anything at your home?                          24      Q. Do you still have your copy from --
   25      A. No.                                       25   did you keep a calendar in 2016?

                                                                                    14 (Pages 50 to 53)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 16 of 89

                                                   54                                                  56
    1      A. Yes, I had one.                            1      Q. Tell me what it is that you have
    2      Q. And where is that?                         2   there.
    3      A. I threw it away.                           3      A. It's from when I get my statements
    4      Q. Okay. And how about dating back to         4   every year.
    5   your cancer diagnosis, 2010, did you keep a      5      Q. Is it a letter?
    6   calendar back then?                              6      A. Yeah.
    7      A. Yes.                                       7      Q. Okay. And you --
    8      Q. So you've done this every year.            8      A. My award letter.
    9      A. Right.                                     9      Q. Your award letter.
   10      Q. Where are --                              10      A. Yes.
   11      A. But I really haven't kept up with it      11      Q. Okay. And you keep -- where do you
   12   this year.                                      12   keep those?
   13      Q. Okay. Where is -- how many calendars      13      A. In the Bible.
   14   do you have at your house? Do you have any      14      Q. In the actual Bible?
   15   prior years?                                    15      A. Yes.
   16      A. No, I don't have them anymore. I got      16      Q. Okay. Is that all of the records
   17   rid of them.                                    17   that relate to your disability? Are they all
   18      Q. When do you throw them out?               18   kept in your Bible?
   19      A. Every year.                               19      A. No. Unh-unh (negative). That's just
   20      Q. At the end of the year? At the            20   my award letter.
   21   beginning of the next calendar year?            21      Q. So in addition to the award letters,
   22      A. Right.                                    22   do you have other documents related to
   23      Q. Okay. But you do have 2017 at home.       23   disability at your house?
   24      A. Uh-huh (affirmative).                     24      A. No. I didn't keep it.
   25      Q. I'm going to ask that you provide a       25      Q. Okay. And do you have the award

                                                   55                                                  57
    1   copy of that calendar to your attorneys, so      1   letter dating back to when you first began
    2   that they can photocopy it and see if there's    2   receiving disability?
    3   anything relevant in there.                      3      A. No.
    4      A. Okay.                                      4      Q. So what is it that's in your Bible?
    5      Q. Do you remember writing anything down      5      A. That's the one from this year here.
    6   in that calendar for this year, relating to      6   I haven't got the new one yet.
    7   any medical appointments?                        7      Q. You have an award letter from 2017,
    8      A. Once or twice. There's not much in         8   correct?
    9   there because I really haven't written on it.    9      A. Well, it's one.
   10      Q. Okay. All right. Do you have any          10      Q. Okay.
   11   documents at your house relating to Social      11      A. The one for this year.
   12   Security or disability?                         12      Q. The one for this year.
   13      A. Uh-huh (affirmative).                     13      A. Uh-huh (affirmative).
   14      Q. Okay. What documents are those?           14      Q. Is that the only document at your
   15      A. Documents from when I applied for my      15   house related to Social Security or
   16   disability.                                     16   disability?
   17      Q. Have you provided those to your           17      A. Yeah.
   18   attorneys?                                      18      Q. I'm going to ask that you also
   19      A. No.                                       19   provide a copy or the original of that to
   20      Q. Do those documents contain any            20   your attorney, so they can photocopy that.
   21   medical records?                                21   Okay?
   22      A. No.                                       22      A. Okay.
   23      Q. Okay. Is it an application for            23      Q. Do you have any documents that are
   24   disability?                                     24   labels or product warnings or other handouts
   25      A. No.                                       25   or materials that you might have been

                                                                                    15 (Pages 54 to 57)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 17 of 89

                                                  58                                                 60
    1   provided related to either chemotherapy         1      Q. Do you have photographs in your
    2   generally or Taxotere specifically or any of    2   telephone?
    3   the chemotherapy agents that you were on        3      A. Yes.
    4   during your treatment?                          4      Q. Is that the only place -- if someone
    5      A. No.                                       5   asked you to produce -- to give me a
    6      Q. Okay. Do you have any documents at        6   photograph of yourself, where would you get
    7   your house, general or specific, related to     7   it? Would you get it from your telephone?
    8   caner treatment in any way?                     8      A. Yes.
    9      A. No.                                       9      Q. Is there any other place that you
   10      Q. Did you ever have any documents at       10   keep photographs?
   11   your house related to that?                    11      A. No. I lost all my photographs in the
   12      A. No. I didn't keep it. I read             12   storm, so I haven't kept up with them. The
   13   information, but I didn't keep it. Too much    13   only photographs I keep now is in my phone.
   14   paperwork, and I have too much, you know,      14      Q. And by the storm, do you mean
   15   laying around, so . . .                        15   Katrina?
   16      Q. Okay. Do you have an e-mail address?     16      A. Yes.
   17      A. Yeah.                                    17      Q. Okay. So after Katrina, you had no
   18      Q. Do you do research on the computer?      18   hard-copy photographs.
   19      A. No.                                      19      A. No.
   20      Q. What is your e-mail address?             20      Q. Okay. And post Katrina, did you --
   21      A. djohnsonm1957@gmail.com.                 21   did anybody ever take pictures of you and
   22      Q. Okay. djohnsonm --                       22   give you a copy, or did you keep any copies?
   23      A. m1957 --                                 23      A. I got a couple of pictures from my
   24      Q. -- 1957.                                 24   niece.
   25      A. -- @gmail.com.                           25      Q. And you have hard copies of those?

                                                  59                                                 61
    1     Q. All lower case?                            1      A. Yeah. She has them.
    2     A. Yes.                                       2      Q. Do you have hard copies?
    3     Q. Okay. No spaces or periods --              3      A. I don't have any, no.
    4     A. No.                                        4      Q. Okay. Do you have any pictures in
    5     Q. -- or anything like that?                  5   frames around your house, hanging up on the
    6        And do you have at your house, any         6   wall?
    7   packaging or containers or advertisements or    7      A. Yeah. I have one or two.
    8   anything at all related to Taxotere?            8      Q. Do they include pictures of you?
    9     A. No.                                        9      A. Yes.
   10     Q. Do you have any documents that you        10      Q. All right. Can you think of them as
   11   would have received from Sanofi?               11   you're sitting here today, like, what those
   12     A. No.                                       12   pictures are?
   13     Q. Do you have any correspondence            13      A. Yeah. I have one with me and my son.
   14   between you and Sanofi?                        14      Q. And when is that? When was the
   15     A. No.                                       15   picture taken, if you can recall?
   16     Q. Okay. Did you ever attempt to             16      A. A couple of years. That was before
   17   correspond with Sanofi?                        17   my surgery.
   18     A. No.                                       18      Q. Before your surgery.
   19     Q. Do you have hard physical copies --       19      A. Yes.
   20   do you keep copies of photographs at your      20      Q. Do you remember what year?
   21   house?                                         21      A. That would have been around '08.
   22     A. No.                                       22      Q. 2008?
   23     Q. Do you have photographs on the            23      A. I think it was.
   24   computer?                                      24      Q. Okay. So that's one picture.
   25     A. No.                                       25      A. Right.

                                                                                   16 (Pages 58 to 61)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 18 of 89

                                                  62                                                    64
    1      Q. And what about the others that you         1   of that exist anywhere -- and I understand
    2   have?                                            2   you don't have any pictures at your house.
    3      A. That's the only one I have at home.        3      A. Uh-huh (affirmative).
    4      Q. So the only photograph you have of         4      Q. But do any of your relatives, your
    5   yourself at the house is the one picture of      5   children, your niece, your nephews, does
    6   you and your son.                                6   anybody else have any pictures of you from
    7      A. Yes.                                       7   prior to 2010?
    8      Q. And it's in a frame.                       8      A. Before 2010?
    9      A. Right.                                     9      Q. Before your chemotherapy.
   10      Q. And you believe that's from 2008,         10      A. I'm more than sure there are.
   11   correct?                                        11      Q. Okay. Who would have those pictures?
   12      A. Uh-huh (affirmative). I was in            12      A. I think my niece would have some. I
   13   Atlanta.                                        13   was trying to get her to send it to my phone
   14      Q. All right. When did you start using       14   so I could retrieve them.
   15   a cell phone?                                   15      Q. What's your niece's name?
   16      A. Oh, back before Katrina.                  16      A. Erica Jones.
   17      Q. Before Katrina.                           17      Q. And how often are you in contact with
   18      A. Yes.                                      18   Ms. Jones?
   19      Q. And have you had the same cell phone      19      A. Maybe every two months.
   20   the whole time since Katrina?                   20      Q. Okay.
   21      A. Oh, no. Unh-unh (negative).               21      A. Because she works, so -- and maybe
   22      Q. Okay.                                     22   some holiday or something like that, we'll
   23      A. No, I had different phones.               23   run into each other if something is going on.
   24      Q. On your cell phone, are there any         24      Q. And you say that she's your niece.
   25   pictures -- how far back do the pictures go     25   Whose child is she?

                                                  63                                                    65
    1   in your cell phone?                              1      A. My oldest sister.
    2      A. Oh, that's pictures from this year.        2      Q. Okay. And your oldest sister's name
    3      Q. Only pictures from this year?              3   is?
    4      A. Yes.                                       4      A. Rosemary.
    5      Q. Okay. Are you sure about that? If          5      Q. Rosemary.
    6   you have your phone, you can check.              6         What was her last name?
    7      A. Oh, I'm positive.                          7      A. Dunn.
    8      Q. Okay.                                      8      Q. Dunn.
    9      A. Uh-huh (affirmative).                      9         And what is your niece's address,
   10      Q. Why does it -- did you take pictures      10   please?
   11   in 2016?                                        11      A. I don't know her address. She's in
   12      A. Yeah. But all those phones, I lost        12   LaPlace. All I know it's on Saint Charles
   13   them and my pictures. I didn't get them all     13   Place.
   14   back. I didn't get back.                        14      Q. Okay. What is her telephone number?
   15      Q. Okay. And did you ever connect to         15      A. I don't know it offhand.
   16   the Cloud and have pictures that would be       16      Q. Is it in your telephone?
   17   stored up there if they were taken in your      17      A. Yes.
   18   phone?                                          18      Q. Do you mind taking a break and
   19      A. No, I wasn't that advanced.               19   looking?
   20      Q. Okay. Are there any pictures              20      A. Well, I don't have it on me.
   21   anywhere that exist of you that depict you or   21      Q. Oh, okay. Well, I'm going to ask
   22   show you just prior to your chemotherapy        22   that during the break, which I'm sure we'll
   23   treatment?                                      23   have a break, but you go and get the
   24      A. Say it again.                             24   telephone number so that we can have that in
   25      Q. Are there any pictures that you know      25   the record.

                                                                                     17 (Pages 62 to 65)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 19 of 89

                                                  66                                                 68
    1       A. Okay.                                    1   Mardi Gras, Christmas, New Year's,
    2       Q. Okay. And I'm sorry. Tell me her         2   Thanksgiving.
    3   name again.                                     3      Q. Easter?
    4       A. Erica Jones.                             4      A. Not so much Easter. Some Easters.
    5       Q. Erica Jones.                             5      Q. So Mardi Gras, Christmas,
    6          And the pictures that she might have     6   Thanksgiving, New Year. So probably about
    7   of you, is that from family gatherings? How     7   four times a year.
    8   is it that she would have pictures of you?      8      A. Well, that's the holidays, but we see
    9       A. Family gatherings.                       9   each other in between those times. We have
   10       Q. Okay. And how often do you see          10   other, you know, family gatherings.
   11   Erica?                                         11      Q. Okay.
   12       A. I don't see her that often. She         12      A. Picnics and parties. Things of that
   13   lives in LaPlace. She don't live around        13   nature. Weddings or funerals.
   14   here.                                          14      Q. And why do you believe that Erica
   15       Q. How far away is that?                   15   might have pictures? Does she take pictures
   16       A. Oh, that's about -- LaPlace, I know     16   at these functions?
   17   it's about 45 to a hour from here. 45          17      A. Yes.
   18   minutes.                                       18      Q. Okay. With a camera or with her
   19       Q. That's in Louisiana?                    19   phone?
   20       A. Uh-huh (affirmative).                   20      A. Right now, with her phone.
   21       Q. Okay.                                   21      Q. Did she used to take them with a
   22       A. Yeah. Across the Spillway, they call    22   camera?
   23   it.                                            23      A. Yes.
   24       Q. Do you see Erica on most holidays?      24      Q. Okay. And you were asked for
   25       A. Yes.                                    25   pictures of yourself, to provide to your

                                                  67                                                 69
    1      Q. You do.                                   1   attorneys, just prior to when you started
    2          And is that -- do you go to Erica, or    2   having chemotherapy.
    3   does she come here to New Orleans?              3      A. Uh-huh (affirmative).
    4      A. She comes to New Orleans, and I goes      4      Q. Would Erica have pictures like that,
    5   out there.                                      5   or might she?
    6      Q. And has that been pretty consistent       6      A. She have a few pictures, but I had a
    7   for the past ten years?                         7   few I had got from my daughter. She had a
    8      A. Yeah. Uh-huh (affirmative).               8   couple that was hanging around, that didn't
    9      Q. So during the time just prior to your     9   get messed up.
   10   diagnosis --                                   10      Q. And what year were those pictures
   11      A. Uh-huh (affirmative).                    11   from?
   12      Q. -- with breast cancer, would you         12      A. That was during the time -- that was
   13   still have been spending holidays with her?    13   -- pictures she had was before my surgery.
   14      A. Right.                                   14   It would have been when I was in Texas. So
   15      Q. And during the time that you were        15   that would have been -- I was still out
   16   going through treatment for breast cancer,     16   there. I didn't come back here until my dad
   17   would you have seen her on those holidays?     17   passed. So that would have been about -- I
   18      A. No. I really didn't see anybody on       18   guess about 2006 or '07.
   19   holidays during that time.                     19      Q. Okay. I'm going to focus on the
   20      Q. Okay. And so right up until you          20   period, a year prior to you beginning
   21   started to get treatment, you probably would   21   chemotherapy. Okay. And when you said your
   22   have seen Erica at holidays, right?            22   daughter -- first, let's get her name on the
   23      A. Right.                                   23   record. Which daughter -- what is her name?
   24      Q. What holidays would you see her at?      24      A. Tishanne Johnson.
   25      A. Most of the holidays. We're together     25      Q. Tishanne Johnson.

                                                                                   18 (Pages 66 to 69)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 20 of 89

                                                  70                                                 72
    1        Did you ask Tishanne if she had any        1   so we're clear, to ask her for pictures both
    2   pictures of you within a year prior to you      2   just prior to your starting chemotherapy,
    3   beginning chemotherapy?                         3   within the year before.
    4      A. Yes, I did.                               4      A. Uh-huh (affirmative).
    5      Q. Did she?                                  5      Q. And you started chemotherapy when?
    6      A. She had some in her phone, but her        6      A. '10.
    7   phone got lost.                                 7      Q. 2010.
    8      Q. Okay. Does she have any currently,        8      A. 2010.
    9   pictures of you, from within a year prior to    9      Q. And what month?
   10   you beginning chemotherapy?                    10      A. That would have been June.
   11      A. I'm not sure.                            11      Q. June. So if you can ask --
   12      Q. Okay. I'm going to ask that you          12      A. I took my surgery, and then right
   13   follow up with Tishanne and ask her --         13   after, I did chemo.
   14      A. Uh-huh (affirmative).                    14      Q. So if you could ask her for pictures
   15      Q. -- if she can find any of those          15   from June 2009, up to June 2010, and
   16   pictures.                                      16   including during the period, if she has any
   17      A. Okay.                                    17   when you were going through chemotherapy.
   18      Q. Okay? And how about your niece,          18      A. Okay.
   19   Erica Jones, would she have any pictures of    19      Q. And then any pictures she might have
   20   you in the year prior to your beginning        20   during your period of treatment or
   21   chemotherapy?                                  21   immediately after.
   22      A. She may.                                 22      A. Okay.
   23      Q. She might.                               23      Q. Okay. And that would be both Erica
   24        And have you asked her about that?        24   and your daughter Tishanne. Okay?
   25      A. I asked her for pictures, but she        25      A. Okay.

                                                  71                                                 73
    1   hadn't had time to get to them. She told me     1      Q. Is there anybody else you can think
    2   she had to dig them up.                         2   of who might have pictures?
    3       Q. Okay. So did she think she might         3      A. No.
    4   have them and that she was going to look for    4      Q. Okay. How about your son, would he
    5   them and then get back to you?                  5   have any pictures of you?
    6       A. Right.                                   6      A. He don't really keep up with his
    7       Q. Okay.                                    7   phone. He always lose his phone and have to
    8       A. But that's been a minute, though, so     8   get a new phone. So I can ask him. And then
    9   I'll try to get some -- ask her again.          9   he travels a lot, so . . .
   10       Q. Okay. If you could ask her again,       10      Q. Okay. If you could follow up with
   11   I'd appreciate it.                             11   him, too, to see if he has any pictures
   12       A. Okay.                                   12   within that time period.
   13       Q. And we've got the holidays coming up.   13      A. Okay.
   14       A. Right.                                  14      Q. All right. I want to go to what I
   15       Q. Will you see her during the holidays?   15   handed you, and it's marked there as a C in
   16       A. Yeah.                                   16   front of you, Exhibit C, which is the Second
   17       Q. Okay. So if you could follow up with    17   Amended Plaintiff Fact Sheet.
   18   her. And hopefully, if she's traveling to      18        In your preparation for the
   19   New Orleans --                                 19   deposition here today, you said you met with
   20       A. Right.                                  20   your attorneys. Did you review this document
   21       Q. -- could you ask her to bring those     21   yesterday? Did you review that document
   22   pictures with her so that you can provide      22   yesterday, Ms. Johnson?
   23   them to your attorney?                         23      A. Yes.
   24       A. Right. Uh-huh (affirmative).            24      Q. You did. And did that document
   25       Q. Perfect. Now, I would like you, just    25   yesterday help refresh your recollection

                                                                                   19 (Pages 70 to 73)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 21 of 89

                                                  74                                                    76
    1   about issues in this lawsuit, your treatment,    1        Do you remember signing this back in
    2   your doctors, anything else related to the       2   August?
    3   lawsuit?                                         3      A. Yes.
    4      A. Yes.                                       4      Q. Okay. And do you understand that
    5      Q. It did. Now, you testified earlier,        5   when you signed this document on August 24th,
    6   when I first showed it to you, you do            6   2017, that you were attesting that all of the
    7   remember seeing that document from before        7   information provided in that Plaintiff Fact
    8   yesterday, right?                                8   Sheet was true and accurate to the best of
    9      A. Yes.                                       9   your knowledge?
   10      Q. Okay. Do you remember sitting down        10      A. Yes.
   11   with someone and helping them to answer those   11      Q. All right. Let's turn to Page 2 on
   12   questions?                                      12   the Plaintiff Fact Sheet. You were born in
   13      A. Yeah.                                     13   New Orleans; is that correct?
   14      Q. Okay. I am going to show you -- and       14      A. Yes.
   15   when did that occur? When did you sit down      15      Q. Where did you grow up?
   16   and try and fill out that document the first    16      A. 2511 Thalia Street.
   17   time and answer those questions? Was that       17      Q. Have you lived in New Orleans all
   18   this year in 2017?                              18   your life?
   19      A. Yes.                                      19      A. Yes.
   20      Q. Okay. Keep that out, because we're        20      Q. That address, 3601 Texas Drive,
   21   actually going to go through that document.     21   Apartment 726B, is that still a correct
   22      A. Okay.                                     22   address?
   23      Q. And you can put those aside, if           23      A. Yes.
   24   they're in your way.                            24      Q. How long have you lived there?
   25         I'm going to show what I've marked as     25      A. Five years.

                                                  75                                                    77
    1   Exhibit D. In Exhibit D, you'll see, right       1      Q. Where did you live before that?
    2   there in the middle of the page, it says,        2      A. I was in Mississippi. And then,
    3   Declaration. Do you see that?                    3   before that, Texas. Before Texas, I came to
    4       A. What it is?                               4   Mississippi, after Katrina, and then I left
    5       Q. In the middle of the page, it says,       5   and went to Texas.
    6   in bold, all capital letters, Declaration.       6      Q. Okay.
    7   Do you see that?                                 7      A. And after Texas, back to Mississippi.
    8       A. Yes.                                      8   And after my father passed, then I came back
    9       Q. And I'm going to read for you what it     9   to New Orleans, because three years after he
   10   says under there: Pursuant to 28 USC Section    10   passed, I was diagnosed, so I came home to
   11   1746, I declare under penalty of perjury,       11   get treatment.
   12   that all of the information provided in         12      Q. Okay. Let's unpack that a little
   13   connection with this plaintiff profile form     13   because I thought I asked you if you had been
   14   is true and correct to the best of my           14   in New Orleans your whole life, and I thought
   15   knowledge, information, and belief at the       15   you had answered yes. So you haven't lived
   16   present time.                                   16   here continuously your whole life, right?
   17         Do you see that statement?                17      A. No.
   18       A. Yes.                                     18      Q. So five years ago, you were living in
   19       Q. Do you remember reading that before?     19   Mississippi, correct?
   20       A. Yes.                                     20      A. Right.
   21       Q. Is that your signature below the         21      Q. What was your address in Mississippi?
   22   statement?                                      22      A. 3793 Perry Road.
   23       A. Yes.                                     23      Q. And where in Mississippi? What's the
   24       Q. Okay. And you signed it on August --     24   city?
   25   it's dated August 24th, 2017.                   25      A. Gloster, G-L-O-S-T-E-R.

                                                                                     20 (Pages 74 to 77)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 22 of 89

                                                   78                                                   80
    1      Q. Okay. And who -- did you live by           1     Q. Okay. What's --
    2   yourself there?                                  2     A. New Orleans.
    3      A. No. My mother.                             3     Q. Could you give us the whole address?
    4      Q. Okay. How long were you at that            4     A. 79 Cypress Grove, New Orleans,
    5   address?                                         5   Louisiana.
    6      A. From the time my father was sick.          6     Q. Okay. And do you know the ZIP code?
    7   That would have been -- oh, my God, about --     7     A. No. I don't remember the ZIP code.
    8   well, that's before '10, so that would have      8     Q. And you believe you lived there for
    9   been about -- I'm trying to think what year      9   about a year or so. Would that put it at
   10   that was that my father passed. Because I       10   about 2011?
   11   came home -- I guess I was there about three    11     A. About a year. Uh-huh (affirmative).
   12   years before, because my mom was alone, and     12     Q. That time frame?
   13   she didn't drive or anything.                   13     A. That would have been -- let's see. I
   14        So I came home after he passed, for        14   had the surgery, and I was at T's. No. I
   15   to see about her, and I didn't go back to       15   would have been with him about '12.
   16   Texas. I stayed there until the time I -- he    16     Q. About 2012.
   17   died three years prior to that, so that's       17     A. Yeah. Because I was with my daughter
   18   when I was there. And it was three years        18   during the surgery. I was with her.
   19   after that. That's when I was diagnosed.        19     Q. Okay.
   20      Q. Okay. Let's see if we can work our        20     A. And I left her, and I went to my
   21   way back.                                       21   brother's house.
   22      A. So that would have been 2007.             22     Q. And I'm sorry. Could you give me
   23      Q. Let's start with present. So the          23   your brother's full name again?
   24   address that's listed here, 3601 Texas Drive,   24     A. Charlie Dunn, Junior.
   25   you've been at for about five years.            25     Q. Charlie Dunn.

                                                   79                                                   81
    1      A. Right.                                     1      A. Uh-huh (affirmative).
    2      Q. That takes us back to 2012.                2      Q. During that period that you were at
    3      A. Okay.                                      3   your brother Charlie Dunn's house, did anyone
    4      Q. About.                                     4   else live in the house?
    5      A. Okay.                                      5      A. No. Just he and I.
    6      Q. Is that about right?                       6      Q. Okay. Immediately preceding that,
    7      A. Yeah. Okay.                                7   where did you live?
    8      Q. And then I believe you said you lived      8      A. At my daughter's house.
    9   with your mother for three years?                9      Q. At your daughter's house. And is
   10      A. Okay. Well, before that, I was with       10   that Tishanne?
   11   my brother. And my daughter, I was with her     11      A. Yes.
   12   right after I had the surgery.                  12      Q. What is Tishanne's address?
   13      Q. Let's take one at a time. So right        13      A. Well, she was on Amanda Street at
   14   before you moved to this address, in 2012 --    14   that time. That was in New Orleans.
   15      A. Uh-huh (affirmative).                     15      Q. Okay. Could you give us her full
   16      Q. -- where were you living immediately      16   address?
   17   preceding that?                                 17      A. I don't remember that address.
   18      A. I was at my brother's, and before         18      Q. Okay. And it's Tishanne Johnson?
   19   that, my daughter.                              19      A. Right.
   20      Q. Okay. Your brother lives where?           20      Q. And how long were you at that
   21      A. 79 Cypress Grove.                         21   address?
   22      Q. And where is that located?                22      A. I was there about a year.
   23      A. On the West Bank.                         23      Q. Would that have been 2011 then?
   24      Q. What's --                                 24      A. Yes.
   25      A. That's in New Orleans.                    25      Q. Okay. Were you living with --

                                                                                     21 (Pages 78 to 81)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 23 of 89

                                                82                                                   84
    1      A. '10 to '11.                              1      Q. Okay. I'm going to ask you to get
    2      Q. Were you living with Tishanne for any    2   that as well.
    3   portion of any of your cancer treatment?       3      A. Okay.
    4      A. Yes. I was with her right after I        4      Q. And the next in line, tell me where
    5   had my surgery. Okay. I did the chemo, and     5   the other children are?
    6   I did the radiation then.                      6      A. Dinika Johnson, she's in Metairie,
    7      Q. So while you were living with            7   Louisiana.
    8   Tishanne, you had your chemotherapy, your      8      Q. Do you know her address?
    9   radiation, and your surgery, during that       9      A. No. Raymiain Johnson, she's at
   10   whole period you were living with Tishanne?   10   Southeastern. She's in college. Rayquan
   11      A. Right.                                  11   Johnson, he's in Minden, Louisiana, right
   12      Q. Okay. And you were the only two         12   now. He's in the Youth Challenge Program.
   13   living there?                                 13   Raysan and Traveon, they home with their
   14      A. No.                                     14   mother.
   15      Q. Oh, okay. I'm sorry.                    15      Q. Do any of the grandkids that you have
   16      A. She have six kids.                      16   just named, do any of them work in the
   17      Q. Okay.                                   17   medical field, in the health profession at
   18      A. My grandkids.                           18   all?
   19      Q. So it was Tishanne, you, and the six    19      A. No.
   20   grandkids?                                    20      Q. Okay. What do they do?
   21      A. Right.                                  21      A. Donell Smothers, well, he's in
   22      Q. Did anyone else live in the house?      22   school. He does hair.
   23      A. No.                                     23      Q. He's in cosmetology school?
   24      Q. Okay. What are the names of the six     24      A. Yeah.
   25   grandkids?                                    25      Q. Okay.

                                                83                                                   85
    1     A. Donell Smothers, Junior; Dinika           1      A. And he works. And he works. Dinika,
    2   Johnson; Raymiain Johnson; Rayquan Johnson.    2   she's a supervisor at a hotel. And my twins,
    3   Those are twins. Raysan Johnson, Traveon       3   they both a waiter.
    4   Randall.                                       4      Q. Okay.
    5     Q. And these are all Tishanne's              5      A. And the two little ones, they don't
    6   children?                                      6   work.
    7     A. Right.                                    7      Q. So during the period that you were
    8     Q. What are the ages? If you could give      8   going through chemotherapy, would you have
    9   me the names, along with their ages.           9   seen all of your grandkids and your daughter
   10     A. Okay. Donell Smothers, 28.               10   on a daily basis?
   11     Q. Uh-huh (affirmative).                    11      A. Right.
   12     A. Dinika Johnson, 27; Rayquan Johnson,     12      Q. Okay. And so they were -- saw you as
   13   18; Raymiain Johnson, 18; Raysan, 16,         13   you were going through --
   14   Johnson; Traveon Randall, 14.                 14      A. Uh-huh (affirmative).
   15     Q. Do they all still live with Tishanne     15      Q. -- all of your cancer treatment.
   16   today?                                        16      A. Right.
   17     A. No. It's just the last two.              17      Q. Is that right?
   18     Q. Okay.                                    18      A. Yes.
   19     A. The older two, they on their own.        19      Q. Okay. And I'm sorry. The oldest
   20   One is in Texas. Donell Smothers is in        20   one, Smothers, is it Donell?
   21   Texas.                                        21      A. Yes.
   22     Q. Do you know his address?                 22      Q. Okay. Was he involved or going to
   23     A. No.                                      23   school for or interested in hair back at that
   24     Q. Do you know his telephone number?        24   time as well?
   25     A. Yeah, I have his number.                 25      A. Well, he was doing hair, but he

                                                                                   22 (Pages 82 to 85)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 24 of 89

                                                   86                                                   88
    1   wasn't in school for it.                         1      A. Right.
    2      Q. Okay. He did hair on his own,              2      Q. Did your sister -- I'm sorry. Did
    3   though.                                          3   your daughter come with you to any of the
    4      A. Right.                                     4   appointments, get you back and forth? What
    5      Q. Did he ever do your hair?                  5   was her involvement in the treatment at that
    6      A. Yes.                                       6   time?
    7      Q. Okay.                                      7      A. Well, she was working, but I had
    8      A. He and Dinika.                             8   transportation.
    9      Q. And is that a granddaughter?               9      Q. How did you have transportation?
   10      A. Yes.                                      10      A. Through my insurance.
   11      Q. Okay. And what was Dinika's last          11      Q. Okay. Was transportation --
   12   name again?                                     12      A. So the van -- yeah. The van used to
   13      A. Johnson.                                  13   pick me up and bring me back.
   14      Q. I'm going to come back to that.           14      Q. Okay. All right. So let's go back
   15   Prior to living at that address with your       15   to the addresses. Just prior -- you moved in
   16   daughter and her six children --                16   with your daughter around the time that you
   17      A. Uh-huh (affirmative).                     17   started treatment. Does August 2010 -- is
   18      Q. -- where did you live in the year         18   that about right?
   19   immediately -- where did you live immediately   19      A. I moved with her right before I had
   20   prior to that?                                  20   the surgery. Because I came home to get
   21      A. With my mother.                           21   started, but I had to get a biopsy and
   22      Q. That was when you were --                 22   everything. So that would have been -- I had
   23      A. Yeah.                                     23   surgery in June, so I was back in New Orleans
   24      Q. -- with your mother.                      24   around the end of April.
   25      A. Right.                                    25      Q. The end of April 2010.

                                                   87                                                   89
    1      Q. Okay. And so that would have been          1      A. Yeah.
    2   what year? Was it just, you moved in with        2      Q. And that's about the time you moved
    3   your daughter right when you were diagnosed      3   in with Tishanne.
    4   -- right after you were diagnosed?               4      A. Right.
    5      A. Yeah. I came home and told you I           5      Q. Okay. So prior to that, you were
    6   went by her, for to live with her, while I,      6   living with your mother. And how long were
    7   you know, check out everything. And then,        7   you living with her?
    8   when I had to have -- found out I had to have    8      A. About three years.
    9   surgery and everything, so I just stayed in      9      Q. And what was her address?
   10   New Orleans for the -- do everything. I came    10      A. 3793 Perry Road.
   11   home.                                           11      Q. Okay. And she's still there today.
   12      Q. Did you move to go live with Tishanne     12      A. Right.
   13   because of your diagnosis, because of the       13      Q. Okay. And was it just you and your
   14   treatment that you were about to get?           14   mother?
   15      A. Yeah. I had to have surgery, so I         15      A. Yes.
   16   didn't have -- I had to, you know, have         16      Q. Okay. And you were there for about
   17   someone to live with in New Orleans because I   17   three years; is that what you said?
   18   came from Mississippi. And prior to that, I     18      A. Yeah.
   19   was in Texas.                                   19      Q. Okay. So that --
   20      Q. Okay. So what was the reason that         20      A. When my father -- well, they had to
   21   you felt that you had to live with your         21   put him in the -- he was in a nursing home at
   22   daughter during your treatment period?          22   that time, so he was real sick. So I had got
   23      A. I had nowhere to live.                    23   a call that he, you know, wasn't going to
   24      Q. And you had to be in New Orleans for      24   make it too much longer. So I came home, and
   25   the treatment.                                  25   that year, well, he passed on my birthday.

                                                                                     23 (Pages 86 to 89)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 25 of 89

                                                 90                                                  92
    1      Q. Okay. I'm sorry to hear that.             1   in your PFS, 1976?
    2         When you made the decision to go move     2      A. Yes.
    3   in with Tishanne during your treatment          3      Q. What is your spouse's name?
    4   period, why did you choose her? You had the     4      A. Roussel Johnson.
    5   son living in New Orleans as well, correct?     5      Q. Okay. Is there a reason that you're
    6      A. No. He live here now. He was in           6   not divorced?
    7   Atlanta.                                        7      A. Well, he's in and out of jail all the
    8      Q. Okay.                                     8   time, so I don't see him. We have no
    9      A. So that's the only two kids I have.       9   contact.
   10      Q. Okay. And is that why you chose          10      Q. Okay. When is the last time you
   11   Tishanne, because she was --                   11   spoke with him?
   12      A. Right.                                   12      A. I haven't.
   13      Q. -- the only one in New Orleans, who      13      Q. Well, you spoke with him at some
   14   you could stay with?                           14   point.
   15      A. No. That's my daughter.                  15      A. Years. Years.
   16      Q. Okay. All right. So going back to        16      Q. Okay.
   17   the Plaintiff Fact Sheet, the address that     17      A. Uh-huh (affirmative).
   18   you have listed here, do you rent that         18      Q. Would it have been prior to your
   19   apartment?                                     19   cancer diagnosis?
   20      A. Yes.                                     20      A. Oh, no. Years ago. We haven't
   21      Q. Okay. And has there been any point       21   spoken since -- really, I may have seen him
   22   in the past five years when anyone has lived   22   once or twice, but we didn't speak.
   23   with you in this apartment?                    23      Q. Have you spoken to him in the past
   24      A. Yes.                                     24   ten years?
   25      Q. Tell me when that was.                   25      A. No.

                                                 91                                                  93
    1    A. My friend, he lives with me.                1      Q. Okay. Your children -- you have two
    2    Q. Someone lives with you there now?           2   children, right?
    3    A. Yes.                                        3      A. Right.
    4    Q. What is his name?                           4      Q. Okay. And are they -- is Roussel the
    5    A. Raymond Washington.                         5   father of those children?
    6    Q. Raymond Washington. And how do you          6      A. My daughter, not my son.
    7 know Raymond Washington?                          7      Q. Roussel is the father of Tishanne.
    8    A. That's my friend.                           8      A. Right.
    9    Q. By that, do you mean your boyfriend?        9      Q. Okay. Who is the father -- what's
   10    A. Yes.                                       10   the name of the father of your son?
   11    Q. Okay. And how long have you known          11      A. Rafe Harris.
   12 him?                                             12      Q. Rafe Harris?
   13    A. A year.                                    13        And do you have his address?
   14    Q. How long has he lived with you at          14      A. No.
   15 this address?                                    15      Q. Are you in communication with him?
   16    A. A year.                                    16      A. No. He's remarried.
   17    Q. A year. How old is Mr. Washington?         17      Q. When --
   18    A. 45.                                        18      A. Well, he just got married about --
   19    Q. And how is it that you met him?            19   what, around May. Somewhere along in there.
   20    A. Through a friend.                          20   This year.
   21    Q. Is he employed?                            21      Q. When is the last time you spoke with
   22    A. No.                                        22   him?
   23    Q. Are you currently married?                 23      A. Well, I saw him about three months
   24    A. Yes.                                       24   ago.
   25    Q. You were separated, I believe it says      25      Q. Are you in regular communication with

                                                                                   24 (Pages 90 to 93)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 26 of 89

                                                   94                                                  96
    1   him?                                             1      A.
    2     A. Not regular. But if we run across           2      Q. Okay. So it was                   or
    3   each other.                                      3   '08, or thereabouts. Does that sound about
    4     Q. At the time of your cancer diagnosis,       4   right?
    5   were you in communication with him?              5      A. About '07. Yeah.
    6     A. No. No. Because my -- he and I              6      Q. Okay. And how did your father die?
    7   didn't speak.                                    7      A. Cancer.
    8     Q. Is he someone who you've ever spoken        8      Q. What type of cancer?
    9   about with -- regarding health issues?           9      A. Brain, kidney, liver, colon.
   10     A. No.                                        10      Q. Okay. When was he diagnosed with
   11     Q. Okay. So you've never spoken with          11   cancer?
   12   him about --                                    12      A. I'm not sure because I think he was
   13     A. No.                                        13   hiding it. Because when we found out, he had
   14     Q. -- your breast cancer diagnosis.           14   got real, real sick at the time.
   15     A. No.                                        15      Q. When did you find out about his
   16     Q. Or any of the treatment.                   16   diagnosis?
   17     A. No.                                        17      A. I didn't find out about it until
   18        MR. ROOT:                                  18   about six months prior to him dying. Because
   19           I'm sorry to break in, but try          19   I wasn't home. I was in Texas. And my
   20   not to answer the question until she finishes   20   oldest brother went to the doctor with him,
   21   completely, because it's hard on the court      21   and I was with him that particular day when I
   22   reporter.                                       22   discovered he had cancer.
   23        THE WITNESS:                               23      Q. How did you find out?
   24           Oh.                                     24      A. When me and my brother went to the
   25        MR. ROOT:                                  25   doctor with him that day. Now, I didn't go

                                                   95                                                  97
    1           I know it's -- I know you know           1   in the room with him to know the details or
    2   the answer, but just let her finish her          2   anything, but I found out that day there, he
    3   question.                                        3   had cancer.
    4        THE WITNESS:                                4      Q. But did he come out of the doctor's
    5           Okay.                                    5   -- well, let's back up. How was it that you
    6   EXAMINATION BY MS. MIMS:                         6   were going to the doctor with your father?
    7      Q. Other than Roussel, do you have any        7   Did he ask you to come to the doctor with
    8   other prior marriages?                           8   him?
    9      A. No.                                        9      A. No. My brother took him to the
   10      Q. Now, I want to talk a little bit          10   doctor, and I rode with him to the doctor.
   11   about your family. You said that your father    11      Q. When your brother took him to the
   12   is deceased, right?                             12   doctor at that time, did your brother know
   13      A. Right.                                    13   that he had cancer?
   14      Q. And I know you said he died on your       14      A. Yeah, he knew, but I didn't know.
   15   birthday, but could you give me the date that   15      Q. Okay. Did you know when your brother
   16   he died, and the year?                          16   found out he had cancer?
   17      A. I don't remember.                         17      A. No.
   18      Q. You know it was on your birthday?         18      Q. And what is your brother's name?
   19      A. Yes.                                      19      A. Leon Collins.
   20      Q. Was it before your diagnosis with         20      Q. Okay. And so who told you that day
   21   cancer or after?                                21   that your father had cancer? Was it your
   22      A. Yeah, it's before.                        22   father or your brother or someone else?
   23      Q. All right.                                23      A. No. My brother.
   24      A. It was three years prior.                 24      Q. Okay. When did he tell you?
   25      Q. And your birthday is?                     25      A. When we got home from the doctor.

                                                                                     25 (Pages 94 to 97)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 27 of 89

                                                  98                                                 100
    1      Q. Okay. What did you think you were         1      A. No.
    2   going to the doctor's for?                      2      Q. Did you discuss a prognosis?
    3      A. I just knew he was sick, and I            3      A. No.
    4   thought he was going for a routine doctor's     4      Q. So he told you he had cancer, and
    5   visit.                                          5   then that was it. The conversation --
    6      Q. Okay. And your brother asked you to       6      A. Right.
    7   go with him and your dad that day?              7      Q. -- pretty much ended.
    8      A. Yeah. I just took the ride. Uh-huh        8      A. Uh-huh (affirmative).
    9   (affirmative).                                  9      Q. Okay. Did you follow --
   10      Q. Okay. And you didn't go back in the      10      A. It was like he, you know, didn't want
   11   room.                                          11   to discuss it. It was like -- it was like
   12      A. No.                                      12   maybe my father had told him don't, you know,
   13      Q. And when he came out, was there any      13   let us, you know, know. He didn't want us to
   14   discussion while you were at the doctor's      14   know.
   15   office of what was wrong with your father?     15      Q. Okay. When you say he didn't want to
   16      A. No.                                      16   discuss it, you mean your brother didn't want
   17      Q. Okay.                                    17   to discuss it?
   18      A. When we got home, then we start          18      A. No, he didn't.
   19   talking about it.                              19      Q. Okay. How about your father, did you
   20      Q. And who was it that did the talking      20   try and discuss it with him?
   21   about his diagnosis, about his condition?      21      A. No.
   22      A. Well, my brother that told me he had     22      Q. Did you try --
   23   cancer.                                        23      A. Because I know he was on the private
   24      Q. What did he tell you?                    24   side, and he didn't -- if something was
   25      A. That he had had a biopsy on his          25   wrong, he didn't want to let it, you know, be

                                                  99                                                 101
    1   brain, and that they discovered it was          1   out.
    2   cancer.                                         2      Q. Did you try and discuss it with
    3       Q. And did he tell you how long ago that    3   anyone?
    4   had happened?                                   4      A. No. I just left it alone.
    5       A. No. I didn't go into details.            5      Q. Okay. And you said he died about six
    6       Q. Did you ask him any questions about      6   months after that?
    7   it?                                             7      A. Yes.
    8       A. No.                                      8      Q. Okay. How often did you see him in
    9       Q. Did you know your father was sick        9   that six-month time period?
   10   prior to going to the doctor that day?         10      A. Well, he was coming to Texas.
   11       A. No.                                     11      Q. Your father was.
   12       Q. Did your father -- were there any       12      A. Yes.
   13   symptoms that your father was exhibiting to    13      Q. Coming to visit you in Texas.
   14   lead you to believe he might not be            14      A. Uh-huh (affirmative).
   15   completely healthy?                            15      Q. So how often would you see him?
   16       A. No. I wasn't home. I was in Texas.      16      A. So he came, and my two sisters. All
   17       Q. Okay. So --                             17   this was over three years prior to that, when
   18       A. I just happened to come home for the    18   he was still up and driving and everything.
   19   holiday. And when -- I stayed for, you know,   19   So he would come two or three times a year.
   20   about a week, and he was there, too. So he,    20      Q. And during -- well, I'm talking about
   21   in turn, brought him to the doctor, and I      21   after you found out about the diagnosis,
   22   thought it was a routine doctor's visit.       22   though.
   23       Q. After your brother told you that your   23      A. Uh-huh (affirmative).
   24   dad had been diagnosed with cancer, did you    24      Q. Like during that six-month period,
   25   discuss treatment options for your father?     25   about how many times did you see your father

                                                                                   26 (Pages 98 to 101)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 28 of 89

                                                  102                                                 104
    1   before he passed?                                1         MS. MIMS:
    2       A. I didn't see him until when they told     2           Yes.
    3   me he wasn't going to be here too much longer    3         THE WITNESS:
    4   and that I needed to come home.                  4           Yes.
    5       Q. Okay. So you went to the doctor's         5         MR. ROOT:
    6   appointment that day, and then didn't see him    6           The other thing is, the uh-uh,
    7   again until you received a --                    7   unh-unh, got to make sure it's a yes or no
    8       A. Right.                                    8   so --
    9       Q. -- telephone call saying he was very      9         THE WITNESS:
   10   ill.                                            10           Oh. Yes.
   11       A. Right. Uh-huh (affirmative).             11         MR. ROOT:
   12       Q. And then did you come back to New        12           -- the court reporter can get it.
   13   Orleans to see him?                             13   EXAMINATION BY MS. MIMS:
   14       A. I was in Mississippi. He was in          14      Q. How do you know he was on chemo?
   15   Mississippi.                                    15      A. He was going to the center before he
   16       Q. He was in Mississippi. Did you go to     16   got real down-low sick. And prior to taking
   17   Mississippi to see him?                         17   the medication after he got sick, well, he
   18       A. Right.                                   18   couldn't no longer stay at home. He had got
   19       Q. And how long after you arrived in        19   too sick to be at home, so they had to put
   20   Mississippi did he pass?                        20   him in the care, where they could give him
   21       A. About a month.                           21   his medication.
   22       Q. Did you stay in Mississippi during       22      Q. When did you find out that he was
   23   that period?                                    23   receiving chemotherapy treatment?
   24       A. Yes. Yes.                                24      A. Like six months prior before he died.
   25       Q. Okay. And were you with him a lot        25      Q. Okay. So let's back up, because I

                                                  103                                                 105
    1   during that last month of his life?              1   asked you earlier about the conversation with
    2      A. Right. I was with him when he              2   your father and your brother, after you came
    3   passed.                                          3   home from the doctor's office, and then you
    4      Q. Okay. I know that he had a very            4   learned that your father had cancer. Do you
    5   serious cancer. Did he appear very ill to        5   remember me asking you about that?
    6   you in that last month?                          6      A. Yeah.
    7      A. Yeah.                                      7      Q. Okay. And I said, did you have any
    8      Q. Was there any discussion during that       8   discussion about treatment for your father,
    9   period, with your father or anyone else,         9   and I thought you had said no. So during
   10   regarding --                                    10   that conversation when you came home from the
   11      A. No.                                       11   doctor, was there any discussion about
   12      Q. -- trying to get -- let me finish the     12   treatment for your father's cancer?
   13   question -- regarding trying to get treatment   13      A. No.
   14   for your father?                                14      Q. So when did you find out -- how did
   15      A. He was getting treatment. He was in       15   you find out that he was on chemotherapy, six
   16   a nursing home.                                 16   months prior to his death, which would have
   17      Q. But was there any discussion of           17   been --
   18   trying to treat the cancer, to prevent it       18      A. When we went to the doctor's office,
   19   from spreading, to prevent his death?           19   I had the discussion when we came home. He
   20      A. Well, he was on chemo.                    20   said he had cancer. And right after that, I
   21      Q. During that last month?                   21   found out he was having treatments.
   22      A. Uh-huh (affirmative).                     22      Q. How did you find that out?
   23      Q. Okay. How --                              23      A. Through the discussion with my
   24        MR. ROOT:                                  24   mother.
   25           Is that a yes?                          25      Q. Okay. So after the discussion with


                                                                                  27 (Pages 102 to 105)
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 800-227-8440                                                                               973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 29 of 89

                                                  106                                                 108
    1   your brother and your father, who you            1      Q. Uh-huh (affirmative). Were your
    2   indicated did not really want to discuss the     2   mother and father together at that time?
    3   condition --                                     3      A. Yes.
    4      A. Right.                                     4      Q. They were living together.
    5      Q. -- you had a conversation with your        5      A. Yes.
    6   mother.                                          6      Q. Did your mother give you a prognosis
    7      A. Yeah. Because he had got real low          7   for your father? Did she tell you how long
    8   sick. And she told me that he had been           8   they thought he had to live?
    9   having treatments.                               9      A. Well, when they called me, they say
   10      Q. And by treatments, you mean               10   he didn't have long.
   11   chemotherapy.                                   11      Q. I'm talking about -- we're still on
   12      A. Right.                                    12   the time period where you had the
   13      Q. Did you know what chemotherapy was at     13   conversation with your mother, and she told
   14   that time?                                      14   you that your father was getting chemotherapy
   15      A. No.                                       15   treatment.
   16      Q. Did you ask any questions about it,       16      A. No. No. I didn't have a timeline at
   17   do any research on it?                          17   that time.
   18      A. No.                                       18      Q. Okay. Did she indicate as to whether
   19      Q. Well, what did you understand that he     19   she or anyone else believed the chemotherapy
   20   was getting the chemotherapy for?               20   was helping him?
   21      A. Cancer.                                   21      A. Yes. They thought it would help him,
   22      Q. Okay. So you did understand that the      22   so they started him on the treatments.
   23   chemotherapy was treatment --                   23      Q. Okay. And you never discussed it
   24      A. It was for the cancer.                    24   with your father.
   25      Q. Let me finish. -- was for treatment       25      A. No. When I saw him, he was too sick.

                                                  107                                                 109
    1   to try and help his cancer in some way,          1      Q. And did you have a discussion with
    2   correct?                                         2   your mother at that time, when she told you
    3      A. Right.                                     3   about the chemotherapy, as to whether he
    4      Q. All right. So you understood that it       4   should continue on it or whether he should
    5   was to try and either make the cancer better,    5   seek other treatment? What was the -- what
    6   to treat it. You knew that it was directly       6   was that discussion like?
    7   related to the cancer, right?                    7      A. Well, he was going to treatment,
    8      A. Right.                                     8   and after treatment, when he found out he was
    9      Q. And had you heard of chemotherapy          9   too sick and he could no longer stay home,
   10   before that day?                                10   then they discussed with her about putting
   11      A. I had heard of it because my baby         11   him in a nursing home, because he had to have
   12   sister, she died with bone cancer.              12   medication, that he couldn't be -- you know,
   13      Q. Uh-huh (affirmative). And what is         13   she couldn't give it to him at home.
   14   her name?                                       14      Q. Do you know how often he was getting
   15      A. Imelda Dunn.                              15   chemotherapy treatment?
   16      Q. Okay. Well, we'll move on to her,         16      A. No.
   17   but let's stay on your father for a minute.     17      Q. Do you know if anyone would accompany
   18         So what else did your mother tell you     18   him to his chemotherapy treatments?
   19   besides the fact that he was getting            19      A. Well, I more than -- yes. Because he
   20   chemotherapy treatment?                         20   couldn't drive at that time, so I imagine it
   21      A. She told me that he had been -- had a     21   would be a family member. Because like I
   22   biopsy, and it was on the brain; and that he    22   said, I wasn't home.
   23   had kidney, liver, and he had had colon. But    23      Q. Okay. Do you know whether he had any
   24   he had one of his -- how you put it -- one of   24   side effects from his chemotherapy treatment?
   25   his testicles removed.                          25      A. No, I don't know.


                                                                                  28 (Pages 106 to 109)
                                          Veritext Legal Solutions
 800-227-8440                                                                               973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 30 of 89

                                                 110                                                   112
    1      Q. Okay. Did you view any side effects        1           Appointments.
    2   from the treatment?                              2   EXAMINATION BY MS. MIMS:
    3      A. Yes, I did.                                3      Q. Oh, appointments.
    4      Q. What were those?                           4      A. Yeah.
    5      A. My effects was that I had nausea,          5      Q. Okay. And which doctor is that,
    6   diarrhea --                                      6   that you're referring to?
    7      Q. No, no. I'm sorry. Did you observe         7      A. My primary care and different -- I
    8   any side effects in your father, from his        8   had her, like, my -- the DIS, where I go for
    9   chemotherapy treatment?                          9   my mammogram, they would e-mail me my
   10      A. No. I wasn't with him.                    10   appointment.
   11      Q. Okay. Did anyone tell you anything        11      Q. So do you use the e-mail mainly to
   12   about side effects from his chemotherapy        12   communicate with medical providers?
   13   treatment?                                      13      A. Not always. I use it for, like, when
   14      A. No.                                       14   I do stuff online when I'm on the websites
   15      Q. Okay. Other than the fact that he         15   for clothing and stuff like that.
   16   was having this treatment, and that it was an   16      Q. Okay. Do you communicate with any
   17   attempt to make his cancer better, did you      17   family members or children over e-mail?
   18   have any other discussions about his            18      A. No.
   19   treatment for cancer?                           19      Q. Do you communicate with any friends
   20      A. No.                                       20   over e-mail?
   21      Q. Okay. So it was just that discussion      21      A. No.
   22   with your mother.                               22      Q. Have you looked at your e-mail,
   23      A. Yeah.                                     23   looked through it, and provided any items to
   24        MS. MIMS:                                  24   your attorneys regarding the
   25          I think -- could we take a short         25   communications --

                                                 111                                                   113
    1   break?                                           1      A. No.
    2               (Recess).                            2      Q. -- with your physicians?
    3   EXAMINATION BY MS. MIMS:                         3         Let me finish.
    4      Q. Okay. Ms. Johnson, I wanted to ask         4         MR. ROOT:
    5   you about the e-mail address that you gave       5            Let her finish the question
    6   me. How long have you had that e-mail            6   before you answer.
    7   address?                                         7   EXAMINATION BY MS. MIMS:
    8      A. Oh, about a year.                          8      Q. Let me -- I'll restate it and
    9      Q. Did you have an e-mail address before      9   rephrase it. Have you done a search of your
   10   that?                                           10   e-mail for communications back and forth
   11      A. No.                                       11   between you and your physicians?
   12      Q. Okay. So that was the first e-mail        12      A. No.
   13   address you ever used.                          13      Q. Okay. I'm going to ask you also to
   14      A. Right.                                    14   add that to the list, and we're keeping a
   15      Q. Why did you get an e-mail address?        15   list of things that we're asking you to look
   16      A. Sometimes, my doctor would ask, you       16   for. But to go back, and we're going to need
   17   know, if they need to send something to me      17   you to go through your e-mails and give to
   18   about, you know, notification for               18   your attorneys, all communications with your
   19   appointments.                                   19   physicians, anything related to your health,
   20      Q. For?                                      20   anything related to this litigation, anything
   21      A. Appointment-wise.                         21   related to cancer or chemotherapy. Can you
   22      Q. Apartments?                               22   do that?
   23         MR. ROOT:                                 23      A. Yeah.
   24           Appointments.                           24      Q. Okay. And if you can provide that to
   25         THE WITNESS:                              25   your attorneys, that would be great. And

                                                                                  29 (Pages 110 to 113)
                                         Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 31 of 89

                                                 114                                                   116
    1   we'll remind them.                               1   the lump in your breast?
    2          MR. ROOT:                                 2      A. I told her when I found the lump.
    3             I have no doubt.                       3      Q. Okay. And what did she say when you
    4   EXAMINATION BY MS. MIMS:                         4   told her that?
    5      Q. All right. And so do you think you         5      A. She wanted to know, was it -- did it
    6   created that e-mail address in 2016? You         6   have to have anything to do with cancer. But
    7   said it's about a year old.                      7   at the time, I wasn't certain, because I had
    8      A. Yeah.                                      8   to get more testing done.
    9      Q. All right. Let's move on to discuss        9      Q. Okay. And then you had that testing,
   10   a little bit about your mother. I know you      10   right?
   11   said you have discussed a little bit about      11      A. Right.
   12   your health with her; is that correct?          12      Q. Then did you then go back and follow
   13      A. Yeah.                                     13   up with your mother and tell her what the
   14      Q. Okay. You told her about your             14   results were?
   15   diagnosis?                                      15      A. Right.
   16      A. Yeah. She knew I had cancer.              16      Q. Did you do that in person or over the
   17      Q. Okay. And when you told her about         17   telephone?
   18   the diagnosis, was that in person or was that   18      A. Person.
   19   over the telephone? How did you tell her?       19      Q. Okay. And what did you tell her?
   20      A. Person.                                   20      A. That they had -- I found a lump. And
   21      Q. In person.                                21   upon getting further treatment, that they
   22          What was her reaction to that? You       22   found that it was a mass dealing with cancer.
   23   telling her that you were diagnosed with        23      Q. What was your mother's reaction to
   24   breast cancer.                                  24   that? What did she say?
   25      A. She wanted to know what -- you know,      25      A. She really didn't know what to say.

                                                 115                                                   117
    1   what kind of treatment or whatever I was         1   She was, like, stunned because it was, you
    2   going to have to do, so . . . I informed her     2   know, cancer. She had done heard the word so
    3   that I was going to leave and go to New          3   much, so she really didn't know what to
    4   Orleans. I had found out through a physician     4   think.
    5   while I was in Mississippi.                      5      Q. Did you discuss treatment options
    6      Q. Did she ask you what type of               6   with her?
    7   treatment you were going to get?                 7      A. Not at that time because I didn't
    8      A. Well, I didn't know for certain            8   know what, you know, the treatment and thing
    9   myself yet, because I had to get further         9   was going to be at that time.
   10   testing.                                        10      Q. Okay. Was she worried at all about
   11      Q. Did you then follow up and tell her       11   the diagnosis?
   12   what the treatment was that you were going to   12      A. Yes, she was worried.
   13   have?                                           13      Q. Okay. And what did she say to you?
   14      A. Yeah. Well, I had told her for the        14      A. She wanted to know, what would I do
   15   time. I didn't really know what it was, but     15   about it. But by I was in Mississippi, I
   16   I had a knot in my breast. So that's when I     16   decided to come home, where I could be close,
   17   went to the doctor, to find out more about      17   because the hospital was a little further
   18   the mass I had found, so . . . I --             18   away. It was too far. And that was about
   19      Q. Did your -- go ahead.                     19   123 miles from where I was. So I was decided
   20      A. I then, in turn, decided to come home     20   to come home so I could be close to family
   21   to get treatment.                               21   members, and I could be, you know, with
   22      Q. Okay. But did you -- when you told        22   someone being at the hospital and they could
   23   your mother that you had been diagnosed with    23   come, you know, and see about me.
   24   cancer, was this after your diagnosis           24      Q. So you stated that she wanted to know
   25   occurred, or did you tell her when you found    25   what you were going to do about it. Once you

                                                                                  30 (Pages 114 to 117)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 32 of 89

                                                  118                                               120
    1   found out what your treatment recommendation     1      Q. All right. She lives by herself.
    2   was, did you then have a follow-up discussion    2      A. Yes.
    3   with her about that? Tell her what you --        3      Q. How long has she had diabetes?
    4   what treatment had been recommended for you?     4      A. It's been a while.
    5       A. Well, at the time, after I took my        5      Q. How many siblings do you have?
    6   tests -- I had to do further testing. And        6      A. I only have two brothers now.
    7   after, I think we talked over the phone          7      Q. You have two living brothers.
    8   because I was in New Orleans at that time.       8      A. Right.
    9       Q. And what was -- tell me what you          9      Q. Okay. And what are their names?
   10   discussed on that conversation.                 10      A. Charlie Dunn, Leon Collins.
   11       A. I let her know that it was, for          11      Q. How old is Charlie?
   12   certain, cancer. And at that time, they did     12      A. Charlie is 55.
   13   more testing and had to find out more about     13      Q. And how old is Leon?
   14   it for to decide what they were going to do     14      A. 67.
   15   at that time.                                   15      Q. How often are you in contact with
   16       Q. Did you ever discuss the treatment       16   them?
   17   that you were going to have for your cancer?    17      A. I talked to Charlie last week. He
   18       A. Not really.                              18   travels. And my oldest brother is out of
   19       Q. Okay. Did you ever give her details      19   town, in Chicago.
   20   about your diagnosis, in terms of hormone       20      Q. Does your -- okay. So Charlie --
   21   receptors or nodes or --                        21   where does Charlie live?
   22       A. No.                                      22      A. In New Orleans.
   23       Q. You didn't get into that type of         23      Q. Okay. And how often do you speak
   24   detail.                                         24   with him?
   25       A. No.                                      25      A. Sometimes every week. Sometimes

                                                  119                                               121
    1      Q. Okay. She never accompanied you to         1   every two weeks. He travels with his job.
    2   the doctors, correct?                            2      Q. What does he do?
    3      A. No.                                        3      A. Travels.
    4      Q. All right. In terms of your mother's       4      Q. What --
    5   knowledge about your diagnosis and your          5      A. He's a crane mechanic.
    6   treatment, does all of her knowledge about       6      Q. And who does he work for?
    7   that come from you?                              7      A. Hoist & Crane.
    8      A. Yeah. The little that she know.            8      Q. Has he ever accompanied you to any
    9      Q. The little that she knows.                 9   doctors' visits?
   10      A. Right.                                    10      A. No.
   11      Q. Okay. You gave us the names of your       11      Q. Do you ever discuss your health with
   12   six grandkids who are Tishanne's children.      12   Charlie?
   13   Does Rafe have any children? That's your        13      A. He knew I had cancer.
   14   son's name, right?                              14      Q. Okay. Well, when did he find out you
   15      A. No, he don't have any.                    15   had cancer?
   16      Q. Okay. So the only six grandchildren       16      A. When I did my surgery.
   17   are the ones you've already told us about,      17      Q. Okay. You told him after your
   18   correct?                                        18   diagnosis?
   19      A. Right.                                    19      A. Right.
   20      Q. How is your mom's health today?           20      Q. What did you tell him?
   21      A. She has diabetes. She takes a pill.       21      A. That I had cancer, and I may have to
   22   And she takes the -- she was on Xarelto, but    22   have surgery.
   23   she takes another medication now. But she's     23      Q. And what was his reaction?
   24   been pretty much -- gets around by herself,     24      A. He was stunned, too.
   25   and she does for herself.                       25      Q. Did you discuss your treatment

                                                                                 31 (Pages 118 to 121)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 33 of 89

                                                  122                                                 124
    1   options with him?                                1      Q. And you are 60?
    2      A. No.                                        2      A. 60.
    3      Q. Did you see him during the period          3      Q. So she's five years older?
    4   when you were going through chemotherapy?        4      A. Right.
    5      A. Yes.                                       5      Q. Did you grow up in the same house as
    6      Q. How often?                                 6   Rosemary?
    7      A. Whenever he was in town.                   7      A. Yes.
    8      Q. He would come to see you at                8      Q. What year did she die?
    9   Tishanne's?                                      9      A. Rosemary been dead about nine years.
   10      A. Right. Uh-huh (affirmative).              10      Q. What did she die from?
   11      Q. And you said your other brother's         11      A. She had a heart attack in her sleep.
   12   name is Leon?                                   12      Q. Had Rosemary ever been diagnosed with
   13      A. Right.                                    13   cancer?
   14      Q. Okay. Where does live?                    14      A. She had lymph node cancer.
   15      A. Chicago. Warren, Illinois.                15      Q. Lymph node cancer?
   16      Q. What does he do?                          16      A. Yeah. I mean, the thyroid. Thyroid.
   17      A. He teach. I think it's ROTC.              17      Q. Thyroid cancer.
   18      Q. Is he in the military?                    18      A. Thyroid.
   19      A. Yes. He's retired. But he's a             19      Q. When was she diagnosed with that?
   20   teacher now.                                    20      A. Oh, that was -- I was about 16 when
   21      Q. Okay. And what branch of the              21   she had that.
   22   military did he retire from?                    22      Q. Do you remember when you found out
   23      A. Army.                                     23   that she had been diagnosed with thyroid
   24      Q. Did he ever accompany you to any of       24   cancer?
   25   your doctors' visits?                           25      A. No. I didn't know. I was young when

                                                  123                                                 125
    1      A. No.                                        1   I, you know, knew -- you know, they were
    2      Q. Okay. Did you ever discuss your            2   talking about it. But I didn't really know
    3   health with him?                                 3   what it was.
    4      A. He knew I had cancer.                      4      Q. Did she receive any treatment for it?
    5      Q. Now, tell me -- you said that you had      5      A. Yes, she had chemo. I heard them
    6   some sisters, right?                             6   discuss chemo, but I didn't know at that time
    7      A. Right.                                     7   what it was.
    8      Q. How many?                                  8      Q. You were a teenager at that time.
    9      A. Two.                                       9      A. Right.
   10      Q. And tell me their names.                  10      Q. But you do recall that -- during that
   11      A. Rosemary Dunn.                            11   time period, as a teenager, do you recall a
   12      Q. And your other sister.                    12   period where your sister Rosemary was going
   13      A. Imelda Dunn.                              13   through chemotherapy treatment?
   14      Q. Okay. How old was Rosemary at the         14      A. Right.
   15   time of her death?                              15      Q. Okay. And what did you think the
   16      A. Rosemary died at the age of -- she        16   chemotherapy was?
   17   was in her -- I think my sister was 55 or 56.   17      A. I didn't know at the time.
   18   Somewhere along there.                          18      Q. Okay. But you knew it was treatment
   19      Q. Is she an older sibling?                  19   for the cancer, right?
   20      A. Yes. She was my older sister.             20      A. All I knew, it was cancer, and I
   21      Q. How much older than you was she?          21   really didn't know -- understand what they
   22      A. Let me see. I'm 60. She would have        22   were talking about.
   23   been 65.                                        23      Q. Okay. Did she have any -- is that
   24      Q. If she were alive today, she'd be 65.     24   the only treatment that she received, that
   25      A. Uh-huh (affirmative). Right.              25   you know of?

                                                                                  32 (Pages 122 to 125)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 34 of 89

                                                 126                                                   128
    1      A. That's all I knew.                         1      Q. Let me finish the question.
    2      Q. Okay.                                      2      A. Oh. Uh-huh (affirmative).
    3      A. And I don't know, you know, no             3      Q. Do you remember that still as you sit
    4   details or anything.                             4   here today, you have a recollection of being
    5      Q. Well, how was it that you found out        5   a teenager and observing your sister Rosemary
    6   that she was going through chemo- --             6   lose a lot of weight during the period she
    7      A. I heard a conversation.                    7   was going through chemotherapy; is that
    8      Q. -- therapy treatment --                    8   right?
    9      A. Oh, I'm --                                 9      A. Yeah.
   10         MR. ROOT:                                 10      Q. Okay. And as you sit here today, you
   11           You've got to let her finish the        11   also have an independent recollection that
   12   question.                                       12   she lost hair going through the chemotherapy
   13         THE WITNESS:                              13   treatment.
   14           Oh.                                     14      A. Right.
   15   EXAMINATION BY MS. MIMS:                        15      Q. Okay. What do you remember about her
   16      Q. I'll restate it. How was it that you      16   hair loss?
   17   found out that Rosemary was going through       17      A. That her hair -- she lost hair. And
   18   chemotherapy treatment?                         18   she lost weight. And I don't know how long
   19      A. Through hearing a conversation.           19   she had treatment, but at some point, her
   20      Q. From another family member?               20   hair did come back.
   21      A. They were discussing a conversation,      21      Q. Uh-huh (affirmative). Do you
   22   and I heard it. But I --                        22   remember how long after treatment that was?
   23      Q. What did --                               23      A. No.
   24      A. I didn't know, you know, what it was      24      Q. But you did know that the weight loss
   25   or what they were talking about.                25   and the hair loss was a side effect of the

                                                 127                                                   129
    1      Q. What did you hear them say?                1   chemotherapy treatment she was undergoing.
    2      A. Later on, I heard -- she said she had      2   Was that your understanding at the time?
    3   thyroid.                                         3      A. Yeah.
    4      Q. Thyroid cancer?                            4      Q. Did the chemotherapy -- strike that.
    5      A. Uh-huh (affirmative).                      5         Was your sister cured of her cancer?
    6      Q. Okay. What did you hear them say           6      A. She was in remission.
    7   about chemotherapy?                              7      Q. She went into remission.
    8      A. That she have to have a treatment,         8         How long after she was diagnosed did
    9   and it was going to be a chemo treatment.        9   she go into remission?
   10      Q. Okay. Was the discussion that the         10      A. I'm not sure.
   11   chemotherapy was going to be a serious          11      Q. All right. Did she go into remission
   12   treatment?                                      12   after the chemotherapy treatment?
   13      A. I don't know.                             13      A. Yeah.
   14      Q. Okay.                                     14      Q. Okay. And did she ever have a
   15      A. See, I didn't -- that's all I heard.      15   resurgence of cancer? Was she ever diagnosed
   16   I didn't hear nothing else after that.          16   again?
   17      Q. Okay. Did your sister Rosemary have       17      A. No.
   18   any side effects from the chemotherapy          18      Q. Okay. So she went into remission
   19   treatment?                                      19   after the treatment and never had any other
   20      A. I know she lost a lot of weight.          20   issues with her cancer; is that --
   21   When I saw her, she had lost a lot of weight,   21      A. No.
   22   and some of her hair had fell out.              22      Q. -- accurate?
   23      Q. Okay. And you remember that still as      23      A. Right. As far as I know.
   24   you sit here --                                 24      Q. Okay. And what is your other
   25      A. I saw --                                  25   sister's name?

                                                                                  33 (Pages 126 to 129)
                                         Veritext Legal Solutions
 800-227-8440                                                                                973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 35 of 89

                                                  130                                                 132
    1      A. Imelda Dunn.                               1      A. That was when I was young, when
    2      Q. How old was -- is she a younger            2   she --
    3   sibling?                                         3      Q. Let me finish.
    4      A. Baby sister.                               4         How often would you see her during
    5      Q. Baby sister.                               5   that time?
    6        How much younger is she than you?           6      A. You're talking about Imelda?
    7      A. One year. Well, she was 49 when she        7      Q. Imelda.
    8   died.                                            8      A. Well, I was seeing Imelda often
    9      Q. What year was that?                        9   before Katrina.
   10      A. Her and Rosemary died five months         10      Q. Was she going through her
   11   apart.                                          11   chemotherapy treatment here in New Orleans?
   12      Q. Did she die before or after Rosemary?     12      A. No.
   13      A. She died after.                           13      Q. It was in Mississippi.
   14      Q. What did she die from?                    14      A. Baton Rouge.
   15      A. Bone cancer.                              15      Q. In Baton Rouge.
   16      Q. Was Rosemary living in New Orleans        16         So you were traveling to go see her
   17   when she died?                                  17   during that time; is that right?
   18      A. No. They both was in Mississippi.         18      A. Yeah. I came home. And in turn, I
   19      Q. Okay. And were you living in              19   would come home. And when I found out she
   20   Mississippi at that time?                       20   was about -- well, I came home to visit for
   21      A. No.                                       21   like holidays. And she was going through
   22      Q. You were in New Orleans?                  22   treatment.
   23      A. No. I was in Texas.                       23      Q. You were coming from Mississippi --
   24      Q. You were in Texas.                        24      A. Texas.
   25        When did you find out that Imelda was      25      Q. You were coming from Texas, to see

                                                  131                                                 133
    1   diagnosed with cancer?                           1   your family.
    2      A. We was trying to receive a diagnosis       2      A. Uh-huh (affirmative).
    3   on her before we left for Katrina. She was       3      Q. Okay. And during that period, Imelda
    4   going to the doctors and she was sick, but we    4   was going through her chemotherapy
    5   couldn't get no answers. And so we ended up      5   treatment --
    6   leaving without knowing. So we all went to       6      A. Right.
    7   Mississippi. Well, we left late, so we was       7      Q. -- right?
    8   in Texas. And then we came back to               8      A. Uh-huh (affirmative).
    9   Mississippi after we got settled.                9      Q. Okay. And so you personally observed
   10      Q. Were you all living together at the       10   the weight loss and the hair loss during that
   11   time?                                           11   period, right?
   12      A. Yeah. At some point after Katrina.        12      A. Right.
   13   Like I said, they was already in Mississippi,   13      Q. Okay. And you knew that that was
   14   with my mom. And I was stuck in New Orleans     14   happening from the chemotherapy treatment,
   15   for Katrina. We didn't get out until, like,     15   right?
   16   five days later. And they flew us to Texas.     16      A. Yeah.
   17   And so we was in a hotel, and then we -- my     17      Q. And Imelda -- pre-Katrina, something
   18   nephew picked us up, and he brought us to       18   had happened, and the family realized she was
   19   Mississippi.                                    19   sick. Is that accurate?
   20      Q. Were you living with Rosemary at the      20      A. Right.
   21   time that she was going through her             21      Q. Okay. And she was not diagnosed
   22   chemotherapy treatment?                         22   until after Katrina?
   23      A. No. Unh-unh (negative).                   23      A. Right.
   24      Q. So how often would you see her during     24      Q. Is that right?
   25   the --                                          25      A. Right. Because --

                                                                                  34 (Pages 130 to 133)
                                          Veritext Legal Solutions
 800-227-8440                                                                               973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 36 of 89

                                                  134                                                 136
    1      Q. Were you living with Imelda at that        1      Q. And so what else did Rosemary tell
    2   time?                                            2   you about your sister's diagnosis?
    3      A. No.                                        3      A. At that time, she had to find out
    4      Q. Okay. Well, how did you know that          4   more about it because she didn't know at that
    5   she was sick? What were the symptoms?            5   time what they were going to do. And later,
    6      A. She told me she had been sick, and         6   she let me know that her cancer had went too
    7   she had been going to the doctor, and they       7   far and they wasn't going to be able to
    8   couldn't find out what was wrong. So we was      8   operate or anything. So they just said they
    9   trying to get to Ochsner. Then the storm had     9   couldn't do no more for her. So she was just
   10   came, so . . . It wasn't until she went to      10   at home, and she was in hospice.
   11   Mississippi, and then went to the doctor,       11      Q. At the time when she called and told
   12   too, Baton Rouge, and they diagnosed her with   12   you about the diagnosis, from that point to
   13   the cancer.                                     13   the time when you said there was nothing
   14      Q. What specifically did they diagnose       14   further that they could do, what was the time
   15   her with?                                       15   lapse there?
   16      A. Bone cancer.                              16      A. From the time they called me, it was
   17      Q. Just bone cancer?                         17   pretty much five days left.
   18      A. Yes.                                      18      Q. Did she ever receive any treatment
   19      Q. How did you find out about her            19   for her cancer?
   20   diagnosis?                                      20      A. Yeah, there was treatment. And she
   21      A. Oh I had got a call.                      21   was going back and forth to Baton Rouge.
   22      Q. Who called you?                           22      Q. Okay. For treatment?
   23      A. My older sister.                          23      A. Chemo.
   24      Q. What did she tell you?                    24      Q. For chemo.
   25      A. She told me that they had diagnosed       25         And I'm happy to take a break if you

                                                  135                                                 137
    1   her with cancer and it was in her bones.         1   want to take a break. Would you like to take
    2      Q. Rosemary called you.                       2   a short break?
    3      A. Right.                                     3      A. (Nods head affirmatively).
    4      Q. And at the time, Rosemary had already      4      Q. Okay.
    5   been diagnosed with cancer; is that right?       5         MS. MIMS:
    6      A. No. Imelda?                                6            Do you want to take a five-minute
    7      Q. Yeah. You're saying Rosemary called        7   break?
    8   you.                                             8         MR. ROOT:
    9      A. Right. And told me about --                9            Sure. Very good.
   10      Q. To tell you about --                      10         MS. MIMS:
   11      A. -- Imelda.                                11            Okay.
   12      Q. -- Imelda's diagnosis.                    12                (Recess).
   13      A. Right.                                    13   EXAMINATION BY MS. MIMS:
   14      Q. At that time, had Rosemary already        14      Q. Okay. We're back on the record. And
   15   been diagnosed with cancer?                     15   I apologize, Ms. Johnson.
   16      A. No. Rosemary had cancer years back.       16      A. That's okay.
   17   Rosemary didn't have it at that time. She       17      Q. But I know it's upsetting for you,
   18   was --                                          18   but they are questions that --
   19      Q. Right. But she had already been           19      A. Uh-huh (affirmative).
   20   diagnosed with cancer --                        20      Q. -- that I'm going to have to ask.
   21      A. Oh, yea.                                  21      A. I understand.
   22      Q. -- many years ago, right?                 22      Q. So if you need to take another break,
   23      A. Yes.                                      23   just let me know, and we can take as many
   24      Q. Okay.                                     24   breaks as you need. Okay?
   25      A. Yes.                                      25      A. Okay.

                                                                                  35 (Pages 134 to 137)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 37 of 89

                                                 138                                                  140
    1      Q. So we ended, discussing, Imelda had        1      A. Right.
    2   been diagnosed with bone cancer, correct?        2      Q. Was this before -- was Rosemary
    3      A. Yes.                                       3   diagnosed before you got married?
    4      Q. And that was after Katrina, right?         4      A. Yes.
    5      A. Right.                                     5      Q. Okay.
    6      Q. Okay. And Imelda also had                  6      A. Uh-huh (affirmative).
    7   chemotherapy treatment; is that right?           7      Q. So it was in the early '70s, then,
    8      A. Yes.                                       8   when this --
    9      Q. Okay. And do you remember when             9      A. Right.
   10   Imelda had chemotherapy treatment?              10      Q. -- when her diagnosis happened.
   11      A. No.                                       11      A. Uh-huh (affirmative).
   12      Q. Okay. Were you around during that         12      Q. Okay. And it was also in the early
   13   period of time?                                 13   '70s when Rosemary had chemotherapy
   14      A. No.                                       14   treatment, and you observed her side effects
   15      Q. Okay. How did you learn that she had      15   of weight loss and hair loss from that
   16   had chemotherapy treatment?                     16   chemotherapy treatment, right?
   17      A. Phone call to Rosemary.                   17      A. Right.
   18      Q. To Rosemary.                              18      Q. And you knew at that time that the
   19        What did Rosemary tell you about her       19   side effects were from the chemotherapy
   20   treatment?                                      20   treatment, right?
   21      A. She had been getting treated for her      21      A. No. I didn't -- when I found out, I
   22   bone cancer through chemo, and she was going    22   just heard them discussing it. It was from
   23   to the doctor with her.                         23   when I heard them say the word chemo. But I
   24      Q. How long did she go through               24   didn't really understand what all that was at
   25   chemotherapy treatment? She being Imelda.       25   that time.

                                                 139                                                  141
    1      A. I'm not sure.                              1      Q. Okay. Well, I'm not asking you if
    2      Q. Did Rosemary tell you whether Imelda       2   you understood the details of her treatment.
    3   had any side effects from chemotherapy           3      A. Right.
    4   treatment?                                       4      Q. But did you understand that the side
    5      A. All from what I saw, she lost weight       5   effects that you were observing were from the
    6   and lost hair.                                   6   chemotherapy treatment that she was
    7      Q. When did you -- you said from what         7   receiving?
    8   you saw. When did you observe the weight         8      A. No, I didn't. I didn't understand
    9   loss and the hair loss in Imelda?                9   what that was at that time.
   10      A. About six months before she died.         10      Q. You didn't understand what what was?
   11      Q. And during that time, was she still       11      A. No. I didn't know about chemo at
   12   undergoing chemotherapy treatment?              12   that time.
   13      A. They had put her in hospice.              13      Q. Okay. What did you think it was?
   14      Q. Okay. I want to go over this one          14      A. I really didn't know.
   15   more time, to make sure I have the dates        15         MR. ROOT:
   16   correct.                                        16           I'm sorry. What was?
   17      A. Okay.                                     17         MS. MIMS:
   18      Q. Rosemary was diagnosed with thyroid       18           The chemotherapy treatment.
   19   cancer, and you were about 16 at the time; is   19   EXAMINATION BY MS. MIMS:
   20   that right?                                     20      Q. You had heard of it?
   21      A. Right.                                    21      A. Right.
   22      Q. Okay. So that would put it around         22      Q. And someone in your -- someone told
   23   1977. Does that sound about right?              23   you that Rosemary was undergoing chemotherapy
   24      A. No. Because I graduated in '75.           24   treatment.
   25      Q. So it was earlier.                        25      A. Right. I overheard a conversation,


                                                                                  36 (Pages 138 to 141)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 38 of 89

                                                 142                                                  144
    1   so that, in turn, I know, when I heard them     1   '05 or '06.
    2   say that was from chemo -- her hair loss and    2      Q. '05, '06.
    3   her weight loss.                                3      A. Yeah. Somewhere around in there
    4      Q. When did you hear them say that?          4   because they was -- my dad was three years
    5      A. After she was going through her           5   after them. And then, a year after that, I
    6   treatment.                                      6   got diagnosed.
    7      Q. After her chemotherapy treatment.         7      Q. Okay. And so with that date in mind,
    8      A. Right.                                    8   Imelda's chemotherapy was in the '05 -- in
    9      Q. And that was in the early '70s, that      9   the 2005 to 2006 time frame; is that correct?
   10   that conversation --                           10      A. Yes. Somewhere in there.
   11      A. Uh-huh (affirmative). Yeah.              11      Q. Okay. And you knew Imelda also
   12      Q. Let me finish.                           12   underwent chemotherapy treatment; is that
   13      A. Okay.                                    13   right?
   14      Q. That was in the early '70s, that the     14      A. Right.
   15   conversation about chemotherapy and            15      Q. And she had both weight loss and hair
   16   Rosemary's hair loss and weight loss being a   16   loss as a result of her chemotherapy
   17   result of that. That's when that took place,   17   treatment, correct?
   18   correct?                                       18      A. Yes.
   19      A. Yes.                                     19      Q. Okay. And at that time when she was
   20      Q. Okay. Now, Imelda was diagnosed with     20   undergoing her chemotherapy treatment and she
   21   bone cancer, post-Katrina, right? And so       21   lost weight and lost her hair, you knew that
   22   that would put it in the '06 time period?      22   that was as a result of her chemotherapy
   23   2006 time period?                              23   treatment for her cancer, right?
   24      A. Right.                                   24      A. Yes.
   25      Q. Does that sound about right?             25      Q. Okay. Are those your only two

                                                 143                                                  145
    1      A. Right.                                    1   sisters --
    2      Q. Okay. And she had chemotherapy            2      A. Yes.
    3   shortly after you found out about her           3      Q. -- Imelda and Rosemary?
    4   diagnosis, correct?                             4      A. Yes.
    5      A. I'm not sure when she started because     5      Q. Do you have any living grandparents?
    6   I was in Texas. But my older sister had told    6      A. No.
    7   me she was going through treatment, but I'm     7      Q. Do you know anything about your
    8   not sure when it started.                       8   biological grandparents' history?
    9      Q. Okay. But it was after her diagnosis      9      A. My mother's side, my grandmother died
   10   in --                                          10   with cancer in '04.
   11      A. Right.                                   11      Q. Were you close with your grandmother?
   12      Q. Let me finish. It was after her          12      A. Yes.
   13   diagnosis in 2006, right?                      13      Q. What kind of cancer did she have?
   14      A. Right.                                   14      A. She had breast.
   15      Q. Okay. And she passed away in what        15      Q. What was her name?
   16   year?                                          16      A. Eloise Collins. That would have been
   17      A. It was five weeks before Rosemary.       17   1994, the year, the last day of the World's
   18      Q. Five weeks before Rosemary?              18   Fair.
   19      A. Yeah. They died five weeks apart.        19      Q. When did you -- did you know that
   20      Q. And what year was that?                  20   your grandmother had been diagnosed with
   21      A. Oh. Nine years ago.                      21   breast cancer?
   22      Q. So about two --                          22      A. No. I heard them speak about it.
   23      A. No. It would have been longer,           23   And when she was in the hospital and she
   24   because -- let me see. This 7 -- this is       24   could no longer come home, that's when I, you
   25   '17. 10. My dad would have been 97. About      25   know, knew. I heard them discussing cancer,

                                                                                 37 (Pages 142 to 145)
                                         Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 39 of 89

                                                  146                                                148
    1   and it was breast cancer.                        1   went with me.
    2      Q. So you found out just prior to her         2      Q. No one else ever attended -- went to
    3   death.                                           3   your doctors' appointments with you.
    4      A. Right. But I was in New Orleans,           4      A. No. They came to pick me up a couple
    5   and, you know, she lived in Mississippi,         5   of times.
    6   also.                                            6      Q. Did anyone go to any of your
    7      Q. Since the time that she's passed,          7   treatments with you -- your chemotherapy
    8   have you learned anything about her              8   treatments?
    9   diagnosis?                                       9      A. No.
   10      A. No.                                       10      Q. Did you ever discuss Taxotere --
   11      Q. Okay. You didn't -- do you know any       11      A. No.
   12   of the details about her diagnosis with         12      Q. -- with any of your family members?
   13   breast cancer?                                  13      A. No.
   14      A. No. That's all I knew.                    14      Q. Did you ever discuss your injury,
   15      Q. Do you know whether she received any      15   your hair loss, with any of your family
   16   treatment for her breast cancer?                16   members?
   17      A. No.                                       17      A. No.
   18      Q. Tell me who your closest friends are      18      Q. Where did you go to high school?
   19   currently.                                      19      A. Booker T. Washington.
   20      A. All my friends, they're scattered         20      Q. Okay. And when did you attend Booker
   21   out, and I haven't seen them in a while; so I   21   T. Washington? What years?
   22   really haven't talked to any. And the ones I    22      A. '73 to '75.
   23   did have, well, three dead and two still        23      Q. Did you earn a high school diploma
   24   living; but I don't know where they are.        24   from there?
   25      Q. Who were your closest friends at the      25      A. Uh-huh (affirmative). Got my ring.

                                                  147                                                149
    1   time of your diagnosis with breast cancer, in    1      Q. And that was in 1975?
    2   2010?                                            2      A. Yes.
    3      A. Most I was talking with my family. I       3      Q. Did you ever go to college?
    4   didn't have any. I didn't know where my          4      A. Yeah, I had some college.
    5   friends were because I was moving around.        5      Q. Where did you go?
    6   Like I say, I was in Texas. Then I was in        6      A. Americo.
    7   Mississippi; so . . .                            7      Q. I'm sorry?
    8      Q. So at the time of your diagnosis in        8      A. Americo College, VTC.
    9   2010, I know that we've discussed your           9      Q. Let's start --
   10   daughter Tishanne and her six kids.             10      A. Vocation.
   11      A. Uh-huh (affirmative).                     11      Q. Let's start with the first one. It's
   12      Q. And your mother. And we discussed         12   called A Miracle?
   13   your son. Was there anybody else in your        13      A. Americo.
   14   family that you would have regular contact      14      Q. How do you spell that?
   15   with?                                           15      A. A-M-E-R-I-C-O.
   16      A. Yeah. I saw them. Some of them come       16      Q. Okay. And where is that located?
   17   to see me, but I didn't see them often.         17      A. That was on Broad and -- I can't
   18      Q. Who would come to see you around that     18   remember the side street. It was back in the
   19   time?                                           19   '80s.
   20      A. Most I saw was my closest relatives,      20      Q. How long did you -- were you at
   21   like my daughter, my brother, my grandkids --   21   Americo?
   22   well, that was the ones closest to me.          22      A. Six months.
   23      Q. Did any of them ever go to any of         23      Q. Were you there full-time?
   24   your doctors' appointments with you?            24      A. Yes.
   25      A. No. I mostly went alone. No one           25      Q. Why did you leave?

                                                                                 38 (Pages 146 to 149)
                                          Veritext Legal Solutions
 800-227-8440                                                                               973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 40 of 89

                                               150                                                  152
    1      A. I graduated.                             1      Q. And that's why you went to nursing
    2      Q. Oh, it was --                            2   school.
    3      A. It was a six-month course.               3      A. Right.
    4      Q. Okay. What was the course in?            4      Q. Did you look for a job after you--
    5      A. Nursing.                                 5      A. Yeah.
    6      Q. Nursing.                                 6      Q. -- received your CNA?
    7         And then, where did you go after         7      A. Uh-huh (affirmative). I worked. And
    8   that?                                          8   I went to school again.
    9      A. VTC, Vocational Training Center.         9      Q. When you went to VTC, was that 1983?
   10      Q. Vocational Training Center?             10      A. Yeah.
   11      A. Yes.                                    11      Q. And you said you received a
   12      Q. When -- I'm sorry. Let me go back.      12   certificate?
   13   For Americo, you graduated. What type of      13      A. Uh-huh (affirmative).
   14   degree did they give you for the six --       14      Q. What was the certificate in?
   15      A. A certificate for nursing assistant.    15      A. For completing my course in pressing.
   16      Q. A nursing assistant. So a CNA?          16      Q. And then --
   17      A. Yes, CNA.                               17      A. And laundry, you know. There was
   18      Q. Okay.                                   18   different things that we did.
   19      A. Uh-huh (affirmative).                   19      Q. What did you do next?
   20      Q. And you got your CNA in 1980 --         20      A. That's what I mostly did pretty much
   21      A. -- 2.                                   21   my life, between nursing and pressing.
   22      Q. -- 1982.                                22      Q. Well, tell me your first job after
   23         And so the next school that you went    23   receiving your degree from VTC in 1983.
   24   to was called what?                           24      A. I was working at a cleaners.
   25      A. VTC.                                    25      Q. What was the name of the cleaners?

                                               151                                                  153
    1      Q. VTC.                                     1      A. It was Uptown at Oak Street.
    2         Is that a graduate school?               2      Q. Was that a full-time position?
    3      A. No. It was a training. A six-month       3      A. Yeah. Uh-huh (affirmative).
    4   training course, also.                         4      Q. How long were you there?
    5      Q. Training in what?                        5      A. I was there three years.
    6      A. Cleaners. Working for the cleaners.      6      Q. Three years?
    7   I was a presser.                               7      A. Uh-huh (affirmative).
    8      Q. When you say presser, do you mean        8      Q. What did you do next?
    9   laundry?                                       9      A. When I was in between that and doing
   10      A. Laundry, yes.                           10   nursing, nurse aide at Jefferson Healthcare.
   11      Q. Why did you go from nursing school to   11      Q. When was your first job as a nurse
   12   the six months training course to be a        12   aide?
   13   presser?                                      13      A. Right after . . . well, I did
   14      A. I was just doing different things.      14   nursing aide at a -- I was volunteering when
   15      Q. When you went to nursing school, did    15   I finished school at Touro Hospital.
   16   you have any intent on becoming a nurse?      16      Q. Was that during the same period of
   17      A. Yes, I did.                             17   time that you were going to school at --
   18      Q. Okay.                                   18      A. No. That was before.
   19      A. Uh-huh (affirmative).                   19      Q. -- VTC?
   20      Q. And then what made you decide to then   20      A. Before.
   21   go to the six-month course to be a presser?   21      Q. Let me finish the question.
   22      A. I was just experiencing at that time.   22      A. Okay.
   23      Q. So back in 1982, you were interested    23      Q. So you were volunteering before
   24   in the medical field? Is that accurate?       24   getting your CNA; is that right?
   25      A. Right.                                  25      A. Uh-huh (affirmative).

                                                                                39 (Pages 150 to 153)
                                        Veritext Legal Solutions
 800-227-8440                                                                             973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 41 of 89

                                                 154                                                  156
    1      Q. As a nurse's aide.                         1   I would go back to pressing, where I could be
    2      A. Right.                                     2   off to myself. I didn't have to be, you
    3      Q. And is that interest in nursing and        3   know, dealing with the issues.
    4   healthcare, is that what inspired you to go      4      Q. Okay. Tell me what you had to do in
    5   get your CNA in 1982?                            5   order to pass your recertification.
    6      A. Yes.                                       6      A. Take a test.
    7      Q. Okay. And then you worked for              7      Q. What was on the test?
    8   Jefferson Healthcare, correct?                   8      A. Questions about dealing with nursing.
    9      A. Right.                                     9      Q. Were they questions -- what -- can
   10      Q. As a nurse's aide.                        10   you -- do you remember, like, the types of
   11      A. Right.                                    11   questions?
   12      Q. Beginning in what year?                   12      A. Yeah. It was -- well, that one's for
   13      A. About '85.                                13   your blood pressure, and what did I have to
   14      Q. How long were you there?                  14   do to bathe the patients, how would I treat
   15      A. Three years.                              15   the patient, and patient rights and different
   16      Q. Tell me the types of things that you      16   things. They would ask questions about
   17   did as a nurse's aide at Jefferson              17   treating patients and feeding them, and how
   18   Healthcare.                                     18   would you weigh them, and use the lift, and
   19      A. Bathe, clean, change bandages, made       19   how you lift a patient.
   20   the beds, bed, exercise.                        20      Q. Okay. But there -- so there were
   21      Q. Did you have to take any type of          21   some basic medical things that you had to
   22   recertification course for your CNA?            22   know, like blood pressure, right?
   23      A. Yes.                                      23      A. Right.
   24      Q. How often?                                24      Q. Okay. And did you have to know or
   25      A. Every year, I did a course. And           25   study at all about medications?

                                                 155                                                  157
    1   through the years -- I mean, you know, as we     1      A. No. We didn't really do medications.
    2   was working, we did different courses, and we    2      Q. Okay. And is that certification a
    3   received certificate for different types of      3   state certification? Who issues it?
    4   training.                                        4      A. Yeah, it's a state certification
    5      Q. So starting in 1983, you had to get a      5   through -- it's like, if I was in Louisiana,
    6   yearly recertification for your CNA?             6   it would be Louisiana. And say, when I was
    7      A. Uh-huh (affirmative).                      7   in Texas, I did a course out there. And it
    8      Q. Did you do that every year?                8   was -- I was licensed through Texas, too.
    9      A. Yes.                                       9      Q. So you've been licensed in Louisiana
   10      Q. And up until what point?                  10   and Texas?
   11      A. Up until I didn't want to -- well,        11      A. Yes.
   12   when I stopped doing nursing, then I just       12      Q. Was that license ever revoked or
   13   stopped my recertification. And then, when I    13   suspended at any time?
   14   decided to go back, then I got into it, and     14      A. No.
   15   then they do another recertification.           15      Q. Okay. When was the last time you had
   16      Q. Okay. So from 1983 until -- tell me       16   an active CNA license?
   17   the year that you -- the last year that you     17      A. In Texas.
   18   got your recertification before you took a      18      Q. When? What year?
   19   break.                                          19      A. That would have been around 2005.
   20      A. Well, I was off and on between that       20      Q. So let me make sure I understand
   21   and doing pressing.                             21   this. From 1983, up to 2005, you on and off
   22      Q. Okay. Why were you alternating            22   worked as a nurse's aide and went for your
   23   between the jobs?                               23   yearly recertifications of that, right?
   24      A. Well, sometimes, I wasn't getting         24      A. Yeah.
   25   along with the nurses. We were clashing, and    25      Q. Okay. And you had certifications to

                                                                                  40 (Pages 154 to 157)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 42 of 89

                                                 158                                                   160
    1   be a CNA in both Louisiana and Texas.            1      A. It's a nursing home.
    2      A. Yes.                                       2      Q. A nursing home.
    3      Q. Okay. But as you sit here today, you       3         And Metairie -- was it called
    4   couldn't tell me what particular years you       4   Metairie Healthcare?
    5   didn't have it, right?                           5      A. Yeah.
    6      A. No. Because I was off and on.              6      Q. Okay. Is that a hospital-like
    7      Q. Right. Do you think you had it -- do       7   setting as well?
    8   you think that you were certified for most of    8      A. Yeah. It was a nursing home.
    9   those years as a CNA?                            9      Q. It was a nursing home.
   10      A. No. Because before I left for             10      A. Yes.
   11   Katrina, I was doing pressing. And I had        11      Q. Okay. So is it fair to say that at
   12   been there about six years.                     12   least half of your career, or thereabouts,
   13      Q. Okay. And where were you doing the        13   was in the health field, in the medical
   14   pressing?                                       14   health field?
   15      A. Doing -- they call it short pieces.       15      A. Yes.
   16   And I was doing dry cleaning.                   16      Q. What was it that you made you
   17      Q. During the time that you worked as        17   interested in that field?
   18   the nurse's aide, you mentioned Jefferson       18      A. Well, I was always around older
   19   Healthcare. Did you work for anybody else?      19   people, and I was always caring for the
   20      A. Yeah. Metairie Healthcare.                20   elderly. And when I would be here in New
   21      Q. Do you remember what years you were       21   Orleans, well, my mom -- we had a lot of
   22   with Metairie Healthcare?                       22   family used to be sick, and they would always
   23      A. No. It's been so long.                    23   be down here at the hospital.
   24      Q. Okay. Anyplace else?                      24      Q. Uh-huh (affirmative).
   25      A. Well, I did like home health. Home        25      A. So, I would be the one to go to the

                                                 159                                                   161
    1   health.                                          1   hospital to see about them and call them and
    2     Q. And who did you work for doing that?        2   let them know how they were doing.
    3     A. I was out in Texas when I did that.         3      Q. Because you were in the medical
    4     Q. Was there a particular company you          4   health field, was it the case that your
    5   worked for?                                      5   family members would ever turn to you with
    6     A. Yeah. But I don't remember their            6   health questions?
    7   name.                                            7      A. No.
    8     Q. Okay. And home health, you're               8      Q. No. Okay.
    9   actually going into someone's --                 9         Did you consider yourself more
   10     A. Home --                                    10   knowledgeable than the average person because
   11     Q. -- home. Let me finish.                    11   of these recertifications that you would get
   12     A. Okay.                                      12   every year?
   13     Q. You're actually going into someone's       13      A. Well, I tried to be -- you know,
   14   home and helping someone who's ill, when        14   learn as much as possible. But my older
   15   you're a nurse's aide for them, right?          15   sister, she was also in the field. She was
   16     A. Right.                                     16   the one they would turn to, as far as, you
   17     Q. Okay. When you were at Jefferson           17   know, questions about anything having to do
   18   Healthcare, that's an actual medical            18   with medical.
   19   facility; is that correct?                      19      Q. Why would they turn to her?
   20     A. Yes.                                       20      A. She was the one that most outspoken
   21     Q. Okay. So you're working in a               21   than I was. I was mostly on the quiet side.
   22   hospital-like setting.                          22      Q. Okay. But not necessarily because
   23     A. Right.                                     23   she had any more knowledge.
   24     Q. Right?                                     24      A. No. She was just outspoken.
   25         Is it a hospital?                         25      Q. Could you turn to page -- I'm looking


                                                                                  41 (Pages 158 to 161)
                                         Veritext Legal Solutions
 800-227-8440                                                                                973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 43 of 89

                                                 162                                                 164
    1   at Exhibit C, which is still in front of you.    1      A. I saw an ad on TV.
    2   Turn to Page 4 of that exhibit.                  2      Q. And who was your attorney there?
    3      A. All right.                                 3      A. I don't remember their name.
    4      Q. You're on Page 4?                          4      Q. What were you applying to disability
    5      A. Yes.                                       5   for? What's the reason for your disability?
    6      Q. Okay. And if you look at the bottom        6      A. I couldn't work anymore.
    7   quarter of the page, there's a section that      7      Q. And this was after your diagnosis
    8   says Workers' Compensation and Disability        8   with --
    9   Claims. Do you see that?                         9      A. Yes.
   10      A. Uh-huh (affirmative).                     10      Q. -- breast cancer?
   11      Q. And it says that you filed for            11      A. Yes.
   12   disability in 2010. Do you see that?            12      Q. And is that the correct amount there,
   13      A. Uh-huh (affirmative).                     13   $850, that you received?
   14      Q. Okay. Is that correct?                    14      A. Yes.
   15      A. Yeah.                                     15      Q. When you applied, who -- was there a
   16      Q. And the period of disability is 2010      16   doctor involved who helped you, who filled
   17   to present. Is that still correct?              17   out an application, who actually certified
   18      A. Yes.                                      18   that you were disabled?
   19      Q. Okay. From whom did you apply to for      19      A. Well, he put, you know, I was
   20   these disability benefits?                      20   disabled. So when he told me I was disabled
   21      A. That was Barkan & Neff.                   21   and I couldn't work, then I went and applied
   22      Q. What is Barkan & Neff?                    22   for my disability. Because I had no income.
   23      A. The attorney.                             23      Q. But what doctor did you speak to
   24      Q. Barkan, B-A-R-K-A-N?                      24   about this?
   25      A. Barkan & Neff, N-E-F-F. I'm not sure      25      A. My cancer doctor.

                                                 163                                                 165
    1   how to spell them, but it's Barkan & Neff.       1      Q. Is that Dr. Lewis?
    2   But it's over on --                              2      A. Yeah.
    3      Q. Neff?                                      3      Q. And is there a recertification
    4      A. -- Terry Parkway.                          4   process for the disability?
    5      Q. Terry Parkway?                             5      A. No.
    6      A. Yes.                                       6      Q. So the paperwork that you receive is
    7         MR. ROOT:                                  7   the letter that you discussed earlier, that
    8            That's in Gretna.                       8   you receive every year, right?
    9         MS. MIMS:                                  9      A. Right. That's my award letter.
   10            Oh. Gretna?                            10      Q. That's your award letter.
   11         MR. ROOT:                                 11         But you don't have to certify every
   12            Yeah.                                  12   year that you're still disabled?
   13         MS. MIMS:                                 13      A. No.
   14            Okay.                                  14      Q. Is there a particular court that you
   15   EXAMINATION BY MS. MIMS:                        15   had to apply through to obtain the
   16      Q. And is Barkan & Neff still around, if     16   disability?
   17   you know? Does that still exist, if you         17      A. No. My lawyers took care of all
   18   know?                                           18   that.
   19      A. I think they are.                         19      Q. Okay.
   20      Q. Okay. And that's the name of the law      20      A. I just applied. And I went to them,
   21   firm.                                           21   and they took care of the rest.
   22      A. Right.                                    22      Q. When is the last time you've been in
   23      Q. How did you find Barkan & Neff to         23   contact with someone from Barkan & Neff?
   24   represent -- to help you with applying for      24      A. I haven't.
   25   disability?                                     25      Q. So you receive your letter, your

                                                                                 42 (Pages 162 to 165)
                                         Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 44 of 89

                                                 166                                                 168
    1   award letter, every year.                        1      A. No.
    2      A. Yes, in the mail.                          2      Q. Did you talk to -- did you ask your
    3      Q. And that's all you have to do for          3   doctors about it?
    4   your disability.                                 4      A. No.
    5      A. Right.                                     5      Q. About what the brand name is that you
    6      Q. Okay. Have you ever sought any other       6   were treated with?
    7   type of Social Security benefits?                7      A. No.
    8      A. No.                                        8      Q. Okay. And you did no research on
    9      Q. Have you ever applied for or received      9   your own.
   10   workers' compensation?                          10      A. No.
   11      A. No.                                       11      Q. And you didn't attempt to contact any
   12      Q. If you could turn to Page 6.              12   manufacturers, right?
   13      A. (Witness complies).                       13      A. No.
   14      Q. And you'll see the question at the        14      Q. Let's go to Page 7.
   15   top of that page, says, Were you treated with   15      A. (Witness complies).
   16   brand name Taxotere, and it's checked Yes.      16      Q. And I'm looking at question Number
   17   Do you see that?                                17   11. Do you see that?
   18      A. Uh-huh (affirmative).                     18      A. Yes.
   19      Q. And then, if you look down to             19      Q. And there is a chart there that's
   20   Number 4 -- well, let me ask you this: How      20   listed. Do you see that chart?
   21   is it that you know you were treated with       21      A. Yes.
   22   brand name Taxotere?                            22      Q. Okay. And who is Dr. Robinson?
   23      A. I don't know. You have to talk to my      23         Is Dr. Robinson, your gynecologist?
   24   lawyer.                                         24      A. Tulane Avenue. Dr. Robinson on
   25      Q. Okay. But as you sit here today --        25   Tulane. I'm not sure. I went to so many

                                                 167                                                 169
    1      A. Uh-huh (affirmative).                      1   doctors.
    2      Q. -- you can't provide me with anything      2      Q. Do you have a regular gynecologist
    3   that you know of personally as to why -- as      3   that you see?
    4   to how you know you were treated with the        4      A. Not right now, I don't.
    5   brand name Taxotere.                             5      Q. Okay. And you don't remember the
    6      A. Unh-unh (negative).                        6   name Dr. William Robinson?
    7         MR. ROOT:                                  7      A. I went to a gynecologist, but I don't
    8           That's a no?                             8   remember the name.
    9         THE WITNESS:                               9      Q. Do you see a gynecologist annually,
   10           Huh?                                    10   every year?
   11         MR. ROOT:                                 11      A. I haven't saw one this year.
   12           Is that a no?                           12      Q. Okay. And this is not checked for
   13         THE WITNESS:                              13   2016. Did you see one in 2016?
   14           No. No.                                 14      A. '16. I went to one, but I don't
   15   EXAMINATION BY MS. MIMS:                        15   remember where it was at.
   16      Q. Now, if you look down to Number 4, in     16      Q. You went to a gynecologist in 2016.
   17   the same section.                               17      A. Yes.
   18      A. Uh-huh (affirmative).                     18      Q. Okay. If you take a look at this
   19      Q. Have you made any attempts to confirm     19   chart, the question is asking you: For each
   20   that you were actually treated with the brand   20   of the last seven years before your first
   21   name Taxotere?                                  21   treatment with Taxotere, or docetaxel, and
   22      A. Repeat the question.                      22   since then, who did you see for your annual
   23      Q. Have you made any attempts to confirm     23   gynecological exam?
   24   that you were treated with the brand name       24         Do you see where I read that?
   25   drug Taxotere?                                  25      A. Uh-huh (affirmative).

                                                                                 43 (Pages 166 to 169)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 45 of 89

                                                 170                                                  172
    1      Q. And if you look at the chart, the          1   know if that was Dr. Robinson or not.
    2   chart goes -- it dates back from 2008 to         2      A. No.
    3   2017. Do you see that?                           3      Q. And do you have any reason to believe
    4      A. Uh-huh (affirmative).                      4   that this is inaccurate, that you skipped in
    5      Q. And the right-hand column has boxes        5   2014, and you skipped in 2012?
    6   that you mark if it was skipped or missed.       6      A. Yeah.
    7   Do you see that?                                 7      Q. Do you believe that that is accurate,
    8      A. Uh-huh (affirmative).                      8   that you skipped those years?
    9      Q. And the boxes that you have checked        9      A. Right.
   10   are 2014 and 2012. Do you see that?             10      Q. Let's turn to Page 8.
   11      A. Uh-huh (affirmative).                     11      A. Page 8. Okay.
   12      Q. Okay. Did you provide someone this        12      Q. I'm sorry. It's on Page 9. And I'm
   13   information to fill in this part of the form?   13   looking at the bottom, where it says, Tobacco
   14      A. Yeah. I signed papers for my medical      14   use history. Do you see that?
   15   records to be released to my lawyers.           15         The bottom of Page 9.
   16      Q. Are there years in which you'll skip      16      A. 9?
   17   going to your annual gynecological exam?        17      Q. 9.
   18      A. Any what?                                 18      A. Yeah.
   19      Q. Are there years in which you will         19      Q. Okay. And that indicates that you
   20   skip going for an annual gynecological exam?    20   don't currently use tobacco. Is that still
   21      A. Yeah. I haven't been going to my          21   correct?
   22   regular.                                        22      A. No, I do not.
   23      Q. So you don't go regularly every year.     23      Q. Okay. You did previously use
   24      A. No.                                       24   tobacco, though, right?
   25      Q. Why not?                                  25         Were you a previous smoker?

                                                 171                                                  173
    1      A. I haven't been.                            1     A. Yes.
    2      Q. Is there a reason that you don't go        2     Q. Okay. And you smoked cigarettes for
    3   regularly every year?                            3   about 40 years. Does that sound right?
    4      A. Well, at my primary care, well, I was      4     A. Uh-huh (affirmative).
    5   supposed to have been appointed one, but I       5     Q. When did you quit?
    6   haven't been appointed one yet because I've      6     A. Before I had my treatment.
    7   been getting different doctors. I haven't        7     Q. Which treatment is that?
    8   had a stable doctor, and I don't really know     8     A. I mean, before my operation.
    9   the -- you know, about the doctors on the        9     Q. Before your mastectomy?
   10   side the river where I live.                    10     A. Right. I stopped in May.
   11      Q. Have any of your doctors recommended      11     Q. Why --
   12   that you get an annual gynecological exam       12     A. May of '10.
   13   every year?                                     13     Q. Why did you quit smoking?
   14      A. Yes.                                      14     A. I found out I had cancer.
   15      Q. Okay. But you have not been doing         15     Q. Okay. What tobacco products did you
   16   that, right?                                    16   use?
   17      A. No.                                       17     A. Kool Filter King.
   18      Q. And do you know how many years you've     18     Q. And when you say you quit because you
   19   skipped it?                                     19   found out you had cancer --
   20      A. Well, I had one about the last three      20     A. Uh-huh (affirmative).
   21   years.                                          21     Q. -- did you think there might have
   22      Q. You have gone in the past three           22   been a link between you smoking and your
   23   years?                                          23   cancer diagnosis?
   24      A. Uh-huh (affirmative).                     24     A. No. I just stopped.
   25      Q. Okay. But as you sit here, you don't      25     Q. What was it about the cancer

                                                                                  44 (Pages 170 to 173)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 46 of 89

                                                174                                                 176
    1   diagnosis that made you stop?                   1   day?
    2      A. Well, I thought about cancer. And I       2      A. Oh, about 25 to 30.
    3   know, at some point, some people that smoke,    3      Q. Did you ever make any attempts during
    4   had cancer, and some people that didn't         4   that period of time to quit smoking?
    5   smoke, never smoke a day in their life, got     5      A. Yes. Well, I'd slow down. Then I'd
    6   cancer. So I didn't take the risk any           6   go back.
    7   further.                                        7      Q. So you would slow down a little bit
    8      Q. You didn't want to take that risk,        8   and then go back up to --
    9   right?                                          9      A. Uh-huh (affirmative).
   10      A. Any further, right.                      10      Q. -- to a pack or two a day.
   11      Q. Okay. But during the time that you       11      A. And then, after the years went by, I
   12   were smoking during those 40 years, you did    12   started trying to wean off.
   13   know, during that time, that smoking had       13      Q. Did you ever try something like the
   14   health risks, including cancer, right?         14   patch or any other ways to quit?
   15      A. Yes.                                     15      A. No.
   16      Q. Okay. How many cigarettes do you         16      Q. When you did end up quitting prior to
   17   think you smoked on average per week before    17   your surgery, how did you do it?
   18   you quit?                                      18      A. I just stopped.
   19      A. Before I quit, I was smoking like a      19      Q. You just stopped.
   20   pack every four days.                          20      A. Uh-huh (affirmative).
   21      Q. Did that change over time?               21      Q. And that was the first time you had
   22      A. Yes.                                     22   been successful in quitting smoking.
   23      Q. Did you used to smoke more or less?      23      A. Right.
   24      A. More.                                    24      Q. And do you think your diagnosis with
   25      Q. Okay. When was it that you started       25   cancer is what made that time successful for

                                                175                                                 177
    1   the, a pack every three to four days?           1   quitting?
    2      A. About five years ago.                     2      A. Yeah.
    3      Q. About five --                             3         MS. MIMS:
    4      A. Yeah, I started --                        4           I'd like to go a little bit
    5      Q. About five years before you quit.         5   further, if you guys can manage it. It's
    6      A. Right.                                    6   12:25. Can we go a little bit further?
    7      Q. All right.                                7         MR. ROOT:
    8      A. Before I quit.                            8           It's up to you.
    9      Q. And that was a reduction. What did        9         THE WITNESS:
   10   you smoke before then? How much?               10           Okay.
   11      A. Like a pack every other day.             11         MS. MIMS:
   12      Q. Okay. Why was it that you reduced        12           Maybe another 15 minutes, and
   13   the amount that you were smoking?              13   then we'll take a lunch?
   14      A. I felt the need to slow down so I        14         THE WITNESS:
   15   could quit.                                    15           Okay.
   16      Q. All right. And the pack every other      16   EXAMINATION BY MS. MIMS:
   17   day, what was the time period that you were    17      Q. All right. Do you currently drink?
   18   smoking that amount?                           18      A. Occasionally.
   19      A. Every two days, I'd smoke a pack.        19      Q. Occasionally.
   20      Q. During what time period?                 20         About how much do you drink? How
   21      A. That was like before the five years      21   often do you drink alcohol?
   22   when I broke it down to the pack every four    22      A. Oh, just when something going on, I
   23   days.                                          23   might drink a little glass of wine.
   24      Q. Okay. How many years before the five     24      Q. When you say, when something is going
   25   years were you smoking a pack every other      25   on, what do you mean by that? Do you mean --

                                                                                45 (Pages 174 to 177)
                                         Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 47 of 89

                                                 178                                                 180
    1      A. Like activity. If we at a party or        1   your diagnosis, did your drinking habits
    2   wedding.                                        2   change?
    3      Q. So special occasions?                     3      A. Yes.
    4      A. Right.                                    4      Q. To what? How did they change?
    5      Q. Okay. And has that stayed consistent      5      A. I didn't do anything until after my
    6   over the years? Have you ever drunk more        6   treatment. Then I, you know, had a little
    7   than that?                                      7   glass of wine. I would drink two or three
    8      A. No.                                       8   glasses a week.
    9      Q. Have you ever tried to stop drinking?     9      Q. After your treatment was over.
   10      A. I don't drink that much.                 10      A. Right.
   11      Q. Okay. Well, how much would you say       11      Q. So during the period of your
   12   you drink per week?                            12   treatment, you didn't --
   13      A. I might drink two or three glasses a     13      A. I didn't do no drinking.
   14   week.                                          14      Q. During the period of your treatment,
   15      Q. Okay. And when you say two or three      15   you didn't drink at all.
   16   glasses, two or three glasses of what?         16      A. No.
   17      A. Wine.                                    17      Q. And was that based upon a
   18      Q. And that's all you drink?                18   recommendation of one of your doctors?
   19      A. Right.                                   19      A. No.
   20      Q. So you don't drink beer?                 20      Q. You just made that decision not to
   21      A. No.                                      21   drink.
   22      Q. And you don't drink hard liquor?         22      A. Yes.
   23      A. No.                                      23      Q. Why is that?
   24      Q. At the time that you were undergoing     24      A. I was on a lot of medication.
   25   your chemotherapy treatment, how many drinks   25      Q. Has anyone ever indicated that you

                                                 179                                                 181
    1   would you say you were -- you consumed per      1   have a problem with alcohol?
    2   week?                                           2      A. No.
    3      A. Oh, I would have one probably every       3      Q. Have you ever felt the need to quit
    4   day before my treatment. I was -- you know,     4   drinking other than that period that we've
    5   I would drink.                                  5   discussed, when you were on medication?
    6      Q. Every -- you're going to have to          6      A. No.
    7   explain that.                                   7      Q. Have you ever used any type of
    8      A. Before my surgery and I found out,        8   illegal drugs?
    9   you know, I was diagnosed, I was a drinker.     9      A. No.
   10   I used to drink.                               10      Q. If you could turn to Page 17 for me.
   11      Q. When you say you were a drinker,         11      A. (Witness complies).
   12   before your diagnosis --                       12      Q. And I am looking at question
   13      A. Uh-huh (affirmative).                    13   Number 6. Do you see that? It says: Have
   14      Q. -- tell me -- and when we say before     14   you ever received treatment for the injury
   15   your diagnosis, let's be clear, are we         15   you allege in this lawsuit? And you checked,
   16   talking about May 2010?                        16   No. Do you see where I am?
   17      A. Yes.                                     17      A. Right.
   18      Q. Okay. So prior to May 2010, about        18      Q. Okay. Is that correct?
   19   how many drinks would you have per week?       19      A. Yes, it is.
   20      A. Probably three or four. But I would      20      Q. Okay. And as you sit here today,
   21   drink maybe a couple of beers. And maybe the   21   that is still correct, right?
   22   weekend, I would have a drink or two.          22      A. Right.
   23      Q. Prior to May 2010.                       23      Q. Do you intend to seek any treatment
   24      A. Right.                                   24   for the injury you're alleging in this
   25      Q. And then after you found out about       25   lawsuit?

                                                                                 46 (Pages 178 to 181)
                                         Veritext Legal Solutions
 800-227-8440                                                                              973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 48 of 89

                                                  182                                                  184
    1      A. I don't understand the question.           1      A. I got rid of all that.
    2      Q. Do you have any intention to seek any      2      Q. Okay. But you do remember receiving
    3   treatment?                                       3   them?
    4      A. No.                                        4      A. Yeah.
    5      Q. If you go to page -- I'm on Page 17        5      Q. And would you be provided them every
    6   still, and look at Question 9. Were you ever     6   time you went for your treatment?
    7   given any written instructions, including any    7      A. Well, if they was laying around, I
    8   prescriptions, packaging, package inserts,       8   would pick one up and read while I was there.
    9   literature, medication guides, or dosing         9      Q. If you could go to page Number 20,
   10   instructions regarding chemotherapy,            10   please.
   11   Taxotere, or docetaxel? And you checked,        11      A. (Witness complies).
   12   Yes. Do you see that?                           12      Q. And I am looking at question
   13      A. Yes.                                      13   Number 5. Question 5 is: When did you first
   14      Q. What information are you referring to     14   discuss or see a health care provider about
   15   there that you were provided?                   15   your hair loss? And you'll see, there is no
   16      A. My prescriptions, my chemo, and           16   answer to that. Can you answer that now?
   17   literature on medication.                       17      A. When I first discuss . . . When I
   18      Q. Tell me what you were provided for        18   first find out about it, my hair loss, was
   19   your prescriptions.                             19   when I realize, after my treatment, it wasn't
   20      A. My medicine, I was receiving the          20   coming back. And I just felt like I was the
   21   packaging, the literature, where it's telling   21   unlucky one.
   22   me the side effects from the medications I      22      Q. Okay. And we're going to get --
   23   was taking.                                     23   we'll get into more about that. But what I'm
   24      Q. Okay. And this is specifically            24   just asking you now is when you first
   25   regarding chemotherapy or Taxotere, and         25   discussed with any health care provider about

                                                  183                                                  185
    1   literature you've received relating to that.     1   your hair loss. Was it during your
    2      A. Related to my chemo.                       2   treatment?
    3      Q. Yes. Do you remember receiving             3      A. Before my treatment.
    4   anything related to your chemotherapy?           4      Q. Before your treatment.
    5      A. I would receive literature and stuff       5      A. Yes.
    6   when I go to my appointments.                    6      Q. And who was that discussion with?
    7      Q. When you would go to your infusion         7      A. My doctor. He had told me I would be
    8   appointments; is that right?                     8   receiving temporary hair loss.
    9      A. Yeah.                                      9      Q. And when you say your doctor, you
   10      Q. Okay. What did the literature look        10   mean Dr. Lewis?
   11   like?                                           11      A. Yes.
   12      A. It was little booklets, describing        12      Q. So would this have been in 2010?
   13   what the chemo.                                 13      A. Yes.
   14      Q. Okay. And I'm going to ask you about      14      Q. When you say Dr. Lewis told you you
   15   those later, and we'll get to that.             15   would receive temporary hair loss, you
   16      A. Uh-huh (affirmative).                     16   remember Dr. Lewis saying those words
   17      Q. But what did you do with the              17   exactly?
   18   booklets?                                       18      A. Yes.
   19      A. I read them.                              19      Q. If you could turn to page Number 26.
   20      Q. Did you take them home?                   20      A. (Witness complies).
   21      A. Yes.                                      21      Q. And I am looking at question
   22      Q. And are they at your house anymore        22   Number 6. Do you see that?
   23   now?                                            23        And question Number 6 asks you to
   24      A. No.                                       24   identify health insurance carriers who
   25      Q. What happened to them?                    25   provided you medical coverage for the last

                                                                                  47 (Pages 182 to 185)
                                          Veritext Legal Solutions
 800-227-8440                                                                                973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 49 of 89

                                                 186                                                  188
    1   ten years. Do you see that question?             1      A. No.
    2      A. Yes.                                       2      Q. In 2007?
    3      Q. And you've provided an insurance           3      A. No.
    4   carrier from 2010 to present. Do you see         4      Q. No insurance at all.
    5   that?                                            5      A. Unh-unh (negative).
    6      A. Right.                                     6         MS. MIMS:
    7      Q. Okay. Who was your insurance carrier       7           Okay. That's probably a good
    8   prior to May 2010?                               8   place to stop for lunch.
    9      A. I had Medicaid.                            9         MR. ROOT:
   10      Q. How long had you had Medicaid?            10           Okay. Sure.
   11      A. Well, I had the gold card for             11              (Lunch Recess).
   12   University when I first started. And after      12   EXAMINATION BY MS. MIMS:
   13   -- I think I started before my treatment.       13      Q. Before we went to break, Ms. Johnson,
   14      Q. On Medicaid?                              14   I was asking you a little bit about your
   15      A. Yes.                                      15   family. And I just have a couple of items to
   16      Q. What year did you have Medicaid?          16   clear up. Was either of your sisters ever
   17      A. It had to be right before I started       17   diagnosed with breast cancer?
   18   treatment in '10.                               18      A. No.
   19      Q. So in 2009, you had Medicaid.             19      Q. Okay. And if there are medical
   20      A. I think it was '10.                       20   records that indicate that they were
   21      Q. 2010, you were on Medicaid.               21   diagnosed with breast cancer, that's a
   22      A. Right.                                    22   mistake; is that right?
   23      Q. How about 2009?                           23      A. Yes.
   24      A. Unh-unh (negative). I was still in        24      Q. Okay. And not medical records of
   25   Mississippi.                                    25   theirs, medical records of yours, where

                                                 187                                                  189
    1      Q. And who was -- did you have insurance      1   someone has taken down a conversation that
    2   at that time?                                    2   you were having, and they put that your
    3      A. No. I had a -- they had something          3   sisters had breast cancer, then that's not
    4   like a gold card or something at the hospital    4   accurate, right?
    5   out there, so I was using that. They             5      A. No.
    6   insurance thing through their hospital.          6      Q. Okay. And was either of your sisters
    7      Q. So you had insurance through your          7   ever diagnosed with ovarian cancer?
    8   employer. Is that what you're saying?            8      A. Not to my knowledge.
    9      A. No.                                        9      Q. Okay. Now, we discussed one
   10      Q. No.                                       10   grandmother who was diagnosed with breast
   11      A. It was through the hospital in            11   cancer, right?
   12   Mississippi. But --                             12      A. Yes.
   13      Q. What hospital is that?                    13      Q. Was that -- I think I misspoke and
   14      A. Centerville.                              14   said biological, and I meant to say maternal
   15      Q. And is this -- this is -- is this a       15   or paternal. Was that your maternal
   16   Medicaid type of program?                       16   grandmother who was diagnosed with breast
   17      A. Yes.                                      17   cancer?
   18      Q. It is.                                    18      A. My mother's side.
   19      A. Uh-huh (affirmative).                     19      Q. On your mother's side. That was the
   20      Q. Okay. So that's 2009.                     20   one who died in 1994?
   21         How about 2008?                           21      A. Yes.
   22      A. '08. No. I was in Texas.                  22      Q. Okay. Did you have another
   23      Q. Did you have insurance at that time?      23   grandmother who died of breast cancer?
   24      A. No.                                       24      A. I don't know what my father's mother
   25      Q. None at all.                              25   died with.

                                                                                  48 (Pages 186 to 189)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 50 of 89

                                                 190                                                   192
    1      Q. So as far as you know, you had one         1   hair loss?
    2   grandmother who was diagnosed with breast        2      A. No.
    3   cancer.                                          3      Q. And if I understand the timeline
    4      A. Yeah. Because I was young when she         4   between Imelda's diagnosis and treatment with
    5   died.                                            5   chemotherapy, and her death, her death was
    6      Q. Did you have any aunts who were            6   soon after her treatment with chemotherapy,
    7   diagnosed with breast cancer?                    7   right?
    8      A. Not to my knowledge. I don't know          8      A. Right.
    9   about them.                                      9      Q. Okay. So did Imelda's hair ever grow
   10      Q. Okay. And so if there are medical         10   back after the chemotherapy treatment?
   11   records that indicate that you had aunts        11      A. Yeah. She grew back and then --
   12   diagnosed with breast cancer, you're not        12   uh-huh (affirmative). Yes.
   13   aware of it.                                    13      Q. All right. So Imelda's hair must
   14      A. No.                                       14   have grown back relatively quickly, right?
   15      Q. You're not aware of that.                 15      A. Right.
   16        Going back to Rosemary, I know you         16      Q. She had chemotherapy and then -- am I
   17   indicated that after chemotherapy, her hair     17   correct that she died within a year of
   18   grew back. Do you remember how long it was      18   finishing that chemotherapy treatment?
   19   after her chemotherapy ended, that her hair     19      A. I don't know when she finished,
   20   grew back?                                      20   because I was still in Texas.
   21      A. No.                                       21      Q. Uh-huh (affirmative).
   22      Q. Do you remember approximately?            22      A. But I know, when I went back to see
   23      A. No.                                       23   her, her hair had grew back.
   24      Q. Do you remember if it was more than a     24      Q. About how much time had passed?
   25   year?                                           25      A. I don't know, because I don't know

                                                 191                                                   193
    1      A. No.                                        1   when she had stopped her treatment. Because
    2      Q. Was it more --                             2   they had stopped her treatment, and she had a
    3      A. I can't say, but I know her hair grew      3   port, and they was giving her medication in
    4   back.                                            4   that port because she could no longer, you
    5      Q. And for any of the relatives that          5   know, do the treatments.
    6   we've discussed, who were diagnosed with         6      Q. Her treatment, I think that we had
    7   cancer, which was your father, your maternal     7   established -- and this is Imelda's
    8   grandmother, and your two sisters, did you go    8   chemotherapy --
    9   or participate in treatment at all with any      9      A. Uh-huh (affirmative).
   10   of them?                                        10      Q. -- treatment -- was in the 2006 time
   11      A. No.                                       11   frame, right?
   12      Q. And did you ever accompany any of         12      A. Uh-huh (affirmative).
   13   them to any appointments?                       13      Q. It was after Katrina, right?
   14      A. Well, my father once, with my             14      A. Right.
   15   brother.                                        15      Q. And did you see her after Katrina?
   16      Q. And you've told us about that.            16      A. Yes.
   17      A. Right.                                    17      Q. And you saw her during her treatment,
   18      Q. Okay. And is that the only one?           18   right?
   19      A. Yes.                                      19      A. Right.
   20      Q. Were you ever involved in any of the      20      Q. Because you saw her, and she had lost
   21   decisions regarding treatment?                  21   some of her hair because of the chemotherapy.
   22      A. No.                                       22      A. Right.
   23      Q. Did your sister Rosemary have any         23      Q. Right?
   24   other issues with her hair, resulting from      24      A. Then, when I saw her again, she was
   25   the chemotherapy treatment, aside from the      25   getting her hair, you know, cut, trimmed, and

                                                                                  49 (Pages 190 to 193)
                                         Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 51 of 89

                                                  194                                                  196
    1   stuff.                                           1   right?
    2      Q. And the next time you saw her, had         2      A. Right.
    3   her hair grown back?                             3      Q. When did you begin those?
    4      A. Yeah.                                      4      A. Oh, during -- I started when I was,
    5      Q. Okay. That next time you saw her,          5   like, 40.
    6   when was that?                                   6      Q. So about 20 years ago?
    7      A. The next time I saw her, it was            7      A. Yeah.
    8   between -- six months before she died. That      8      Q. Who recommended that you perform
    9   was the last time I saw her.                     9   self-breast exams?
   10      Q. And so -- and that was in two             10      A. My doctor at that time.
   11   thousand --                                     11      Q. Do you remember who that doctor was?
   12      A. Okay. Well, I saw her before my           12      A. I was going to a clinic on Washington
   13   sister passed, because they both was in         13   and Galvez at that time.
   14   Texas, and -- what year that was. That would    14      Q. Do you remember the name of the
   15   have been that December, before they passed,    15   clinic?
   16   because my older sister died. That was that     16      A. It's not there anymore, but I don't
   17   -- Christmas was, like, that Wednesday, and     17   remember the name.
   18   she died, like, that Friday, after Christmas.   18      Q. Okay. How often would you perform
   19      Q. And that was 2006.                        19   them?
   20      A. '06, yeah. And five weeks after           20      A. Every month.
   21   that, Imelda passed.                            21      Q. Once a month?
   22      Q. And before Christmas of '06, the last     22      A. Yeah.
   23   time you had seen Imelda, when she was          23      Q. And who told you how to do a
   24   undergoing chemotherapy treatment, was that     24   self-breast exam?
   25   earlier in the year in 2006?                    25      A. My doctor.

                                                  195                                                  197
    1      A. Yeah.                                      1      Q. Your doctor showed you how to do one.
    2      Q. Okay.                                      2      A. Right. Uh-huh (affirmative).
    3      A. Because she wasn't able to travel          3      Q. And did you have -- at that time,
    4   anymore.                                         4   were you having an annual physical exam?
    5      Q. Do you remember if it was winter,          5      A. Well, I started when I was 40 --
    6   spring, or summer?                               6      Q. Uh-huh (affirmative).
    7      A. No, I don't remember.                      7      A. -- and I would get -- started getting
    8      Q. But sometime earlier that year?            8   my mammogram since I was 40. That's when I
    9      A. Right.                                     9   started taking my yearly mammograms.
   10      Q. So no more than a year had gone by        10      Q. So you started getting mammograms at
   11   between the last time you had seen her and      11   40 years of age?
   12   she was undergoing chemotherapy treatment.      12      A. Yes.
   13      A. Uh-huh (affirmative).                     13      Q. Okay. And did you get one every
   14      Q. Okay. And then when you saw her           14   year?
   15   later that year, the hair loss that you         15      A. Yes.
   16   observed had grown back, correct?               16      Q. Did you ever skip a year?
   17      A. Yeah.                                     17      A. No.
   18      Q. Do you know whether your grandmother      18      Q. So from 40 until the time you were
   19   had any surgery after her diagnosis with        19   diagnosed, you had a mammogram every year.
   20   breast cancer?                                  20      A. Yes.
   21      A. No, I don't know.                         21      Q. Where did you get those mammograms?
   22      Q. Has anyone in your family ever been       22      A. At my doctor's office, where they
   23   diagnosed with the BRCA1 or BRCA2 genes?        23   prescribed me to go to the doctor. If they
   24      A. No.                                       24   didn't perform it at the office and check me
   25      Q. Now, you have done self-breast exams,     25   at the office, well, I would go to the clinic

                                                                                  50 (Pages 194 to 197)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 52 of 89

                                                 198                                                  200
   1    and have a mammogram done.                       1         THE WITNESS:
   2       Q. Is this the clinic that you're saying      2            Yes.
   3    it no longer exists?                             3   EXAMINATION BY MS. MIMS:
   4       A. Yeah. Different ones. Because              4     Q. And when is the last time you had a
   5    between that time, I was going to different      5   mammogram at Touro?
   6    doctors. I was never going to the same           6     A. No. It was through my doctor. He
   7    doctor.                                          7   worked out of Touro, but his clinic --
   8       Q. Okay. If the medical records               8     Q. I see.
   9    indicate that you never had a mammogram prior    9     A. -- his office was on Prytania.
  10    to May 2010, when you were diagnosed with       10     Q. That's the name of the street?
  11    cancer, are you saying that's incorrect?        11     A. Yeah. Prytania.
  12       A. Yeah. I had a mammogram.                  12     Q. Is that clinic still there?
  13       Q. Okay. Can you think of any of the         13     A. I'm not sure. Because he was, like,
  14    places where you had a mammogram during those   14   an older doctor then, so I'm more than sure
  15    20 years?                                       15   he's retired.
  16       A. Yeah. The clinic where I was going.       16     Q. When is the last time that you had a
  17       Q. What's the name of that clinic?           17   mammogram?
  18       A. I don't remember the name.                18     A. I just had one.
  19       Q. That's the one you don't remember the     19     Q. You just had one.
  20    name.                                           20     A. Right.
  21       A. Right. Uh-huh (affirmative).              21     Q. So from the time you were 40, until
  22       Q. Okay. Where else?                         22   your last one, was that this year in 2017?
  23       A. I was going to her, and then I was        23     A. Yes.
  24    getting my other mammograms at my other         24     Q. You've had a mammogram every year?
  25    doctor, but I was going to Touro. I was         25     A. Right.

                                                 199                                                  201
    1   going to Touro.                                  1      Q. Who recommended -- was there someone
    2      Q. Where is Touro?                            2   who recommended that you start getting a
    3      A. Uptown on Prytania.                        3   mammogram at 40?
    4      Q. Is that the name of a hospital?            4      A. Yeah. When I had my physical with my
    5      A. That's the hospital.                       5   gynecologist, she recommended that I start it
    6        MR. ROOT:                                   6   after she was, you know, asking me about -- a
    7           Touro Infirmary.                         7   medical question about my family, did anybody
    8        THE WITNESS:                                8   have cancer and stuff. And so she
    9           But I had a doctor --                    9   recommended that I start getting my
   10        MS. MIMS:                                  10   mammograms at 40.
   11           Touro, oh.                              11      Q. Okay. That was going to be my next
   12        THE WITNESS:                               12   question. So your gynecologist recommended
   13           -- and he was through the               13   that you get them at 40. And in that
   14   hospital. He was on Prytania. I don't know      14   conversation, she referenced your family
   15   what his name is. I went to him for -- most     15   history of cancer.
   16   of those 20 years, I went to him.               16      A. Right.
   17   EXAMINATION BY MS. MIMS:                        17      Q. Okay. And who was your gynecologist
   18      Q. You don't recall his name?                18   who recommended that?
   19      A. No.                                       19      A. She was uptown, too, on Prytania, at
   20      Q. Okay. Is Touro Infirmary still            20   that time. I don't remember her name.
   21   there?                                          21      Q. Were you ever told, after having
   22        MR. ROOT:                                  22   these mammograms, that you ever had
   23           Uh-huh (affirmative).                   23   fibrocystic breasts?
   24        MS. MIMS:                                  24      A. No.
   25           Okay.                                   25      Q. Okay. After you would have the

                                                                                  51 (Pages 198 to 201)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 53 of 89

                                                202                                                   204
    1   mammogram, would you -- how would you find      1      Q. How long had it been since you had
    2   out the results? Would you go in and talk to    2   last worked?
    3   someone?                                        3      A. Before Katrina. I mean, you know,
    4      A. They would call me --                     4   before leaving for Katrina.
    5      Q. They would call you.                      5      Q. So from 2006 to two thousand -- to
    6      A. -- and let me know my results were        6   the time -- from 2006, to the time of finding
    7   okay, or they would mail me a letter.           7   the lump in your breast, you hadn't worked.
    8      Q. Were you ever told that you had lumpy     8      A. Yeah. I worked in Texas.
    9   breasts?                                        9      Q. Okay. But let's back up.
   10      A. No.                                      10      A. Okay.
   11      Q. Were you ever told that your breasts     11      Q. Prior to finding the lump in your
   12   were dense?                                    12   breast, which was May 2010; is that right?
   13      A. No.                                      13      A. Right.
   14      Q. Prior to 2010, did you ever feel a       14      Q. Okay. When was the last time you
   15   lump in your breast?                           15   worked before that?
   16      A. No.                                      16      A. Before I got the lump in my breast?
   17      Q. And prior to 2010, did any of those      17      Q. Before you found the lump --
   18   mammograms indicate any suspicious findings    18      A. Uh-huh (affirmative).
   19   or that anything was wrong?                    19      Q. -- when was your last employment?
   20      A. No.                                      20      A. I was on Canal Boulevard. That would
   21      Q. Did you ever have to go back for a       21   have been the days when they shut the city
   22   repeat mammogram during that time?             22   down, right before Katrina.
   23      A. No.                                      23      Q. Okay. And what types of -- you were
   24      Q. And so your last mammogram, you said,    24   living with your mother.
   25   was this year?                                 25      A. Uh-huh (affirmative).

                                                203                                                   205
    1      A. Yeah.                                     1      Q. What types of things were you doing
    2      Q. Where did you have that?                  2   at that time? What was your life like, if
    3      A. DIS on Westbank Expressway.               3   you could tell me about it, like, on a daily
    4      Q. What does DIS stand for?                  4   basis?
    5      A. Diagnostic Imaging.                       5      A. Well, we was up there for the storm,
    6      Q. Diagnostic Imaging. What's the S?         6   and I had my grandkids, so I had the kids.
    7      A. Systems.                                  7   So I had to -- I put them in school. So
    8      Q. Okay. We can figure that out. And         8   getting them off to school and cooking and
    9   that's on what street?                          9   cleaning and seeing about them.
   10      A. Westbank Expressway, Avenue D.           10      Q. These are Tishanne's kids?
   11      Q. Have you received the results from       11      A. Right.
   12   that exam?                                     12      Q. And they were in Mississippi with
   13      A. Yes. Uh-huh (affirmative).               13   you.
   14      Q. What were the results?                   14      A. Right.
   15      A. It was fine.                             15      Q. So it was -- and was Tishanne there
   16      Q. Okay. Tell me a little bit about the     16   as well?
   17   time just prior to finding the lump in your    17      A. No. Tishanne had -- when she went
   18   breast. You were in Mississippi at that        18   back to Texas, to get housing.
   19   time?                                          19      Q. Okay. How many of the grandkids were
   20      A. Yes.                                     20   living with you and your mother at the time
   21      Q. Okay. And you were living with your      21   in Mississippi?
   22   mother.                                        22      A. Six.
   23      A. Yes.                                     23      Q. And are you saying you were their
   24      Q. Were you working?                        24   primary caregiver at that time?
   25      A. No.                                      25      A. Right.

                                                                                 52 (Pages 202 to 205)
                                        Veritext Legal Solutions
 800-227-8440                                                                               973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 54 of 89

                                                206                                                  208
    1      Q. Okay. So that was your main role and      1      Q. Okay. Was he doing hair as a
    2   what you were focused on.                       2   teenager?
    3      A. Right. Uh-huh (affirmative).              3      A. Uh-huh (affirmative). Yeah.
    4      Q. And would you do the shopping, the        4      Q. That's great.
    5   cooking?                                        5      A. Uh-huh (affirmative).
    6      A. Uh-huh (affirmative). Yes.                6      Q. And how about Dinika?
    7      Q. Did you also have to care for your        7      A. Well, she was more like -- she didn't
    8   mother at that time?                            8   start until, like, later, until she was about
    9      A. No. She still pretty much take care       9   18.
   10   of herself.                                    10      Q. How often was Donell doing your hair
   11      Q. And at that time, how old -- what was    11   at that time?
   12   the age range of the kids who were living      12      A. Once a month.
   13   with you?                                      13      Q. Once a month?
   14      A. 14, 13. Well, there's a gap. They        14         And during that period before you
   15   was, like, 6, 4, and the baby was 1.           15   found the lump in your breast --
   16      Q. So ranging from an infant to             16      A. Uh-huh (affirmative).
   17   teenagers.                                     17      Q. -- did you have any health problems
   18      A. Uh-huh (affirmative).                    18   or any other issues that impacted your
   19      Q. Okay.                                    19   ability to take care of the kids and to help
   20      A. Yes.                                     20   out around the house and to do the things
   21      Q. And were you taking care of all of       21   that you've just described?
   22   them by yourself?                              22      A. No.
   23      A. Yes.                                     23      Q. Okay. And were you able to go out
   24      Q. Did your mother help you at all?         24   and also enjoy other activities? Did you
   25      A. Yeah. She was there.                     25   have --

                                                207                                                  209
    1      Q. Okay. Were you in any type of             1      A. Yes.
    2   relationship at that time with a significant    2      Q. Yeah. What other things did you like
    3   other?                                          3   to do?
    4      A. No.                                       4      A. Oh, I liked to go outdoors, do things
    5      Q. During that time, I know that you had     5   outside, fish. We was hunting at the time,
    6   discussed Donell and Dinika as people who       6   while we being in the woods, in the country.
    7   would do your hair, right?                      7   And I sew, crochet, knitted, cook.
    8      A. Right.                                    8      Q. Okay. Do you still do those things
    9      Q. Would they do your hair during that       9   today?
   10   period?                                        10      A. No. I can't do too much with my
   11      A. In Mississippi?                          11   hands due to the neuropathy.
   12      Q. In Mississippi.                          12      Q. Okay. And I'll ask you some more
   13      A. Yes.                                     13   about that.
   14      Q. Okay. When did that start? Let's         14         So tell me about how it came about,
   15   start with Donell. When did he start doing     15   the day that you discovered there was a lump
   16   your hair?                                     16   in your breast.
   17      A. It was after Mississippi. Well, they     17      A. I gave myself a self-examination.
   18   would braid. I would do the twists.            18      Q. And it had been -- had it been
   19      Q. Okay. And he -- Donell was the           19   approximately a month since your last
   20   oldest of the grandkids?                       20   examination?
   21      A. Yes.                                     21      A. No. I hadn't had it, but I had had a
   22      Q. And at that time, he was the -- on       22   physical at the doctor's office prior to
   23   the 14 to 16 range of that infant to           23   that, like, two months. And after leaving
   24   teenager.                                      24   the doctor's office, within them two months,
   25      A. Right.                                   25   and when I self-examined myself again two

                                                                                 53 (Pages 206 to 209)
                                         Veritext Legal Solutions
 800-227-8440                                                                               973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 55 of 89

                                                  210                                                 212
    1   months later, it felt like it was a knot, so     1   they have out there. It was a clinic. And I
    2   I went to get it checked out.                    2   went to the clinic, to the little doctor in
    3      Q. Was there anything that spurred you        3   the -- you know, the little town and the
    4   to check your breasts? Were you having pain      4   clinic. They have a little clinic. So I
    5   or anything like that at the time?               5   went there to get checked out.
    6      A. No. I was just used to checking            6         And I explained to him that, you
    7   myself when I'm bathing.                         7   know, I felt a knot in my breast. So he
    8      Q. Okay.                                      8   examined me, and he checked it.
    9      A. Things of that nature.                     9      Q. How long after you felt the breast --
   10      Q. So you were just checking yourself --     10   the lump in your breast, was it before you
   11      A. Right.                                    11   went to the clinic?
   12      Q. -- as you normally did.                   12      A. Like, I called the next day and made
   13      A. Uh-huh (affirmative). Well, it            13   an appointment. And it was, like, two or
   14   really got, you know, more after my dad         14   three days after, I got the appointment, and
   15   passed, and then I had lost my two sisters,     15   I went in.
   16   so I was really on the urge of keeping, you     16      Q. Did you go alone?
   17   know, check, because I was afraid I was next.   17      A. Yes.
   18      Q. So after you had, you know, multiple      18      Q. I know we discussed earlier, that you
   19   family members --                               19   had spoken to your mom. Is that the point at
   20      A. Uh-huh (affirmative).                     20   which you felt the lump, and then did you
   21      Q. -- who had died and had previously        21   tell your mother about it before you went
   22   been diagnosed with cancer, you were very       22   into the clinic?
   23   concerned about you getting cancer; is that     23      A. No.
   24   fair?                                           24      Q. Okay.
   25      A. Right.                                    25      A. Because I wanted to find out more.

                                                  211                                                 213
    1      Q. Okay. And so you were pretty good          1      Q. So you felt the lump in your breast,
    2   about going and giving yourself your breast      2   and the next day, you called and went into
    3   exams.                                           3   the clinic, right?
    4      A. Right.                                     4      A. No. I called and made an
    5      Q. And so, when you felt the lump, what       5   appointment.
    6   did you think?                                   6      Q. And made an appointment. And then
    7      A. I was thinking in my mind, it's            7   how many days later did you go?
    8   cancer. So I did not know how to diagnose        8      A. It was, like, the second or the third
    9   myself about it, so I went to the doctor to      9   day.
   10   let him examine me more and find out.           10      Q. And then what did the doctor tell you
   11      Q. You were in Mississippi at the time.      11   once you went to the clinic?
   12      A. Right.                                    12      A. He told me he did feel a knot in my
   13      Q. And did you have insurance at that        13   breast, and I would need further tests to
   14   time?                                           14   find out more. So I then, in turn, got a
   15      A. No. I went to their hospital, and         15   second opinion.
   16   they have, like, a little special thing what    16      Q. And how much time passed between
   17   they do, like a gold card or something.         17   going to the doctor at the clinic then to
   18      Q. That's the card you described             18   getting a second opinion?
   19   earlier.                                        19      A. The next week.
   20      A. Right.                                    20      Q. Okay. Where did you go to get the
   21      Q. Do you remember who the doctor was        21   second opinion?
   22   that you went to?                               22      A. From the next town over.
   23      A. No.                                       23      Q. What was that? What was the name of
   24      Q. Did you go to a primary care doctor?      24   that town?
   25      A. Yeah. I went to, like, a clinic,          25      A. Centerville.

                                                                                  54 (Pages 210 to 213)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 56 of 89

                                                  214                                                  216
    1      Q. Centerville, Mississippi?                  1   time you first felt the lump in your breast
    2      A. Yes.                                       2   until you actually ending up back in New
    3      Q. Do you know the name -- did you go to      3   Orleans?
    4   a clinic?                                        4      A. Two months.
    5      A. Yes.                                       5      Q. Two months. Okay.
    6      Q. Do you know the name of that clinic?       6         So you actually discovered the lump
    7      A. No, I don't know the name of it.           7   in April --
    8      Q. Did you get examined by a doctor           8      A. Uh-huh (affirmative).
    9   there?                                           9      Q. -- of 2010, right?
   10      A. Yes.                                      10      A. Right.
   11      Q. Do you remember that doctor's name?       11      Q. And before coming back to New
   12      A. No.                                       12   Orleans, you told your mother about the lump,
   13      Q. What was the recommendation of that       13   right?
   14   doctor?                                         14      A. Yeah.
   15      A. He checked me, and he recommended         15      Q. Okay. And that's the conversation we
   16   that I get a biopsy. But he, in turn, wanted    16   discussed earlier.
   17   me to go 123 miles to get the biopsy, to        17      A. Right.
   18   another hospital or clinic. But I, in turn,     18      Q. Did you tell anyone else?
   19   came home to get, you know, seen about here,    19      A. Not at that time.
   20   because I was close to family, and that was     20      Q. Okay. Who was the next person that
   21   too far. I didn't have nobody out that way      21   you told?
   22   to come and see about me.                       22      A. My daughter.
   23      Q. Where was it that he recommended you      23      Q. And when you came from Mississippi to
   24   go for the biopsy?                              24   New Orleans, did you go straight to
   25      A. It was Jackson, Mississippi.              25   Tishanne's house? Meaning -- because I know

                                                  215                                                  217
    1       Q. Why was he recommending that you go       1   you said you moved in with Tishanne, right?
    2   so far away?                                     2      A. Yeah.
    3       A. That was our -- see, other than a         3      Q. So when you came from Mississippi to
    4   little small, small town, they don't really      4   New Orleans, did you immediately move in with
    5   have hospitals and clinics and stuff. So         5   Tishanne?
    6   that would be the bigger place where they        6      A. Yeah.
    7   have more hospitals and more health care for     7      Q. Okay. And when did you tell
    8   you.                                             8   Tishanne?
    9       Q. So that was the closest place to          9      A. After I went to the doctor and found
   10   where you were in Mississippi.                  10   out more.
   11       A. Right.                                   11      Q. After you went to the doctor in New
   12       Q. Okay. And you, then, decided to come     12   Orleans?
   13   back to New Orleans.                            13      A. Yeah. I had the biopsy.
   14       A. Yes.                                     14      Q. Okay. And do you remember getting
   15       Q. And where did you go when you came       15   the results of your biopsy?
   16   back -- well, how long after getting your       16      A. Yes.
   17   second opinion was it before you came back to   17      Q. When was that?
   18   New Orleans?                                    18      A. It was in 2010. That should have
   19       A. I came home right before May. I came     19   been -- that was May.
   20   home. All this was going on between, like,      20      Q. May of 2010.
   21   March, April. I was, you know, trying to        21      A. Right.
   22   feel about what was going on. So I came home    22      Q. And where was the biopsy performed?
   23   in May. And that was Monday after Mother's      23      A. University.
   24   Day, I went to the doctor here at University.   24      Q. What were you -- who gave you the
   25       Q. How much time had passed between the     25   results of your biopsy?


                                                                                  55 (Pages 214 to 217)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 57 of 89

                                                  218                                                 220
    1      A. The doctor at that time I had. It          1   meeting with Dr. Lewis, when he told you
    2   was a lady. I don't remember her name, but       2   about your diagnosis?
    3   she gave me the biopsy and recommended me to     3      A. Yeah.
    4   an oncologist.                                   4      Q. And what did Dr. Lewis say to you?
    5      Q. What did she tell you?                     5      A. He told me that it was cancer, and
    6      A. That the lump was cancer.                  6   that the biopsy turned out to be a IIB. And
    7      Q. Did she give you any further details?      7   I had lymph nodes that would have to come out
    8   Did she give you a grade, tell you how big       8   from under my arm, and I would need surgery
    9   the lump was, tell you whether it had gone to    9   to remove the lymph nodes, and my breast
   10   any lymph nodes?                                10   would have to be removed.
   11      A. Something. Yeah, she told me that it      11      Q. Did he explain to you what IIB meant?
   12   was a IIB, and I did have lymph nodes that      12      A. Yeah. He explained it, but I really
   13   had to be removed.                              13   didn't understand at that time.
   14      Q. Did you understand what that meant?       14      Q. Okay. As you sit here today, do you
   15      A. No.                                       15   understand what it meant to be IIB --
   16      Q. Did you know what IIB meant?              16      A. No.
   17      A. No.                                       17      Q. -- when they were saying that?
   18      Q. Did you ask her any questions?            18      A. Unh-unh (negative). No.
   19      A. I asked her, was that the size of the     19      Q. Did he explain to you why your lymph
   20   tumor, when she said IIB, and she said, yes.    20   nodes had to be removed?
   21      Q. She told you that IIB was the size of     21      A. He explained it, but I didn't
   22   the tumor.                                      22   understand it. You know, medical terms.
   23      A. Right.                                    23      Q. Okay. Did you ask him any questions
   24      Q. And what did you understand that to       24   about it?
   25   mean?                                           25      A. No. I just knew what he said.

                                                  219                                                 221
    1      A. The lump was a IIB.                        1      Q. Okay. And I believe you said he said
    2      Q. Did you understand what that meant in      2   your breast had to be removed. Did he tell
    3   terms of your prognosis?                         3   you, both of them, or what did he say about
    4      A. No, I didn't.                              4   that?
    5      Q. Did you understand what that meant in      5      A. One. So I wanted to -- I was
    6   terms of the seriousness of it?                  6   concerned about the other one, after having
    7      A. No.                                        7   surgery on that one. Then I was wondering
    8      Q. Okay. Did you follow up with anyone        8   what was going to happen to the other one,
    9   to find out?                                     9   because I was afraid that, you know, it might
   10      A. Well, she recommended me to the           10   go to that one, too, so I was asking, did I
   11   oncologist, and the oncologist explained to     11   need to get both removed at that time.
   12   me what I would have to do before I had         12      Q. And what did he say?
   13   surgery. He recommended my surgery, then        13      A. No, it wasn't necessary.
   14   chemo, and then radiation.                      14      Q. Okay. Was there ever any discussion
   15      Q. And the oncologist you're talking         15   of getting the lump removed, getting a
   16   about, is that Dr. Lewis?                       16   lumpectomy, as opposed to a mastectomy?
   17      A. Well, once she referred me to the         17      A. It was too big, and -- well, I had to
   18   oncologist, yes, Dr. Lewis. And my surgeon      18   have the chemo and then the radiation. It
   19   was Dr. Wey.                                    19   wasn't -- he told me it had to be removed,
   20      Q. Okay. And do you remember a               20   the whole breast.
   21   Dr. Barnhill? Does that name sound familiar?    21      Q. So his recommendation was a complete
   22      A. Barnhill. Well, that may have been        22   mastectomy of your left breast; is that
   23   one that was filing in. But Dr. Wey was my      23   right?
   24   surgeon, and Dr. Lewis was my oncologist.       24      A. Right.
   25      Q. Okay. So do you remember your first       25      Q. Okay. And did you try and get a

                                                                                  56 (Pages 218 to 221)
                                          Veritext Legal Solutions
 800-227-8440                                                                               973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 58 of 89

                                                  222                                                 224
    1   second opinion regarding his recommendations?    1      A. No.
    2      A. No.                                        2      Q. Had you been diagnosed with
    3      Q. Did you do any follow-up regarding         3   hypertension at that point?
    4   his recommendations, in terms of research        4      A. Yes.
    5   yourself?                                        5      Q. And were you on any medications to
    6      A. No.                                        6   control your hypertension at that point?
    7      Q. Okay. So you relied on what he             7      A. Yes.
    8   advised you to do?                               8      Q. Do you recall Dr. Lewis giving you a
    9      A. Right.                                     9   referral to genetic counseling at that
   10      Q. He meaning Dr. Lewis.                     10   meeting?
   11      A. Right.                                    11      A. Genetic counseling, yes.
   12      Q. Did you ask him any questions about       12      Q. What did he say?
   13   the treatment plan? Did you ask him any         13      A. I went to Ochsner, to the genetic
   14   questions about the mastectomy? Let's start     14   clinic. They give genetic testing.
   15   there.                                          15      Q. Did you know why you were getting
   16      A. No.                                       16   that testing?
   17      Q. At that time, was it at that first        17      A. To find out more about my family and
   18   meeting, that he told you you were going to     18   me with the cancer.
   19   have to get -- that he recommended radiation?   19      Q. Did you ever get the results of that?
   20      A. No. It was after my surgery. Well,        20      A. Yeah. I had genetic testing. But at
   21   we had discussed chemo and radiation. But at    21   that time, I didn't get it done because they
   22   that time, we went with the surgery first.      22   didn't have the funding and the resources.
   23   And after surgery, we discussed about the       23   But I did have one. But I think it was last
   24   chemo.                                          24   year, I did the genetic, and I didn't have
   25      Q. Well, let's stick with the first          25   any problem with it.

                                                  223                                                 225
    1   meeting with Dr. Lewis, that you went to,        1      Q. When you say you didn't have any
    2   where --                                         2   problem with it, does that mean your test
    3      A. Uh-huh (affirmative).                      3   results were negative?
    4      Q. -- he's telling you that it's IIB,         4      A. Were good. Yeah.
    5   that you have to get your lymph nodes            5      Q. Okay. And do you understand that
    6   removed, and that you have to get your breast    6   test to be the BRCA1 and the BRCA2 gene test?
    7   removed.                                         7      A. Yeah. I took that -- that was this
    8      A. Right.                                     8   year, I took it.
    9      Q. Was there any discussion of the            9      Q. Okay. What was the test that you
   10   chemotherapy and the radiation treatment at     10   took at that time for genetic counseling?
   11   that initial meeting?                           11      A. Well, the test I took was supposed to
   12      A. Yes.                                      12   have been the BRCA1, but they didn't have the
   13      Q. What did he tell you?                     13   resources for me to take it at that time.
   14      A. After receiving my surgery, I would       14   But I did take it this year, earlier this
   15   need chemo, and after the chemo, I may need     15   year. I took it at Tulane.
   16   the radiation to follow up.                     16      Q. Back when you went to see Dr. Lewis
   17      Q. So he gave you an overview of the         17   on that first visit when he was telling you
   18   whole treatment plan.                           18   about your cancer diagnosis, did he provide
   19      A. Right.                                    19   you with any written materials?
   20      Q. And this was all in person?               20      A. Yeah. I had, like, booklets to read
   21      A. Yes.                                      21   and stuff.
   22      Q. Was anyone else present?                  22      Q. What were the booklets about? And
   23      A. No.                                       23   I'm just talking about your --
   24      Q. At the time of that diagnosis, did        24      A. Right.
   25   you have any other health problems?             25      Q. -- very first meeting with him.


                                                                                  57 (Pages 222 to 225)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 59 of 89

                                                  226                                                  228
    1      A. It was pertaining to chemo and what        1      Q. Now, that booklet related to
    2   the -- the signs to look for, and all the        2   chemotherapy?
    3   side effects.                                    3      A. Yes.
    4      Q. That was on your first meeting, where      4      Q. Did you review anything related to
    5   he was explaining your diagnosis and             5   your mastectomy procedure that you were going
    6   treatment plan?                                  6   to have?
    7      A. Uh-huh (affirmative).                      7      A. No. I didn't have anything about
    8      Q. Okay. And you recall specifically,         8   that.
    9   that he gave you a booklet on chemotherapy?      9      Q. And how about related to radiation?
   10      A. Well, I had booklets in the doctor's      10      A. No.
   11   office where I picked up to read.               11      Q. You said that you read those while
   12      Q. While you were waiting for an             12   you were in the waiting room waiting for your
   13   appointment?                                    13   appointment. When you actually went in there
   14      A. Right.                                    14   and you were talking to Dr. Lewis, did you
   15      Q. Tell me what you recall about what        15   ask him anything about the materials that you
   16   those documents said.                           16   read?
   17      A. In the book, it was referring to what     17      A. No.
   18   to expect, how the side effects would make me   18      Q. In the materials that you read, was
   19   sick, nauseated.                                19   it about chemotherapy generally, or did it
   20      Q. Did it discuss hair loss?                 20   refer to specific chemotherapeutic drugs?
   21      A. Yeah. It did say temporary.               21      A. Just generally.
   22      Q. The booklet that you read said            22      Q. Generally.
   23   temporary.                                      23      A. Yeah.
   24      A. Yes.                                      24      Q. After you received this news that you
   25      Q. Did you -- what else did it say?          25   definitely had cancer, and you receive your

                                                  227                                                  229
    1      A. That during the chemo process, it          1   staging and your treatment recommendation --
    2   will make you, you know, sick, nauseated,        2      A. Uh-huh (affirmative).
    3   diarrhea.                                        3      Q. -- what did you do next? Did you
    4      Q. Any other side effects that you can        4   tell anyone?
    5   recall that the booklet said?                    5      A. Well, I was contemplating, but I was
    6      A. It had temporary hair loss.                6   a little bit nervous about the situation, so
    7      Q. Anything else?                             7   I really didn't know what to do. So I did
    8      A. Well, I had problems with my chest         8   talk to my mother at that time and let her
    9   area, where I had had the surgery.               9   know that it was official, that I did have
   10      Q. Well, I don't want to get into the        10   cancer, and it was breast cancer.
   11   problems that you had just yet.                 11      Q. And what did she say?
   12      A. Okay.                                     12      A. She was in awe. She didn't know what
   13      Q. I'm just talking about the material       13   to say.
   14   that you read in the office.                    14      Q. When you were speaking with Dr. Lewis
   15      A. Uh-huh (affirmative).                     15   and he was providing you this information,
   16      Q. Did the materials say that you might      16   did he give you any information about your
   17   have problems with your chest?                  17   chances of survival, or your prognosis?
   18      A. No.                                       18      A. Yes. He told me, having the surgery,
   19      Q. Okay. So what you recall the              19   I would have a ten-year span -- at least a
   20   materials saying is nausea, vomiting, and       20   ten-year span.
   21   temporary hair loss.                            21      Q. Okay. Is that it?
   22      A. Yes.                                      22      A. Yeah. He explained everything
   23      Q. Okay. And you recall that the             23   thoroughly and let me know about the
   24   material specifically said temporary, right?    24   procedure and everything. So I took him at
   25      A. Right.                                    25   his word. So had I known, you know,

                                                                                  58 (Pages 226 to 229)
                                          Veritext Legal Solutions
 800-227-8440                                                                                973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 60 of 89

                                                230                                                  232
    1   more . . .                                      1   you discuss that with her?
    2      Q. Well, he told you that if you             2      A. No.
    3   received the surgery -- if I understand you     3      Q. And what about your son?
    4   correctly --                                    4      A. No.
    5      A. Uh-huh (affirmative).                     5      Q. Did you discuss it with anyone?
    6      Q. -- that when you say ten-year span,       6      A. No.
    7   does that mean that will give you an            7      Q. So you made that decision, that you
    8   additional ten years?                           8   were going to go with that treatment plan, on
    9      A. Right.                                    9   your own.
   10      Q. Okay. And that relates to the            10      A. Yes.
   11   surgery, right?                                11      Q. Okay. Without discussing it with
   12      A. No. After having my surgery -- that      12   anyone.
   13   I needed the surgery, and I would have a       13      A. Right.
   14   chance of a ten-year survival after that.      14      Q. And did you get a second diagnosis
   15      Q. And what about with respect to the       15   about any portion of the plan that he -- a
   16   chemotherapy, did he tell you anything about   16   second opinion about any portion of the plan
   17   getting that and your chances of survival      17   that he recommended?
   18   there?                                         18      A. No.
   19      A. Yeah.                                    19      Q. Had you decided at that point, that
   20      Q. What did he say with respect to that?    20   you were going to do whatever it took to
   21      A. He'd let me know after having my         21   fight the cancer?
   22   surgery, that I would need the chemo, which    22      A. Yes.
   23   was right after surgery. And upon receiving    23      Q. When you told your daughter about
   24   my chemo, I would need the radiation for to    24   your diagnosis, what was her reaction?
   25   kind of stop the cancer from coming back.      25      A. She was a little upset.

                                                231                                                  233
    1      Q. And so when you say he said that gave     1      Q. Was she afraid?
    2   you an additional ten years --                  2      A. Yes.
    3      A. Uh-huh (affirmative).                     3      Q. And is that in part because of your
    4      Q. -- do you mean the entire treatment       4   family history?
    5   that he recommended, the surgery, the           5      A. Right.
    6   chemotherapy, and the radiation together?       6      Q. What did you tell her?
    7      A. Yeah.                                     7      A. That it was cancer and I would have
    8      Q. Okay. So when he told you your            8   to have surgery.
    9   chances of survival were of living an           9      Q. But in terms of her reaction, being
   10   additional ten years, he was saying that in    10   upset, to you, did you try to reassure her in
   11   terms of, if you received all of this          11   any way, that you were going to do what you
   12   treatment together.                            12   could to fight the cancer?
   13      A. Right.                                   13      A. Yeah. I let her know that I had
   14      Q. But that was his recommendation,         14   decided to have my surgery.
   15   right?                                         15      Q. And did you tell her about the
   16      A. Yes.                                     16   chemotherapy and the radiation?
   17      Q. Okay. And did you rely on that           17      A. Not at that time.
   18   recommendation, to proceed forward with his    18      Q. All right. And how about your son?
   19   treatment plan?                                19      A. I let him know I had the cancer.
   20      A. Yes.                                     20      Q. All right. And was his reaction --
   21      Q. When you told your mother about being    21   was he also worried and upset?
   22   diagnosed, did you tell her about the          22      A. Yes. Uh-huh (affirmative).
   23   treatment plan at all?                         23      Q. Okay. And did you do anything to
   24      A. No.                                      24   reassure him?
   25      Q. Okay. How about your daughter, did       25      A. Yeah. And he would come home often

                                                                                 59 (Pages 230 to 233)
                                         Veritext Legal Solutions
 800-227-8440                                                                               973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 61 of 89

                                                  234                                                  236
    1   to see me.                                       1      A. Right.
    2      Q. And in terms of trying to reassure         2      Q. Is there anything else like that?
    3   him about the cancer, was part of that, for      3      A. I didn't smoke; I didn't drink. I
    4   both your son and your daughter, letting them    4   wasn't going out with -- I wasn't doing too
    5   know that you were going to try and beat         5   much. I was just off to myself.
    6   this, that you were going to try and fight       6      Q. Were you trying to live a healthier
    7   the cancer?                                      7   life?
    8      A. Right.                                     8      A. Right.
    9      Q. After your diagnosis with cancer, did      9      Q. And when you stopped smoking and you
   10   you make any changes in the way that you        10   stopped drinking, is it fair to say, that was
   11   lived your life?                                11   because you wanted to put yourself in a
   12      A. Yes.                                      12   position to have the best chances of
   13      Q. Can you tell me about those changes?      13   survival?
   14      A. Well, I couldn't do the things that I     14      A. Yes.
   15   used to do. I couldn't be exposed to the        15      Q. At the time you were diagnosed, can
   16   sun, and I couldn't go out like I wanted to,    16   you recall anyone else that you knew of who
   17   and I wasn't able to lift my arms or            17   was alive, who had been diagnosed with
   18   anything. It was like learning how to walk      18   cancer?
   19   and do things all over again.                   19      A. No.
   20         I wasn't able to do too much. And I       20      Q. Okay. Is Dr. Lewis still your
   21   couldn't walk as far, like, talking about it.   21   oncologist today?
   22   It was like learning how to walk again, too.    22      A. No.
   23      Q. Okay. Are you talking about, because      23      Q. When was the last time that you saw
   24   of side effects of your treatment?              24   Dr. Lewis?
   25      A. No. It was after I did all that, it       25      A. This is '10. About 2012.

                                                  235                                                  237
    1   was, like, I was just -- like, I had to do a     1      Q. Why did you stop seeing him?
    2   lot of extensive treatment after that. I had     2      A. He wasn't there anymore. And then I
    3   to go to rehab and things.                       3   had another doctor after him. And after I
    4       Q. Okay. That's after your treatment         4   stopped taking my -- after I was getting off
    5   was over, though, right?                         5   my Arimidex, well, he was already gone at
    6       A. Yeah.                                     6   that time.
    7       Q. Okay.                                     7      Q. When he's gone, you mean gone from
    8       A. After surgery.                            8   the facility where you were going. Is that
    9       Q. I'm focused on, you've been diagnosed     9   University?
   10   with cancer --                                  10      A. Yes.
   11       A. Uh-huh (affirmative).                    11      Q. Okay. So you stopped -- he left
   12       Q. -- and you've told your kids you're      12   University.
   13   going to do everything that you can to fight    13      A. Right.
   14   it.                                             14      Q. When Dr. Lewis was providing you this
   15       A. Right.                                   15   initial consultation on your cancer and
   16       Q. Okay. Did you have any                   16   treatment plan, did you take any notes?
   17   self-reflection, thinking, I'm going to         17      A. No.
   18   change some things in my life now? That's       18      Q. Did Dr. Lewis have a discussion about
   19   more what I was looking for in that question.   19   hormones with you during that first visit?
   20         For example, I believe you quit           20      A. Yes.
   21   smoking around that time, right?                21      Q. What did he say with respect to that?
   22       A. Right.                                   22      A. That I would be on a pill for my
   23       Q. Okay. So that's one thing that you       23   hormones, to -- I think it was at that time
   24   changed in your life after the diagnosis,       24   when it was -- he was telling me that it was
   25   right?                                          25   going to stop my menstrual, because I still

                                                                                  60 (Pages 234 to 237)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 62 of 89

                                                 238                                                   240
    1   had my cycle.                                    1      Q. Okay. And what did that mean to you?
    2      Q. Okay. And did he explain to you what       2      A. That I could have heart failure.
    3   it meant to have lymph nodes that tested         3      Q. Okay. But did that mean there was a
    4   positive or lymph nodes that tested negative?    4   1.7 percent that you would have heart failure
    5      A. Well, he told me I had lymph nodes         5   and it would lead to death during the
    6   and they tested positive, and I would have to    6   procedure?
    7   have them removed.                               7      A. Yeah.
    8      Q. Okay. And did he tell you whether          8      Q. Do you remember a discussion about
    9   your hormones tested positive or negative?       9   the risks of infection from a mastectomy?
   10      A. No.                                       10      A. Yeah.
   11      Q. At that meeting when Dr. Lewis gave       11      Q. Okay. Do you remember a discussion
   12   your treatment recommendations, did he          12   about the risks of bleeding?
   13   discuss a specific chemotherapy regimen that    13      A. Yes.
   14   he was recommending for you?                    14      Q. Okay. Do you remember any discussion
   15      A. No.                                       15   about the risks for the need for additional
   16      Q. All right. That was discussed later       16   surgery after you had that one done?
   17   on? At some point, did you have a discussion    17      A. Yes.
   18   with him about a specific chemotherapy          18      Q. So some of those risks that Dr. Wey
   19   regimen for you?                                19   discussed with you are death, right?
   20      A. No.                                       20      A. Uh-huh (affirmative).
   21      Q. All right. I'll come back to that.        21      Q. And some are long-term complications,
   22        So when did you have your left             22   right?
   23   mastectomy?                                     23      A. Yes.
   24      A. June '10.                                 24      Q. And at the time when you had to make
   25      Q. And did you -- and you mentioned          25   the decision whether you were going to

                                                 239                                                   241
    1   Dr. Wey was your surgeon, right?                 1   proceed with the mastectomy, you didn't know
    2      A. Right.                                     2   whether any of those complications would
    3      Q. Prior to having the surgery, did you       3   happen, right?
    4   discuss what was going to happen at that         4      A. Yes.
    5   surgery? Did you have a meeting with her         5      Q. But you made the decision to proceed
    6   beforehand to talk generally about a             6   with the surgery, right?
    7   mastectomy and what it is and the procedure?     7      A. Yes.
    8      A. Yeah.                                      8      Q. Okay. And that's because the
    9      Q. Was that meeting with Dr. Wey?             9   benefits outweighed the risks, right?
   10      A. Yes.                                      10      A. Yes.
   11      Q. What did she tell you?                    11      Q. Did you have any discussion about
   12      A. She explained to me that I would have     12   reconstruction after the surgery?
   13   my left breast removed, the whole breast.       13      A. Yes.
   14   And I wasn't able to just take part of the      14      Q. Tell me about that discussion.
   15   breast. It had to be the whole breast.          15      A. She let me know that I wouldn't be
   16      Q. Did she tell you about any risks of       16   able to have the reconstructive surgery
   17   having a mastectomy, any risks of that          17   because my whole breast had to be removed and
   18   procedure?                                      18   because of the tissue scar that I would have.
   19      A. Yes. I had, like, a 1.7 percent           19   I wouldn't be able to get my breast back. I
   20   heart failure -- was one of my risks -- and     20   would have to get a prosthesis.
   21   that I would be in pain, and I would have       21      Q. So she told you that you weren't a
   22   problems.                                       22   candidate for reconstruction.
   23      Q. So the risks that you remember are a      23      A. Right.
   24   1.7 percent heart failure.                      24      Q. And that had to do with the scar
   25      A. Right.                                    25   tissue, you're saying?


                                                                                  61 (Pages 238 to 241)
                                         Veritext Legal Solutions
 800-227-8440                                                                                973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 63 of 89

                                                  242                                                 244
    1      A. I'm not too sure about how it went,        1   didn't know whether that was going to happen
    2   the conversation, but I do know she told me I    2   or not, and it ended up --
    3   wasn't going to be able to have the              3      A. No.
    4   reconstructive surgery. Because I had, you       4      Q. -- that risk did happen to you,
    5   know, inquired about it.                         5   right?
    6      Q. Did you ever seek a second opinion         6      A. Right.
    7   about that?                                      7      Q. Do you remember signing a consent
    8      A. No.                                        8   form, discussing the risks of the mastectomy?
    9      Q. Okay. And you never had                    9      A. Yes.
   10   reconstructive surgery, right?                  10      Q. Given all of the risks that Dr. Wey
   11      A. No.                                       11   explained to you, why did you decide to go
   12      Q. Did you experience any side effects       12   forward with the surgery?
   13   from the mastectomy?                            13      A. I trusted her. She explained
   14      A. Yes.                                      14   everything thoroughly. And I took her at her
   15      Q. What were those?                          15   word. And I wanted to go for the surgery, to
   16      A. My chest wall. I had pain in my           16   be sure that I would have a chance to live.
   17   chest. I had a little infection.                17      Q. You wanted to give yourself the best
   18      Q. When did those start?                     18   chance possible, right?
   19      A. After I had the surgery. Then I had       19      A. Yes.
   20   a pump that was pumping out everything, and I   20      Q. All right. Did you ever question at
   21   had to change it every now and then.            21   all, Dr. Wey's medical advice to you, and her
   22      Q. Okay. And how long did the pain           22   treatment plan?
   23   last?                                           23      A. No.
   24      A. Well, I still have pain.                  24      Q. You were also told that you were
   25      Q. So your surgery was in June of 2010,      25   going to receive radiation after your

                                                  243                                                 245
    1   right?                                           1   chemotherapy, right?
    2       A. Uh-huh (affirmative).                     2      A. Yes.
    3       Q. And you experienced pain. And was it      3      Q. And did you have a consultation with
    4   almost immediately after the surgery?            4   a radiation oncologist?
    5       A. Yeah.                                     5      A. Yes.
    6       Q. Okay. And you're still experiencing       6      Q. Do you remember the name of that
    7   it today.                                        7   person?
    8       A. Yeah. I still have pains in my chest      8      A. My radiation doctor was Dr. Kraus.
    9   wall on my left side where I had the             9      Q. Okay. What do you remember about
   10   mastectomy.                                     10   your consultation with Dr. Kraus?
   11       Q. Okay. And how often do you               11      A. He explained to me that I would have
   12   experience that pain?                           12   radiation and that I could have complications
   13       A. Like, every -- sometimes, every day,     13   with my chest wall burning, irritating.
   14   when I do too much movement, or every other     14      Q. So Dr. Kraus told you there were
   15   day, or sometimes, twice a week.                15   going to be risks to the radiation as well,
   16       Q. Do you take any medication for the       16   right?
   17   pain?                                           17      A. Right.
   18       A. Well, right now, they just tell me to    18      Q. What risks did he tell you about?
   19   take the Aleve or the ibuprofen.                19      A. I would have problems with my -- I
   20       Q. And was pain after the mastectomy one    20   could be -- burning sensation, infection,
   21   of the things that you were warned about when   21   bleeding.
   22   you had your discussion with Ms. Wey about      22      Q. Anything else?
   23   the potential risks of the surgery?             23      A. Yeah. He explained it kind of
   24       A. Yeah.                                    24   thoroughly. I took him at his word.
   25       Q. Okay. So that was something you          25      Q. Okay. Do you recall whether you

                                                                                  62 (Pages 242 to 245)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 64 of 89

                                                  246                                                  248
    1   signed a consent form --                         1      A. Yes.
    2      A. Yes.                                       2      Q. Do you recall Dr. Lewis or any other
    3      Q. -- for the radiation as well?              3   doctor actually handing you a pamphlet
    4      A. Yes.                                       4   regarding chemotherapy?
    5      Q. Okay. Did Dr. Kraus tell you that          5      A. No.
    6   the hope with the radiation treatment was        6      Q. And so if there are records that
    7   that it would cure your cancer?                  7   indicate that you were actually provided
    8      A. No, he didn't say it would cure it.        8   patient information in the office of
    9   But the treatment -- I would need the            9   Dr. Lewis, do you disagree with that record?
   10   treatment to help with it. I understood         10   Do you believe that record is incorrect?
   11   that.                                           11      A. Repeat that again.
   12      Q. Let's talk a little bit about your        12      Q. If there is a record -- let me get
   13   chemotherapy. When you spoke with Dr. Lewis     13   the record for you. I'm going to mark this
   14   about the chemotherapy treatment, did he also   14   as Exhibit E. And it is a medical record
   15   tell you about the benefits of chemotherapy     15   from the University Medical Center in New
   16   in general?                                     16   Orleans, and it's 35 to 37.
   17      A. In what aspect?                           17          So if you'll turn to the page, and if
   18      Q. Well, did he tell you why he was          18   you look at the bottom right-hand corner,
   19   prescribing chemotherapy, what the benefit of   19   you're going to see bold numbers that the
   20   it would be in terms of your cancer?            20   first three numbers are 000. So as I hand
   21      A. Well, he explained to me, after the       21   you these records, the number that I refer to
   22   surgery, that I would need the chemo to back    22   is going to be in the bottom right-hand
   23   up the surgery, to help the cancer from         23   corner.
   24   reoccurring.                                    24      A. 00036?
   25      Q. Okay. So did he explain to you that       25      Q. 00036. And I'm looking at the first

                                                  247                                                  249
    1   your chances of survival would be greatly        1   full sentence on the page 00036: Ms. Johnson
    2   diminished if you did not have the               2   was given Micromedex patient information
    3   chemotherapy?                                    3   handouts on these three medications, with the
    4      A. No.                                        4   expectation that we will start chemotherapy
    5      Q. Did he explain that if your cancer         5   next week after her port is placed.
    6   recurred and you didn't have the                 6         Do you see that?
    7   chemotherapy, your chances of survival would     7      A. Yes.
    8   be less?                                         8      Q. Okay. And so that we have it all in
    9      A. No.                                        9   context, could you go back to 00035?
   10      Q. Why did he tell you you needed            10      A. (Witness complies).
   11   chemotherapy?                                   11      Q. And let me read to you what that
   12      A. To boost my chances of the cancer not     12   says.
   13   coming back.                                    13         Today, we discussed the risks and
   14      Q. Okay. So he said you needed               14   benefits of chemotherapy using the adjuvant
   15   chemotherapy to increase your chances of        15   online tool has demonstrated a 25 percent
   16   survival.                                       16   increase in a 10-year survival with the use
   17      A. Right.                                    17   of hormonal plus chemotherapy intervention.
   18      Q. And so, as you understood it, getting     18   We will likely use the TAC regimen for
   19   chemotherapy would be doing what you needed     19   adjuvant chemotherapy.
   20   to do to get the best chance at beating your    20         Did I read that correctly?
   21   cancer, right?                                  21      A. Yes.
   22      A. Yes.                                      22      Q. Okay. So one of the things that you
   23      Q. You talked about a pamphlet that you      23   told me in your discussion with Dr. Lewis,
   24   reviewed in the office in the waiting room of   24   was that he mentioned that there was a
   25   Dr. Lewis, right?                               25   10-year survival, right?

                                                                                  63 (Pages 246 to 249)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 65 of 89

                                                 250                                                   252
    1      A. Yes.                                       1   signed them or not.
    2      Q. Okay. And does this -- now, looking        2      A. Okay.
    3   at this, does that refresh your recollection     3      Q. I'm just reading the sentence that's
    4   about what he actually told you about your       4   here. It says: Ms. Johnson was given
    5   survival chances --                              5   Micromedex patient information handouts on
    6      A. Yes.                                       6   these three medications. Do you see that?
    7      Q. -- and chemotherapy?                       7      A. Yes.
    8      A. Yes.                                       8      Q. Okay. So does that refresh your
    9      Q. Okay. And so, do you now remember          9   recollection as to whether you were given any
   10   that Dr. Lewis told you that the benefit of     10   handouts at that meeting with Dr. Lewis, on
   11   chemotherapy was a 25 percent increase in the   11   three chemotherapeutic medications?
   12   10-year survival rate, with a hormone plus      12      A. Yes. Yes.
   13   chemotherapy treatment plan?                    13      Q. Okay. Are you saying you do remember
   14      A. Yes.                                      14   that?
   15      Q. Does that sound like what he told         15      A. Yes.
   16   you?                                            16      Q. Do you remember anything else about
   17      A. Yes.                                      17   the handouts?
   18      Q. Okay. And do you remember that now,       18      A. No.
   19   as you read that, sitting here today?           19      Q. Do --
   20      A. Yes.                                      20      A. It's been so long.
   21      Q. And the records says, and I read          21      Q. Do you remember reviewing handouts
   22   T-A-C, TAC. Do you remember discussing TAC      22   that discussed specific risks of chemotherapy
   23   with him?                                       23   drugs?
   24      A. Yes.                                      24      A. Yeah.
   25      Q. Do you remember, as you sit here,         25      Q. All right. Do you recall if those

                                                 251                                                   253
    1   what that stands for?                            1   handouts discussed the risks of anemia with
    2      A. No.                                        2   chemotherapy?
    3      Q. Okay. Do you know what it is?              3      A. Yes.
    4      A. No.                                        4      Q. Do you recall whether they discussed
    5      Q. Okay. Do you know whether -- do you        5   the risk of appetite changes and bleeding?
    6   remember Dr. Lewis describing for you, that      6      A. Yes.
    7   your chemotherapy regimen would include more     7      Q. The pamphlets discussed that. You
    8   than one chemotherapeutic drug?                  8   recall that.
    9      A. Yes.                                       9      A. Yes.
   10      Q. How many did it include?                  10      Q. Okay. Did they discuss the risk of
   11      A. I think it was -- I don't know. I         11   constipation?
   12   had three bags that would hang.                 12      A. Yes.
   13      Q. Okay.                                     13      Q. How about the risk of diarrhea?
   14      A. It's treatment.                           14      A. Yes.
   15      Q. So you do remember that you received      15      Q. Did the chemotherapy pamphlets
   16   three drugs.                                    16   discuss the risk of fatigue?
   17      A. Right.                                    17      A. Yes.
   18      Q. Now, the other sentence that I read,      18      Q. Did they discuss the risk of flu-like
   19   Ms. Johnson was given the Micromedex patient    19   symptoms or infections?
   20   information, does that refresh your             20      A. Yes.
   21   recollection as to whether you were given an    21      Q. Did they discuss the risk of
   22   actual handout when you went to go see          22   infertility?
   23   Dr. Lewis?                                      23      A. No.
   24      A. Yeah. The papers I signed?                24      Q. Okay. So that one, you don't
   25      Q. Well, I'm not saying whether you          25   remember in the pamphlet.

                                                                                  64 (Pages 250 to 253)
                                         Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 66 of 89

                                                  254                                                256
    1      A. No.                                        1   was there an expectation in your mind that
    2      Q. Do you remember in the pamphlet, the       2   you would lose your hair?
    3   discussion of a risk of nausea and vomiting?     3      A. No.
    4      A. Yes.                                       4      Q. You thought it was something that
    5      Q. Do you remember the risk of nervous        5   might happen?
    6   system changes being discussed?                  6      A. Right.
    7      A. Yes.                                       7      Q. But you didn't know when in the
    8      Q. And how about the risk of pain?            8   course of chemotherapy it would happen,
    9      A. Yes.                                       9   right?
   10      Q. Do you remember a discussion about        10      A. No.
   11   skin and nail changes being discussed?          11      Q. Is that --
   12      A. Yes.                                      12      A. I didn't know.
   13      Q. And how about urinary, kidney, and        13      Q. Okay. So I'm correct. You thought
   14   bladder changes?                                14   the risk was there, that you would lose your
   15      A. Yes.                                      15   hair --
   16      Q. Do you remember the risk being            16      A. Right.
   17   discussed of hair loss?                         17      Q. -- but you didn't know when in the
   18      A. Yes.                                      18   course of treatment, it would happen,
   19      Q. Tell me what you remember about the       19   correct?
   20   risk of hair loss being discussed in that       20      A. Correct.
   21   information.                                    21      Q. Okay. Did you know whether it could
   22      A. I would lose my hair temporarily.         22   happen after chemotherapy treatment was
   23      Q. When did it say the hair loss would       23   completed?
   24   begin?                                          24      A. No, I didn't.
   25      A. During my chemo.                          25      Q. You didn't know whether that was a

                                                  255                                                257
    1      Q. During your chemo?                         1   risk?
    2      A. Yes.                                       2       A. Well, I knew it was a risk, but I
    3      Q. And do you remember about how long         3   didn't know --
    4   after your chemo the hair loss was supposed      4       Q. Okay.
    5   to start?                                        5       A. -- when the hair would be lost.
    6      A. I started my first treatment.              6       Q. Right. So you didn't -- the hair
    7      Q. I'm just talking about the --              7   could be lost, as far as you knew, during
    8      A. Oh.                                        8   treatment or after treatment, right?
    9      Q. -- written material that you               9       A. Right.
   10   received.                                       10       Q. And as you understood it, what hair
   11      A. No, it didn't.                            11   was it that you were at risk of losing? Was
   12      Q. Not anything that you experienced,        12   it just --
   13   but the written material. Do you recall         13       A. My head.
   14   whether it said how long after beginning your   14       Q. -- the hair on your head?
   15   chemotherapy treatment, the risk of you         15       A. My head, my pubic, anywhere hair was
   16   losing your hair, when that actually would      16   on the body.
   17   begin?                                          17       Q. Right. So you understood you had the
   18      A. No.                                       18   risk of hair loss on top of your head.
   19      Q. Okay. Did you ask any questions           19       A. Right.
   20   about that?                                     20       Q. How about your eyebrows, did you
   21      A. No.                                       21   understand that to be a risk?
   22      Q. Did you do any research on that           22       A. Yeah.
   23   issue?                                          23       Q. Okay. And your pubic hair, you
   24      A. No.                                       24   understood that to be a risk?
   25      Q. So when you started chemotherapy,         25       A. Yes.

                                                                                 65 (Pages 254 to 257)
                                          Veritext Legal Solutions
 800-227-8440                                                                               973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 67 of 89

                                                 258                                                  260
    1      Q. And how about hair elsewhere on your       1   hair dryers or, you know, bands that you
    2   body -- your arms, your legs, anywhere else?     2   might put in your hair? Did anyone advise
    3      A. Yes.                                       3   you to stay away from those during
    4      Q. Okay. Did you understand why hair          4   chemotherapy?
    5   loss was a risk for chemotherapy?                5      A. No.
    6      A. No.                                        6      Q. Now, I pointed out in that medical
    7      Q. Do you remember any discussion with        7   record in front of you, the TAC. Do the
    8   Dr. Lewis or anyone else about how               8   words -- I'm going to read what they actually
    9   chemotherapy works?                              9   stand for: Taxotere, Adriamycin,
   10      A. No. I didn't know how it works.           10   cyclophosphamide. Does that ring a bell to
   11      Q. Okay. So do you remember a                11   you, as to the three chemotherapy medications
   12   discussion about the fact that chemotherapy     12   that were recommended by Dr. Lewis?
   13   can damage cell growth, and that that impacts   13      A. Yeah.
   14   the hair at all? If you don't remember,         14      Q. Do you remember them now, now that
   15   that's fine. Say you don't remember.            15   I've read them?
   16      A. I don't remember.                         16      A. Yes.
   17      Q. Okay. You didn't know how it was          17      Q. Okay. When Dr. Lewis explained these
   18   going to happen, and you didn't know why this   18   risks to you --
   19   happened with chemotherapy. You just knew it    19      A. Uh-huh (affirmative).
   20   happened, right?                                20      Q. -- of chemotherapy, did you accept
   21      A. Yes.                                      21   them?
   22      Q. Okay. And, in fact, you knew it           22      A. Repeat it.
   23   happened before your own treatment discussion   23      Q. Did you accept the risks of
   24   with Dr. Lewis because it had happened to       24   chemotherapy as they were explained to you by
   25   members in your family, right?                  25   Dr. Lewis?

                                                 259                                                  261
    1      A. Yes.                                       1      A. Yes.
    2      Q. Many, many years ago.                      2      Q. Okay. And you accepted them as you
    3      A. Yes.                                       3   read them in the patient handout that you
    4      Q. Did you get any advice from Dr. Lewis      4   received, right?
    5   or anyone else on anything special you needed    5      A. Yes.
    6   to do to protect your hair?                      6      Q. Okay. And also, the information that
    7      A. No.                                        7   you read in his office when you were waiting
    8      Q. Okay. But no one ever advised you to       8   to meet with him, right?
    9   protect your hair when you went outside          9      A. Yes.
   10   during your treatment?                          10      Q. Do you recall anything that Dr. Lewis
   11      A. Yes.                                      11   or anyone else told you specifically about
   12      Q. Someone did advise you of that?           12   Taxotere?
   13      A. Yes.                                      13      A. No.
   14      Q. Who was that?                             14      Q. Did Dr. Lewis or anyone else talk to
   15      A. My Dr. Lewis.                             15   you specifically about Adriamycin?
   16      Q. Dr. Lewis.                                16      A. No.
   17      A. Yes.                                      17      Q. Did Dr. Lewis or anyone else talk to
   18      Q. And do you think that was in that         18   you specifically about cyclophosphamide?
   19   same initial meeting --                         19      A. No.
   20      A. Yes.                                      20      Q. When you were told about all of the
   21      Q. -- that he advised you?                   21   risks that we walked through, did you ask any
   22      A. Yeah.                                     22   questions at all about them?
   23      Q. Okay. Did Dr. Lewis or anyone else        23      A. No.
   24   advise you during this period, not to use       24      Q. Did you ask any questions about
   25   hair rollers or curling irons or electric       25   Taxotere specifically?

                                                                                  66 (Pages 258 to 261)
                                         Veritext Legal Solutions
 800-227-8440                                                                               973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 68 of 89

                                                 262                                                  264
    1      A. No.                                        1   of time they would be there, so they was
    2      Q. Before going in for your visit with        2   trying to get everybody situated so we could
    3   Dr. Lewis, had you ever heard of Taxotere?       3   be out. Because I had all-day chemo. I
    4      A. No.                                        4   started, like, 8:00, and finish, like, 4:00.
    5      Q. Had you ever heard of the other two        5   And they would leave about 4:00.
    6   chemotherapeutic agents?                         6      Q. Well, that was my next question. So
    7      A. No.                                        7   when you had your chemotherapy, you arrived
    8      Q. After your meeting with Dr. Lewis,         8   at eight o'clock.
    9   you agreed to go ahead and proceed with the      9      A. Yes.
   10   chemotherapy, right?                            10      Q. And you were there all day.
   11      A. Yes.                                      11      A. Yes.
   12      Q. Okay. And you received your               12      Q. Were you hooked up to the IV all day?
   13   chemotherapy infusions where?                   13      A. Yes.
   14      A. University.                               14      Q. That first chemotherapy infusion, do
   15      Q. Okay. And do you remember when your       15   you remember that day?
   16   first chemotherapy treatment was?               16      A. The first one?
   17      A. I know it was after my surgery. I         17      Q. The first one.
   18   did surgery first, and then chemo. I don't      18      A. Yes.
   19   remember the month.                             19      Q. Do you remember whether the risks of
   20      Q. When you went to that first               20   chemotherapy were discussed with you again?
   21   chemotherapy infusion, was Dr. Lewis present?   21      A. Yes.
   22      A. No.                                       22      Q. And who discussed them with you?
   23      Q. Who was present?                          23   Would that have been the nurse that was
   24      A. When I went to my first chemo             24   there?
   25   infusion?                                       25      A. Yes.

                                                 263                                                  265
    1      Q. Correct.                                   1      Q. Do you remember some of those risks
    2      A. The nurses did it.                         2   that were discussed?
    3      Q. Okay. So Dr. Lewis was not present         3      A. Yes.
    4   at any --                                        4      Q. Okay. Can you tell me what you
    5      A. No.                                        5   remember?
    6      Q. -- of your chemotherapy infusions.         6      A. Told me I may get sick, I may have
    7      A. No.                                        7   vomiting, diarrhea. And she let me know, if
    8      Q. Was there -- do you remember what          8   I had any complications, to let her know, and
    9   nurse was present at your first chemotherapy     9   she could give me something to calm me down.
   10   infusion?                                       10      Q. Do you recall the risk of fatigue
   11      A. No. I don't remember their name. It       11   being discussed?
   12   was different ones. Every time I went, it       12      A. Yes.
   13   was different nurses.                           13      Q. Okay. And how about changes in your
   14      Q. Okay.                                     14   nails?
   15      A. It wasn't the same ones.                  15      A. Yes.
   16      Q. Did you ever become friendly with any     16      Q. Heart failure?
   17   of the nurses? Did you talk to them while       17      A. Yes.
   18   you were there?                                 18      Q. Do you remember discussing the risk
   19      A. No. Because they would hook me up,        19   of leukemia?
   20   and they would have others to hook up.          20      A. Yes.
   21   Because there was different rooms. You know,    21      Q. Do you remember discussing the risk
   22   everybody was trying to get in and get hooked   22   of infection?
   23   up. And sometimes, they had complications to    23      A. Yes.
   24   get you started.                                24      Q. Do you remember discussing the risk
   25        And there was always a certain amount      25   of fever?

                                                                                  67 (Pages 262 to 265)
                                         Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 69 of 89

                                                 266                                                 268
    1      A. Yes.                                       1      Q. So that's a risk of death, right?
    2      Q. And do you remember discussing the         2      A. Yes.
    3   risk of transfusion?                             3      Q. Okay. And then, after the sentence,
    4      A. Yes.                                       4   you see it says -- see where it says
    5      Q. I'm going to mark Exhibit F and hand       5   Ms. Johnson? Ms. Johnson expressed
    6   that to you, and you will see -- do you see      6   understanding of the risks associated with
    7   your name at the top of that document, D.        7   chemotherapy and signed a consent to that
    8   Johnson?                                         8   effect.
    9      A. Yes.                                       9        Do you see that?
   10      Q. And I'll point you out in the upper       10      A. Yes.
   11   left-hand corner, it says, Date of visit,       11      Q. Is that accurate? Did you sign a
   12   8/9/2010. Do you see that?                      12   consent?
   13      A. Yes. August.                              13      A. Yes.
   14      Q. Does that sound accurate as to the        14      Q. Why did you sign the consent form
   15   date of your first chemotherapy treatment?      15   before you began chemotherapy?
   16      A. Yeah. August.                             16      A. I trusted my doctor.
   17      Q. So I'm looking at the last full           17      Q. That doctor being Dr. Lewis.
   18   paragraph, on the first page. And it begins     18      A. Yes.
   19   with: We again. Do you see that?                19      Q. When you signed the consent form that
   20      A. Yes.                                      20   day, did you think about how these risks
   21      Q. Okay. It says: We again discussed         21   might affect you --
   22   with Ms. Johnson, the risks and benefits of     22      A. No.
   23   chemotherapeutic intervention, the risks        23      Q. -- years down the line -- two, three,
   24   being nausea, vomiting, diarrhea, hair loss,    24   four years down the line?
   25   fatigue, malaise, changes in her nails, 1.7     25      A. No.

                                                 267                                                 269
    1   percent risk of heart failure, or risk of        1      Q. Did you think how they might affect
    2   acute myelogenous leukemia, infection, fever,    2   you five, six, seven years down the line?
    3   bleeding, need for transfusion, peripheral       3      A. No.
    4   neuropathy.                                      4      Q. But you understood that those risks
    5         Did I read that correctly?                 5   were present from that point to two, three,
    6      A. Yes.                                       6   four, five, six, seven years down the line,
    7      Q. Okay. And is that an accurate              7   right?
    8   representation, from your recollection, of       8      A. Yes.
    9   what was discussed about the risks of            9      Q. The recommendation that Dr. Lewis
   10   chemotherapy?                                   10   gave you, you were going to follow
   11      A. Yes.                                      11   Dr. Lewis's recommendation, right?
   12      Q. And this is now the second time           12      A. Yes.
   13   you've been told the risks, right?              13      Q. Did you obtain any information from
   14      A. Yes.                                      14   anyone else anywhere other than Dr. Lewis
   15      Q. Okay. And this also discusses hair        15   about your chemotherapy regimen?
   16   loss, right?                                    16      A. No.
   17      A. Yes.                                      17      Q. Okay. And so you didn't obtain
   18      Q. Now, if you look at that list of          18   information from anyone anywhere about
   19   risks, some of those are long-term risks,       19   Taxotere specifically, either, right?
   20   right?                                          20      A. No.
   21      A. Yes.                                      21      Q. And you didn't speak to any other
   22      Q. And some include very serious risks,      22   doctors about it?
   23   like 1.7 percent risk of heart failure,         23      A. No.
   24   right?                                          24      Q. And you did not speak to friends or
   25      A. Yes.                                      25   family about beginning chemotherapy.

                                                                                 68 (Pages 266 to 269)
                                         Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 70 of 89

                                                  270                                                  272
    1      A. No.                                        1        MR. ROOT:
    2      Q. And you also did not do any research,      2         Okay. All right.
    3   right?                                           3        MS. MIMS:
    4      A. No.                                        4         So, yeah, let's take a break.
    5      Q. That's because you relied solely on        5             (Recess).
    6   Dr. Lewis.                                       6
    7      A. Yes.                                       7   EXAMINATION BY MS. MIMS:
    8      Q. Did you attend any classes on              8      Q. I want to talk a little bit more
    9   chemotherapy or cancer or your treatment or      9   about the side effects that we've been
   10   anything like that?                             10   discussing and that I read to you from both
   11      A. No.                                       11   of those records.
   12      Q. Did you attend any support groups?        12         In terms of the list of side effects
   13      A. No.                                       13   that Dr. Lewis told you about and that you
   14      Q. Did anyone tell you about any classes     14   read about, you didn't know which of those
   15   or support groups?                              15   side effects might happen to you, right?
   16      A. Yes.                                      16      A. No.
   17      Q. What did they tell you?                   17      Q. Okay. Did you believe that you'd be
   18      A. They asked me, did I want to              18   more likely to have certain side effects than
   19   participate, but I was too sick to go           19   others of the list?
   20   anywhere.                                       20      A. No.
   21      Q. Who asked you if you wanted to            21      Q. Okay. Did you think that the hair
   22   participate?                                    22   loss was probably more likely than, let's
   23      A. At the clinic.                            23   say, leukemia or the 1.7 percent risk of a
   24      Q. The nurses at the --                      24   heart attack?
   25      A. Yeah. Uh-huh (affirmative).               25      A. Yes.

                                                  271                                                  273
    1      Q. The nurses at the infusion center?         1      Q. Okay. So you thought the hair loss
    2      A. Right.                                     2   was more likely than some of the other ones,
    3      Q. Okay. What kind of -- what did they        3   right?
    4   say was available for you, in terms of           4      A. Yes.
    5   support?                                         5      Q. Did you expect, going into the
    6      A. They had support groups at the             6   chemotherapy, that there was a pretty good
    7   hospital, if I, you know, was able to attend,    7   chance you'd lose your hair?
    8   and I could, you know, come and join in on       8      A. No.
    9   the support groups --                            9      Q. Okay. Did you make any plans for it,
   10      Q. Okay.                                     10   in case you did lose your hair?
   11      A. -- to have a support system.              11      A. No.
   12        MR. ROOT:                                  12      Q. Did you think about what you would do
   13           I apologize.                            13   if you did start to lose you hair? Like, did
   14        MS. MIMS:                                  14   you think about options of purchasing a wig
   15           Do you want a break?                    15   or wearing a hat, or did you think about how
   16        MR. ROOT:                                  16   you were going to handle it if the hair loss
   17           Could I just have five?                 17   did begin?
   18        MS. MIMS:                                  18      A. No.
   19           Yeah.                                   19      Q. Why did you think that -- you keep
   20        MR. ROOT:                                  20   saying you thought the hair loss was going to
   21           I just had a little                     21   be temporary, right?
   22   unfortunate --                                  22      A. Yes.
   23        MS. MIMS:                                  23      Q. Okay. Why did you think that?
   24           No. It's a good time for a              24      A. Because my sister's hair had came
   25   break. We've been going for a long time.        25   back.

                                                                                  69 (Pages 270 to 273)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 71 of 89

                                                  274                                                 276
    1      Q. All right. Any other reason?               1     Q. So she had a different type of
    2      A. Yeah. And upon going to the clinic         2   chemotherapy.
    3   and I was seeing other ladies that was coming    3     A. Right.
    4   to the clinic, well, their hair had came         4     Q. Do you know what medication --
    5   back.                                            5     A. No.
    6      Q. And you talked about the clinic and        6     Q. -- she took?
    7   that you would be sitting -- you said from       7     A. No.
    8   8:00 to 4:00, right?                             8     Q. But you had a conversation with her?
    9      A. Yes.                                       9     A. Yeah.
   10      Q. All right. Did you miss any of your       10     Q. And did she have breast cancer?
   11   cycles?                                         11     A. I'm not sure.
   12      A. No.                                       12     Q. You're not.
   13      Q. Of chemo. Did you miss any of your        13        But you know she was getting
   14   chemotherapy infusions?                         14   chemotherapy for cancer.
   15      A. No.                                       15     A. Yeah.
   16      Q. You had six cycles, right?                16     Q. And you saw her at a point when she
   17      A. Yes.                                      17   had lost some of her hair?
   18      Q. And you were there all day for all        18     A. Yeah.
   19   six of them?                                    19     Q. Had she lost all of it?
   20      A. Yes.                                      20     A. Yeah.
   21      Q. Did you make any friends with any of      21     Q. All right. And then you saw her
   22   the other people who were in there with you?    22   again at radiation, right?
   23      A. No, not in there. Because most was        23     A. Right.
   24   coming and going before I left. I was the       24     Q. And how much longer after
   25   longest.                                        25   chemotherapy was that?

                                                  275                                                 277
    1      Q. Okay. But you said that you did see        1      A. That was -- when I was in radiation,
    2   some people who their hair would grow back.      2   when she ended up, I saw her at the clinic.
    3      A. That was --                                3      Q. So you were on the same sort of
    4      Q. Who were those people?                     4   schedule. She had chemotherapy around the
    5      A. That was later, when I was doing my        5   same time that you did, right?
    6   radiation, that I saw some of the ones that      6      A. Yeah. I saw her once or twice there,
    7   was at the same clinic with me did chemo, but    7   but I don't know how long she had it.
    8   they didn't do as much chemo. And they was       8      Q. Right. Not talking about her
    9   at, you know, the radiation clinic.              9   duration.
   10      Q. How do you know they didn't -- when       10      A. Right.
   11   you say they didn't do as much chemo, do you    11      Q. But she was there around the same
   12   mean they didn't do as much as you?             12   time period.
   13      A. Yes.                                      13      A. Yes.
   14      Q. How do you know that?                     14      Q. Okay. And during that time period,
   15      A. One, well, she didn't have to do          15   you observed her losing her hair, right?
   16   chemo. I met her after I was there. And so,     16      A. Yes.
   17   I was -- we was talking at the radiation        17      Q. And then, when you got to radiation,
   18   clinic. So she just took like a pill. Well,     18   she was there around that same time period,
   19   then she didn't have to take it as long, and    19   too, right?
   20   then she went into radiation.                   20      A. Right.
   21      Q. Okay. So just so I understand it.         21      Q. Okay. And her hair had started to
   22   She did chemo, but she didn't get an            22   grow back.
   23   infusion. She took a pill, if that's what       23      A. Right.
   24   you're saying.                                  24      Q. So you had observed her, and you had
   25      A. Right.                                    25   observed your sister. Was there anyone else?

                                                                                  70 (Pages 274 to 277)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 72 of 89

                                                  278                                                280
    1      A. No.                                        1   with chemotherapy, if you didn't read it,
    2      Q. Okay. And other than those two             2   right?
    3   people and you observing their hair growing      3      A. No. I spoke with my doctor.
    4   back, did you have any other reason to expect    4      Q. Okay. How far apart were your
    5   that it would grow back?                         5   chemotherapy cycles?
    6      A. My hair?                                   6      A. Every three weeks.
    7      Q. Yes.                                       7      Q. Did you ever miss any?
    8      A. Well, I thought I would be getting it      8      A. No.
    9   back. But after it didn't come back, I           9      Q. Did you ever have any that were
   10   thought I was just one of the unlucky ones.     10   delayed?
   11      Q. Okay. Did Dr. Lewis or any other          11      A. No.
   12   medical professional that you had been          12      Q. Let's go back to after your first
   13   seeing, did they ever tell you, your hair's     13   chemotherapy cycle. Did you go home at the
   14   definitely going to grow back?                  14   end of that day?
   15      A. No.                                       15      A. Yes.
   16      Q. And you had done no research on it,       16      Q. Okay. So you didn't stay in the
   17   right?                                          17   hospital or anything like that.
   18      A. No.                                       18      A. No.
   19          MR. ROOT:                                19      Q. Was there someone at home to help
   20            No, you hadn't done research,          20   you? You went back to Tishanne's house,
   21   or . . .                                        21   right?
   22          THE WITNESS:                             22      A. Right.
   23            No, I didn't do any research.          23      Q. Okay. And was she there when you got
   24   EXAMINATION BY MS. MIMS:                        24   home?
   25      Q. How soon did you expect your hair to      25      A. Yes.

                                                  279                                                281
    1   start regrowing?                                 1      Q. How did you feel?
    2      A. I didn't have a time span. I didn't        2      A. Sick, nauseated.
    3   know when it would be growing back because I     3      Q. How long did the nausea last?
    4   was on medication.                               4      A. By the first treatment, it was all
    5      Q. Did you expect that your hair would        5   day. After I got home, it was like up until
    6   grow back in just as it had been before?         6   the night.
    7      A. Yes.                                       7      Q. Were you vomiting as well?
    8      Q. Okay. And again, that was because of       8      A. Yes.
    9   your observations, right?                        9      Q. How long did that last?
   10      A. Right.                                    10      A. I was doing it at the clinic.
   11      Q. Not because of anything anyone            11      Q. You started before you left?
   12   specifically told you.                          12      A. Uh-huh (affirmative).
   13      A. No.                                       13      Q. Okay. And you were done at 4:00,
   14      Q. Okay. And that didn't have to do          14   right?
   15   with any information you read, right?           15      A. Yes.
   16      A. No.                                       16      Q. So you got home to Tishanne's house
   17      Q. Did you read any of the labels of any     17   at around what time?
   18   of the chemotherapeutic agents that you were    18      A. About 5:00.
   19   on?                                             19      Q. About five o'clock?
   20      A. No.                                       20      A. Yes.
   21      Q. Okay. So you didn't read the              21      Q. So, what, you start -- and you were
   22   Taxotere label.                                 22   vomiting at Tishanne's house?
   23      A. No.                                       23      A. Yes.
   24      Q. So the Taxotere label didn't impact       24      Q. How long into the night did that
   25   your decision at all on whether to proceed      25   last?

                                                                                 71 (Pages 278 to 281)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 73 of 89

                                                 282                                                 284
    1      A. It was off and on until about 7:00.       1      Q. Okay. For the muscle pain, what
    2      Q. 7:00 p.m.?                                2   would you rate that, on a scale of 1 to 10,
    3      A. Yes.                                      3   in terms of what the pain was?
    4      Q. Then did it end?                          4      A. Eight.
    5      A. Yes.                                      5      Q. How often did you have it? The
    6      Q. For that night?                           6   muscle pain.
    7      A. Yes.                                      7      A. Often.
    8      Q. Okay. Now, between that time and          8      Q. And what about the joint pain, how
    9   your next treatment, did you have any other     9   would you rate that?
   10   nausea or vomiting?                            10      A. A 9.
   11      A. No.                                      11      Q. And how often would you have joint
   12      Q. So just that first night.                12   pain?
   13      A. Right.                                   13      A. Often.
   14      Q. And did you have any other side          14      Q. Did that last intermittently
   15   effects after that first treatment?            15   throughout the six cycles?
   16      A. Yeah. I had the constipation, the        16      A. Yes.
   17   diarrhea.                                      17      Q. How did you cope with the pain?
   18      Q. How long did they last?                  18      A. A doctor prescribed me some
   19      A. I would get it often. Every time         19   medication.
   20   after -- like, I had my treatment. And then,   20      Q. What did they prescribe for that?
   21   in between, because I couldn't eat anything,   21      A. First, I had the oxycodone. And then
   22   I was on just Boost. I had no appetite.        22   I couldn't take it. And then they prescribed
   23      Q. So that didn't end a few hours after     23   me another hard one, I didn't -- I couldn't
   24   the treatment. That was intermittent           24   take that, so I ended up with the
   25   between --                                     25   hydrocodone.

                                                 283                                                 285
    1      A. Between.                                  1      Q. When you say you couldn't take it,
    2      Q. -- your cycles.                           2   what does that mean?
    3      A. Yeah, between.                            3      A. It was --
    4      Q. So it would go through the three          4      Q. You had a bad reaction to it?
    5   weeks, right?                                   5      A. Yeah. It was making me sick.
    6      A. Right.                                    6      Q. Okay. Did you experience infections
    7      Q. Okay. And how about fatigue, did you      7   as a result of the chemotherapy?
    8   experience any of that?                         8      A. Yeah.
    9      A. Oh, very tired after each treatment.      9      Q. And tell me about that.
   10   And through the days, I would be real, real    10      A. Down below, when I had a -- my urine.
   11   weak.                                          11   A urine infection.
   12      Q. Okay. And did that last in between       12      Q. A UTI?
   13   the treatments as well, the fatigue?           13      A. Yeah.
   14      A. Yes.                                     14      Q. How often did you got a urinary tract
   15      Q. How about muscle pain or joint pain?     15   infection?
   16      A. Yes.                                     16      A. I got it once or twice during --
   17      Q. You experienced that?                    17      Q. During the whole --
   18      A. Yes.                                     18      A. Yeah.
   19      Q. All right. And how often did you         19      Q. -- the whole -- the whole
   20   experience that?                               20   chemotherapy --
   21      A. Often.                                   21      A. Yes.
   22      Q. If you had to rate the pain -- and I     22      Q. -- regimen?
   23   said muscle pain and joint pain. Did you       23      A. Uh-huh (affirmative).
   24   experience both of those?                      24      Q. And how about mouth sores, did you
   25      A. Yes.                                     25   ever experience those?

                                                                                 72 (Pages 282 to 285)
                                         Veritext Legal Solutions
 800-227-8440                                                                              973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 74 of 89

                                                 286                                                  288
    1      A. What it was?                               1   side effects that you were going through
    2      Q. Mouth sores?                               2   while you -- that you were having during your
    3      A. No.                                        3   chemotherapy treatment?
    4      Q. Okay. Did you ever lose fingernails        4      A. Taking medication and trying to get a
    5   or toenails?                                     5   lot of rest and sleeping a lot.
    6      A. No.                                        6      Q. Did you talk to anybody about it?
    7      Q. Okay. Did you ever have any of what        7      A. No.
    8   a doctor told you was an allergic reaction to    8      Q. You didn't talk to Tishanne about it?
    9   the chemotherapy?                                9      A. No.
   10      A. Allergic reaction?                        10      Q. When you were staying at Tishanne's
   11      Q. Yeah. A rash, fever?                      11   house during this period, did you have your
   12      A. Yes.                                      12   own room?
   13      Q. Low blood pressure?                       13      A. Yes.
   14      A. Yes.                                      14      Q. Did Tishanne or any of the grandkids,
   15      Q. Yes to which one?                         15   did they know that you were having all these
   16      A. To all three.                             16   side effects?
   17      Q. You had all three of those?               17      A. No.
   18      A. I didn't have the low blood pressure.     18      Q. How were you able to keep that from
   19   I had high.                                     19   them?
   20      Q. When did you get hives?                   20      A. I would be in my room off to myself.
   21      A. When I would go to the doctor, my         21      Q. Did you have your own rest room, your
   22   pressure would be high sometimes before I get   22   own lavatory?
   23   ready to take my treatment.                     23      A. No. I would come out and go to the
   24      Q. Oh, I'm sorry. I though you said          24   rest room.
   25   hives.                                          25      Q. But they never heard you vomiting?

                                                 287                                                  289
    1         Did you develop a rash?                    1   They didn't know you had diarrhea or the
    2      A. No.                                        2   fever? They didn't know you were going
    3      Q. Okay. Did you develop a fever at any       3   through all these changes?
    4   point?                                           4      A. No.
    5      A. Yes.                                       5      Q. During this period when you were
    6      Q. When?                                      6   going through your chemotherapy treatment,
    7      A. After I had my treatment. And when I       7   did you experience any depression?
    8   get home, sometimes, I would have fever.         8      A. Yes.
    9      Q. So your fever would spike after you        9      Q. When did that start?
   10   had been to the infusion center?                10      A. After I started the chemo.
   11      A. Right.                                    11      Q. So almost immediately afterwards?
   12      Q. And did that happen on each of the        12      A. Yes.
   13   six occasions?                                  13      Q. Did you talk to anybody about it?
   14      A. No. Three of them.                        14      A. I talked to my nurse at the clinic I
   15      Q. Three of them.                            15   was going to after. I was doing -- I had to
   16         Do you know which three?                  16   do those blood thinner. I had to go see her
   17      A. The first three.                          17   for that. And I would get tested and stuff,
   18      Q. Okay. And then the last three, that       18   and I would let her know I was depressed.
   19   didn't happen anymore.                          19   And she'd give me some medication for it.
   20      A. No. It kind of mellowed off.              20      Q. What medication did she give you?
   21      Q. Were you ever worried that you'd have     21      A. I don't remember the name of it, but
   22   to miss a cycle of your chemotherapy due to     22   it was a pill for depression.
   23   all of these reactions?                         23      Q. Did she recommend that you go talk to
   24      A. No.                                       24   anyone about it?
   25      Q. How did you cope with all of these        25      A. Yeah, she did. But I was so -- too

                                                                                  73 (Pages 286 to 289)
                                         Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 75 of 89

                                                 290                                                292
    1   sick to go anywhere. I couldn't really get      1      A. Sleep.
    2   around like I wanted to, so I would discuss     2      Q. Generally --
    3   it with her, how I was feeling.                 3      A. When I went --
    4      Q. How often did you take the medication     4      Q. -- when you were sleeping.
    5   that was prescribed for the depression?         5      A. Right. When I woke up, yeah, it was
    6      A. I took a pill every day.                  6   just coming out.
    7      Q. How long did you continue taking          7      Q. Would you see it on the pillow when
    8   those pills?                                    8   you woke up?
    9      A. Up until after I took the Arimidex.       9      A. Yeah. And then, when I touched it,
   10      Q. Okay. So up until you started --         10   it was just loose, and it was just coming
   11      A. My --                                    11   out.
   12      Q. -- hormone therapy?                      12      Q. And did that start that first night
   13      A. Yeah.                                    13   that you got home?
   14      Q. And then did you stop taking those?      14      A. Uh-huh (affirmative).
   15      A. After I --                               15      Q. How long did it continue?
   16      Q. Okay. Now, at some point, we've          16      A. It all came out the first night.
   17   talked about a lot of side effects. And I      17      Q. All of your hair?
   18   know one of them was hair loss, and we've      18      A. Uh-huh (affirmative).
   19   already established that you began to lose     19      Q. Okay. Did you loose it all?
   20   your hair during chemotherapy. When did that   20      A. Yes.
   21   begin?                                         21      Q. Okay. Did you -- I believe we
   22      A. Soon after the first treatment.          22   discussed this this morning. But did you
   23      Q. Okay. And so tell me what you            23   discuss it with any of your medical
   24   noticed first.                                 24   providers?
   25      A. I start feeling my head getting          25      A. No.

                                                 291                                                293
    1   light. And as I was -- I went to sleep after    1      Q. Did you have a conversation with
    2   that first treatment later on that night.       2   Dr. Lewis at all about this?
    3   When I awake, then I started feeling my hair    3      A. Before it happened.
    4   was coming out.                                 4      Q. After.
    5      Q. So you would put your hand up and         5      A. No.
    6   then you'd --                                   6      Q. Did you discuss it with anyone at the
    7      A. Yeah.                                     7   clinic?
    8      Q. -- touch your hair, and it would just     8      A. No.
    9   come out?                                       9      Q. After it all fell out, was there
   10      A. Uh-huh (affirmative). Just come out.     10   anything left at all?
   11      Q. Okay. And that was after the first       11      A. No.
   12   cycle?                                         12      Q. Okay. Did you wear a wig during that
   13      A. Yes.                                     13   period?
   14      Q. Okay. And did it surprise you?           14      A. No.
   15      A. Yes.                                     15      Q. Ms. Johnson, I am going to show you
   16      Q. Okay. But you knew that that was one     16   what we're marking as Exhibit G. And it is
   17   of the risks that you had been told about,     17   Bates number 00113 to 00114.
   18   right?                                         18         MS. MIMS:
   19      A. Right.                                   19           I'll hand that to you.
   20      Q. But you were still surprised --          20         MR. ROOT:
   21      A. Right.                                   21           Thank you.
   22      Q. -- that it happened to you.              22   EXAMINATION BY MS. MIMS:
   23      A. Uh-huh (affirmative).                    23      Q. And do you see -- up at the top, do
   24      Q. Did it also fall out in the shower or    24   you see your name again, Deborah Johnson?
   25   fall out while you were brushing your hair?    25      A. Yes.

                                                                                74 (Pages 290 to 293)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 76 of 89

                                                  294                                                 296
    1      Q. And this one is dated 11/4/2010. Do        1      Q. -- you'd go for your Coumadin.
    2   you see that?                                    2      A. Yeah.
    3      A. Yes.                                       3      Q. At the clinic.
    4      Q. Does it sound about right to you that      4      A. They would check my blood, my blood
    5   this would have been around cycle 4 of your      5   count.
    6   chemotherapy?                                    6      Q. And if I represent to you that
    7         Well, let me back up and strike that.      7   11/4/2010 is between cycle 4 and cycle 5 of
    8         This says, Anticoagulation Clinic.         8   your chemotherapy, does that sound about
    9   Do you see that?                                 9   right?
   10      A. Yeah.                                     10      A. Yeah.
   11      Q. Okay. Do you remember going to that       11      Q. Who's the one who diagnosed you with
   12   clinic?                                         12   the deep vein thrombosis?
   13      A. That would have been the clinic I was     13      A. I ended up going to the emergency
   14   going to for the Coumadin.                      14   room, because I had a tightening in my neck.
   15      Q. Okay. And you are remember going to       15   And the doctor from the emergency room, in
   16   that clinic for the Coumadin?                   16   turn, referred my doctor as to what was going
   17      A. Yes.                                      17   on with the Port-A-Cath. And Dr. Wey, in
   18      Q. What was that for?                        18   turn, let me know that I would have to go
   19      A. Blood clots.                              19   back to surgery, to get the port taken out
   20      Q. Did you develop -- when did you --        20   the right side and put on the left side.
   21   you had blood clots.                            21      Q. Before you had the port inserted, did
   22      A. Yes.                                      22   you know that deep vein thrombosis was a
   23      Q. When did those develop?                   23   potential risk of having the Port-A-Cath?
   24      A. When they put the Port-A-Cath in.         24      A. No.
   25   And they had to take it out my right and put    25      Q. Were you told that the Port-A-Cath,

                                                  295                                                 297
    1   it on my left. And then I had to do the          1   the insertion of that, is what caused the
    2   Coumadin.                                        2   deep vein thrombosis?
    3      Q. Okay. What was the Coumadin for, if        3      A. No. They just told me I had blood
    4   you remember?                                    4   clots, and so mine was pulling on this side.
    5      A. The blood thinner.                         5   They, in turn, just took it out and put it on
    6      Q. It was a blood thinner.                    6   this side.
    7         And so how often did you have to go        7      Q. And did anyone ever tell you how it
    8   to the Coagulation Clinic to get Coumadin?       8   was that you developed blood clots?
    9      A. I would go, and then I would -- they       9      A. No.
   10   would, in turn, give me the medication. I       10      Q. If you look down into the last full
   11   had the prepackage shots I had to take. And     11   paragraph --
   12   I had to take the shots twice a day, in my      12      A. Uh-huh (affirmative).
   13   stomach.                                        13      Q. -- of the exhibit I handed you. And
   14      Q. You had to take shots twice a day,        14   I'm -- in the middle of the paragraph, and it
   15   but then you -- how often did you go to this    15   says: The patient has chronic hair loss
   16   clinic?                                         16   secondary to chemo. Do you see that?
   17      A. I think I went to the clinic like         17      A. Wait. Where I'm at? The second page
   18   every three weeks.                              18   or the first?
   19      Q. Was it lined up at all with your          19      Q. First page, 00113.
   20   chemotherapy cycles, or did it revolve around   20         THE WITNESS:
   21   that? If you remember.                          21            Right there? The last one?
   22      A. Yeah. Like in between.                    22         MR. ROOT:
   23      Q. Okay. So you would go to your             23            Yeah.
   24   chemotherapy cycle. And in between --           24         THE WITNESS:
   25      A. Right.                                    25            Okay. Patient has . . .

                                                                                  75 (Pages 294 to 297)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 77 of 89

                                                 298                                                   300
    1            Now, what you wanted to know?           1   decision.
    2   EXAMINATION BY MS. MIMS:                         2       Q. I'm going to mark Exhibit H. And
    3     Q. Okay. Do you see that sentence: The         3   Exhibit H that I'm handing you is --
    4   patient has chronic hair loss secondary to       4          MS. MIMS:
    5   chemo? Do you see that?                          5            And I'll read the Bates numbers
    6     A. Yeah.                                       6   for the court reporter first: 00503 to 00505.
    7     Q. Okay. So at this point, by November         7   EXAMINATION BY MS. MIMS:
    8   2010, you've lost all of your hair, right?       8       Q. Could you take a look at that
    9     A. Yes.                                        9   document and tell me if you recognize it?
   10     Q. Okay. And did you have a                   10       A. Yes.
   11   conversation with anyone at the clinic about    11       Q. What is this document?
   12   your hair loss?                                 12       A. Yes.
   13     A. No.                                        13       Q. What is it?
   14     Q. So did you talk to a nurse there?          14       A. Oh. My cancer chemo treatment of
   15   Did you have any conversations at all about     15   cancer using anti-cancer medications.
   16   the hair loss?                                  16       Q. Okay. And I'm going to read the
   17     A. No.                                        17   title for you: Patient Consent to Medical
   18     Q. At this point, you were aware that         18   Treatment or Surgical Procedure and
   19   your hair loss was as a result of the           19   Acknowledgement of Receipt of Medical
   20   chemotherapy you were receiving, right?         20   Information. Did I read that correctly?
   21     A. Yeah.                                      21       A. Yes.
   22     Q. Okay. And you were aware of that on        22       Q. Okay. So in essence, this is a
   23   the first night, when it started to fall out.   23   consent form, right?
   24     A. Right.                                     24       A. Right.
   25     Q. When your hair started to fall out         25       Q. Okay. And if you flip to the back,

                                                 299                                                   301
    1   and as it -- during your chemotherapy, did       1   it's dated November 30th, 2010. Do you see
    2   you have any reason to believe that it was       2   that?
    3   any particular of the three chemotherapy         3       A. Yes.
    4   drugs that you were on?                          4       Q. And is that your signature there?
    5      A. No.                                        5       A. Yes.
    6      Q. Okay. So you thought it could be any       6       Q. Okay. Do you remember when your last
    7   or it could be all of those drugs.               7   cycle of chemotherapy is? -- was?
    8      A. Right.                                     8       A. I'm not sure.
    9      Q. After you started to lose your hair        9       Q. Does November 30th, 2010, sound about
   10   and -- well, at what point? You're saying       10   right?
   11   all of it was gone after the first night,       11       A. Yeah.
   12   right?                                          12       Q. Okay. I'm going to represent to you
   13      A. Right.                                    13   that the records indicate that your last
   14      Q. Okay. But you still went back for         14   cycle was on November 30th, 2010.
   15   your second, third, fourth, and fifth cycles    15       A. Uh-huh (affirmative). Yes.
   16   of chemotherapy, right?                         16       Q. And if you see under there, it also
   17      A. Yes.                                      17   says -- and I'm still looking. We're on the
   18      Q. Why did you continue to go back, if       18   signature line. And then next to it is the
   19   your hair was falling out?                      19   date, 11/30/10. And then under that is 0730.
   20      A. After discussing it with my doctor,       20   Do you see that?
   21   we had already discussed that it was my         21       A. Yes.
   22   decision to keep continuing. I trusted my       22       Q. Does that mean 7:30 a.m.?
   23   doctor and what he said. It was supposed to     23       A. Yes.
   24   be temporary. And I just figured I would        24       Q. Does that -- and I think you said
   25   still take the risk. It was solely my           25   your chemo was from 8:00 a.m. to 4:00 p.m.,

                                                                                  76 (Pages 298 to 301)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 78 of 89

                                                 302                                                   304
    1   right?                                           1        Oh, you're --
    2      A. Yes.                                       2      A. Oh.
    3      Q. Okay. So does it make sense that you       3      Q. It's front and back.
    4   would have signed this at 7:30, before your      4      A. Oh.
    5   chemo started?                                   5      Q. Okay. So, second page, 00504, do you
    6      A. No. I take a shot after each               6   see, Risks Identified By the Louisiana
    7   treatment the next day. I had a shot I would     7   Medical Disclosure Panel? Do you see that?
    8   take after the treatment, after the -- every     8      A. Yeah.
    9   three weeks treatment. Okay?                     9      Q. Okay. Do you see that the first
   10         Say like I take a treatment today.        10   thing listed there is hair loss, right?
   11   Well, tomorrow, I have to go back. I had a      11      A. What there?
   12   shot. I had to go back for them to give me      12      Q. The first thing listed, the first
   13   the shot. I would get the shot the day          13   bullet point --
   14   before I leave, but I had to take the shot,     14      A. Oh.
   15   bring it home, put it in the ice --             15      Q. -- of the Risk Identified By The
   16   refrigerator, and then go back in the           16   Louisiana Medical Disclosure Panel, is hair
   17   morning. And they had to, in turn, give me      17   loss. Do you see that?
   18   the shot.                                       18      A. Yes.
   19         So this would be the shot I would         19      Q. Okay. And so, if we go back through
   20   take the next morning after that last           20   and just kind of recap the records I've shown
   21   treatment, in the morning.                      21   you, I showed you the record that we reviewed
   22      Q. What is it that leads you to believe      22   by Dr. Lewis, on the first time, when he gave
   23   that this has anything to do with a shot?       23   you your diagnosis and prognosis for
   24      A. No. Well, my last treatment -- like       24   treatment. Do you remember that?
   25   I say, I take the last treatment -- say like    25      A. Yeah.

                                                 303                                                   305
    1   if today would have been my last treatment --    1      Q. Okay. And the risk of hair loss was
    2       Q. If today was cycle 6.                     2   discussed at that meeting with him, right?
    3       A. Okay. I would still have to go back       3      A. Right.
    4   the next day in the morning to have a shot.      4      Q. Okay. And then we had the second
    5   I had a shot I had to take after each            5   document that I showed you, which was just
    6   treatment.                                       6   prior to your first cycle of chemotherapy.
    7       Q. I see what you're saying. Okay.           7   Do you remember that?
    8         But your last cycle, cycle 6, you          8      A. Yes.
    9   were still there from 8:00 a.m. to 4:00 p.m.     9      Q. Okay. And we went through the risks
   10   Right?                                          10   that were discussed with you before your
   11       A. Right.                                   11   first cycle started, right?
   12       Q. Okay. And if you read this and if        12      A. Yes.
   13   you -- just on the first page, under            13      Q. Okay. And this is now, on your last
   14   Number 2, it says: Treatment/Procedure:         14   cycle of chemotherapy, and you're signing
   15   Cancer Chemotherapy. Do you see that?           15   another consent form, indicating you
   16   And then it's handwritten in there,             16   understand that hair loss is a risk, right?
   17   Chemotherapy, on the first page?                17      A. Right.
   18       A. Yeah.                                    18      Q. Okay. You understood what you were
   19       Q. And then, if you flip to the second      19   signing when you agreed to the risks listed
   20   page, which is 00504.                           20   in here, right?
   21       A. (Witness complies).                      21      A. Right.
   22       Q. And it says, in the middle, at the       22      Q. As you sit here today, you are cancer
   23   top of the page: Risks Identified By the        23   free; is that correct?
   24   Louisiana Medical Disclosure Panel. Do you      24      A. Yes.
   25   see that?                                       25      Q. And you've had no reoccurrence of

                                                                                  77 (Pages 302 to 305)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 79 of 89

                                                306                                                 308
    1   cancer, right?                                 1   had my chemo, I was still under treatment and
    2      A. No.                                      2   medication. And I just thought, at some
    3      Q. Tell me how you feel, having survived    3   point, I would regain it, since it was
    4   breast cancer over all these years, with no    4   temporarily, but I just, at one -- some point
    5   remission.                                     5   in time, I just figured I was just the
    6      A. With what?                               6   unlucky one, that it wasn't going to come
    7      Q. Tell me how you feel, having survived    7   back.
    8   breast cancer, over these seven years, with    8      Q. When do you think that point
    9   no remission.                                  9   happened, that you thought it wasn't going to
   10      A. I still feel depressed, frustrated,     10   come back?
   11   angry, agitated.                              11      A. After --
   12      Q. What are you depressed over?            12      Q. Was it six months after?
   13      A. But -- my hair loss.                    13      A. After I finished my radiation.
   14      Q. And when you say your hair loss, are    14      Q. After you finished your radiation.
   15   you just referring to the hair loss on your   15      A. Yes.
   16   head?                                         16      Q. Okay. At that point, you thought, my
   17      A. No. I still have problems with my       17   hair's not going to grow back.
   18   left side to my left cavity.                  18      A. Right.
   19      Q. No. When you say hair loss, are you     19      Q. When did you complete your radiation?
   20   just referring to hair loss on your head?     20      A. After my chemo, I went straight into
   21      A. No. I still have depression.            21   it. I had 52 treatments.
   22      Q. No. Just talking about your hair        22      Q. Of radiation.
   23   loss.                                         23      A. Yes.
   24      A. All right.                              24      Q. Do you recall signing a consent form
   25      Q. Okay. Let's focus on that, and then     25   for radiation as well?

                                                307                                                 309
    1   we can talk about --                           1     A. Yes.
    2      A. Okay.                                    2     Q. And your radiation, was that in 2011?
    3      Q. -- the other reasons that you might      3     A. No. All that should have been, in
    4   be depressed. Focusing on the hair loss        4   what, 2010. Everything went straight
    5   alone --                                       5   back-to-back.
    6      A. Right.                                   6     Q. So that was in 2010.
    7      Q. -- is that just the hair on your         7        And at the time of your last
    8   head?                                          8   radiation in 2010, at that point, you said to
    9      A. Yes.                                     9   yourself, My hair is not going to grow back
   10      Q. Okay. So no hair loss anywhere else     10   anymore?
   11   that is causing you depression.               11     A. Right.
   12      A. No.                                     12     Q. Okay. And you did not go and talk to
   13      Q. When your hair wasn't growing back,     13   anyone about that, right?
   14   and you knew that your sister's hair had      14     A. No. I was devastated and depressed.
   15   grown back, you saw the person in radiation   15     Q. Why didn't you seek treatment for
   16   whose hair had come back, did you become      16   your hair loss?
   17   concerned that yours might not grow back?     17     A. I wasn't able to get out at that time
   18      A. Very.                                   18   and point in time. I was still feeling sick.
   19      Q. Okay. Did you think anything other      19   And like I said, I wasn't able to get out and
   20   than the chemotherapy had caused it?          20   go out. I was weak. I couldn't walk. It
   21      A. No.                                     21   was like learning how to do things all over
   22      Q. How long did you think it would take    22   again, because I wasn't able to do anything.
   23   before it would begin to grow back?           23     Q. That was in 2010, though, right?
   24      A. I was uncertain at that point. After    24     A. Right.
   25   taking -- still taking treatments. After I    25     Q. So at some point, you began to get

                                                                                78 (Pages 306 to 309)
                                        Veritext Legal Solutions
 800-227-8440                                                                              973-410-4040
Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 80 of 89

                                                  310                                                 312
    1   better, right?                                   1   months, and that was it?
    2      A. Slowly but surely. After I started         2      A. No. I tried to get more treatment.
    3   going to my rehabilitation.                      3   And then after that -- I had a break like
    4      Q. And where did you go to                    4   three months, and then I was able to go back
    5   rehabilitation?                                  5   like about three more months.
    6      A. LSU.                                       6      Q. Now, was that at LSU as well?
    7      Q. LSU.                                       7      A. Yes.
    8         When did that start?                       8      Q. So you went on two separate occasions
    9      A. Right after my chemo.                      9   to LSU?
   10      Q. So late 2000 --                           10      A. Right.
   11      A. Not the chemo. The radiation.             11      Q. After the second round of therapy,
   12      Q. So late 2010, early 2011?                 12   that second three-month period, did that
   13      A. Yes.                                      13   help? Did you start to feel a little bit
   14      Q. Was there a name of a particular          14   better then?
   15   rehabilitation therapist that you saw there?    15      A. Somewhat.
   16      A. Yeah. I didn't remember her name.         16      Q. Okay. How --
   17      Q. How long did you go for?                  17         MR. ROOT:
   18      A. I went shortly. For about three --        18            Just a second.
   19   three months. I had like every other week,      19         MS. MIMS:
   20   because I only had so, you know, many           20            Let's take a two-minute off the
   21   treatments I could take, so I didn't have       21   record.
   22   very many.                                      22         THE WITNESS:
   23      Q. And LSU, you went -- is there a           23            Okay.
   24   particular part of LSU where you received       24                 (Recess).
   25   this therapy?                                   25   EXAMINATION BY MS. MIMS:

                                                  311                                                 313
    1      A. Yeah. It was in the therapy.               1      Q. So, Ms. Johnson, when you started
    2      Q. Where?                                     2   feeling better after that second round of
    3      A. They had therapy. It was on -- LSU         3   therapy, was there a reason that you didn't
    4   at that time was on Poydras.                     4   go see someone about your hair loss at that
    5      Q. Do you remember the address?               5   time?
    6      A. It was in the Tom Benson Building.         6      A. No.
    7      Q. Okay. Do you remember the address?         7      Q. No, there wasn't a reason?
    8      A. No.                                        8      A. No.
    9      Q. By the time you were done with your        9      Q. Now, that was in 2011. It's now
   10   therapy, were you feeling better? Were you      10   2017. In all the years that have passed, why
   11   able to get up and around?                      11   have you not gone to see someone about your
   12      A. Not really. Because I continued to        12   hair loss?
   13   try to finish doing my therapy at home. They    13      A. I just fingered it wasn't coming
   14   gave me things I could work with at home        14   back. And by it being temporary, I figured I
   15   because I still had the neuropathy in my        15   was just one of the ones that was unlucky,
   16   hands and in my feet. And I couldn't really     16   and it just wasn't coming back.
   17   raise my arm on the left side because I had     17      Q. Okay. So you believed, by 2011, your
   18   the -- all the problems was on my left side,    18   hair wasn't coming back, and you were
   19   from my surgery.                                19   unlucky, and there was nothing you could do
   20      Q. So the therapy was for neuropathy of      20   about it.
   21   hands and feet, and for your left arm.          21      A. Right.
   22      A. Trying to -- yeah -- get my strength      22      Q. Did you ever try and figure out which
   23   back on my left side and to, you know, raise    23   of the three chemotherapeutic agents were --
   24   my arm up again.                                24   whether all of them or what -- which one
   25      Q. And did you just go that three            25   exactly had caused your hair loss?

                                                                                  79 (Pages 310 to 313)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 81 of 89

                                                  314                                                316
    1      A. No.                                        1      Q. Okay. What year was this?
    2      Q. Has any doctor ever told you that          2      A. When I was in Texas. That was before
    3   your hair loss was caused by Taxotere?           3   my chemo.
    4      A. No.                                        4      Q. Before your chemo.
    5      Q. Have you ever thought that your hair       5      A. Yeah.
    6   loss was caused by something other than any      6      Q. But do you remember about what year?
    7   of the chemotherapeutic agents?                  7      A. It had to be about '05.
    8      A. No.                                        8      Q. Five years prior?
    9      Q. As you sit here today, do you know         9      A. No. About 2005.
   10   which of the chemotherapeutic agents you        10      Q. About 2005?
   11   believe caused your hair loss?                  11      A. 2005.
   12      A. No.                                       12      Q. Okay. So that's about five years
   13      Q. So you think it could have been one,      13   prior then to your chemotherapy.
   14   two, or all three of them.                      14      A. Right. Uh-huh (affirmative).
   15      A. Right.                                    15      Q. And in that picture, is that your
   16      Q. Do you believe that your chemotherapy     16   real hair?
   17   played any role with the fact that you're       17      A. Yes.
   18   sitting here today and, for lack of a better    18      Q. Okay. So you're not wearing a wig or
   19   word, you beat the cancer, with no              19   anything?
   20   reoccurrence? Do you believe that the           20      A. No. Unh-unh (negative).
   21   chemotherapy had anything to do with that?      21      Q. And you don't have any weaves on in
   22      A. Yes.                                      22   that?
   23      Q. So, if you had to do it again, would      23      A. No.
   24   you still go through chemotherapy?              24      Q. How old is your son there?
   25      A. Yes. Upon speaking with my doctor.        25      A. Right here, he's about 33.

                                                  315                                                317
    1      Q. And if your doctor recommended to you      1      Q. Okay. And the picture on the right,
    2   that you go through the exact same               2   the horizontal one, which I'm assuming is in
    3   chemotherapeutic regimen, you would follow       3   the winter because you have on a Santa cap.
    4   his advice, right?                               4      A. Yeah. December. Yeah. That was --
    5      A. With advice, yes.                          5   this would have been the year before my two
    6      Q. Did you ever consider that you             6   sisters passed.
    7   experiencing menopause during chemotherapy       7      Q. Okay. So is that 2005? Do we think
    8   might have caused some of your hair loss?        8   that's the same year?
    9      A. No.                                        9      A. Yeah.
   10      Q. Do you know any women that have gone      10      Q. And I'm going to ask you the same
   11   through menopause?                              11   question. I mean, you can only see part of
   12      A. No. Q. Let's look at some of the          12   your hair coming from the wig. But is that
   13   photographs that you produced. We'll mark       13   all your hair?
   14   these as -- the first set, which I'm going to   14      A. Yes.
   15   hand to you, is going to be marked as Exhibit   15      Q. Okay. So you're not wearing a wig in
   16   I.                                              16   that picture.
   17         Do you recognize those photographs?       17      A. No.
   18      A. Yes.                                      18      Q. And you do not have a weave or
   19      Q. All right. On the first page, let's       19   anything like that in that picture.
   20   look at the horizontal picture, with you and    20      A. No.
   21   a gentleman in the Yankees hat. Do you see      21      Q. Is your hair in -- well, let's start
   22   that?                                           22   with the picture, the one with the Santa hat
   23      A. Yes.                                      23   and holding the beer. Is that -- are there
   24      Q. Who is that?                              24   braids in your hair?
   25      A. My son.                                   25      A. That was extensions, yeah.

                                                                                  80 (Pages 314 to 317)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 82 of 89

                                                 318                                                   320
    1      Q. Oh. So you do have extensions.             1   picture, with you with four gentlemen, two
    2      A. On that one there, yes.                    2   older and then two children.
    3      Q. Okay. So how long do you think your        3      A. Yeah. That's mine.
    4   -- an extension is what it sounds like.          4      Q. Are those your grandkids?
    5      A. Right.                                     5      A. Yeah.
    6      Q. An extension of your real hair.            6      Q. Okay. Tell me who the people in the
    7      A. Well, mine's was to my shoulder.           7   picture are. Or who is the gentleman in the
    8      Q. Okay. And so the part that we see          8   yellow?
    9   down below --                                    9      A. That's my son.
   10      A. Uh-huh (affirmative).                     10      Q. Is that -- okay. The same son from
   11      Q. -- your chin in that picture, that        11   the front page.
   12   part is not your hair.                          12      A. Right.
   13      A. No.                                       13      Q. Okay.
   14      Q. Okay. And that's what you call an         14      A. The red shirt, my oldest grandson.
   15   extension.                                      15      Q. And what is his name?
   16      A. Right.                                    16      A. Donell.
   17      Q. How often would you get extensions?       17      Q. So that's Donell, who would put your
   18      A. Not that often. I would get regular       18   hair in twists.
   19   loose twists in my regular hair.                19      A. Right.
   20      Q. Okay. And that's what your grandson       20      Q. And how old is he in that picture?
   21   used to give to you, the twists?                21      A. He's about 16.
   22      A. Right. Uh-huh (affirmative).              22      Q. And how about the two kids in the
   23      Q. And that was once a month.                23   front?
   24      A. Yeah.                                     24      A. That's the twin.
   25      Q. Was that pretty regularly, once a         25      Q. Uh-huh (affirmative).

                                                 319                                                   321
    1   month?                                           1      A. Rayquan Johnson. And the younger
    2      A. Right. Uh-huh (affirmative).               2   brother, Raysan, to the left.
    3      Q. Leading up to --                           3      Q. Okay. They're twins, you said?
    4      A. Yeah.                                      4      A. No.
    5      Q. -- the time of your --                     5      Q. Oh.
    6      A. Yeah.                                      6      A. The one to the right has a twin
    7      Q. -- diagnosis?                              7   sister.
    8      A. When, like when a holiday come or          8      Q. I see. Okay.
    9   something, I would get the extensions.           9      A. Raymiain.
   10      Q. Get the extensions.                       10      Q. And that's -- is that you in the
   11      A. Uh-huh (affirmative).                     11   middle?
   12      Q. Okay. And this was likely around a        12      A. Yes.
   13   holiday because of the hat.                     13      Q. And you see a date on there. That's
   14      A. Right. Uh-huh (affirmative).              14   July 7th, 2007?
   15      Q. So in the bottom picture, where you       15      A. Yeah.
   16   are with your son, do you have any extensions   16      Q. Now, your hair in that picture is
   17   on in that picture?                             17   significantly shorter than the one from 2005.
   18      A. No. It was my hair braided at that        18      A. Well, it's pinned up to the back.
   19   time. I was in Atlanta.                         19      Q. Okay. So, what is the length of your
   20      Q. Your hair was braided in that one.        20   hair?
   21      A. Uh-huh (affirmative).                     21      A. I had the long extensions. I was in
   22      Q. Let's flip to the second page of          22   Atlanta.
   23   Exhibit I.                                      23      Q. Say it again. I'm sorry.
   24      A. (Witness complies).                       24      A. I had the extensions. I was --
   25      Q. And I'm looking at the bottom             25      Q. In 2007?

                                                                                  81 (Pages 318 to 321)
                                         Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 83 of 89

                                                 322                                                   324
    1      A. Uh-huh (affirmative).                      1   had in the Bible.
    2      Q. In this picture, do you have               2       Q. So we discussed earlier, pictures
    3   extensions?                                      3   that you might have in your house. And you
    4      A. Yeah. It's like twist into my hair.        4   had said there was only the one in the frame.
    5   But I had a ponytail. It was going to the        5       A. Yeah. But I had got these from my
    6   back.                                            6   daughter, and I put them in the Bible for to
    7      Q. Okay. You have a ponytail.                 7   give to my attorney.
    8      A. Yeah.                                      8       Q. You got -- okay. So you got those
    9      Q. You can't see.                             9   from your daughter.
   10      A. Uh-huh (affirmative).                     10       A. Yeah.
   11      Q. Is your natural hair, without the         11       Q. Okay.
   12   extensions, about the same length at this       12       A. Yeah. These are --
   13   point in 2007, as it is in the 2005 picture?    13       Q. But you're going to follow up with
   14      A. Yes.                                      14   your daughter and your other children to see
   15      Q. And in 2010, when you began your          15   if they have any from --
   16   chemotherapy, about how long was your hair at   16       A. Yeah. I'm going --
   17   that point? Was it about the same length?       17       Q. -- the 2000 --
   18      A. No. It was a little shorter. It was       18       A. -- to see --
   19   to my shoulder.                                 19       Q. Let me finish.
   20      Q. It was to your shoulder.                  20       A. Uh-huh (affirmative).
   21      A. And I had regular twists at that          21       Q. -- from the 2009 to 2010 period.
   22   time.                                           22       A. '10. Okay.
   23      Q. Okay. No extensions, though.              23       Q. Okay. Do you keep anything else in
   24      A. No. Unh-unh (negative). And no            24   your Bible?
   25   locks.                                          25       A. Huh?

                                                 323                                                   325
    1      Q. Okay. And let's look at the picture,       1      Q. Do you keep anything else in your
    2   the other picture on that page. It's you and     2   Bible?
    3   a young woman.                                   3      A. Some money.
    4      A. (Witness complies).                        4      Q. Well, that will stay in the
    5      Q. Who is that?                               5   deposition transcript.
    6      A. My daughter.                               6      A. To keep them from searching, I put it
    7      Q. Okay. And are you holding a beer           7   in the Bible.
    8   there?                                           8      Q. Okay. I'm going to mark as
    9      A. Yes.                                       9   Exhibit J, another set of pictures.
   10      Q. Okay. And this is going to be the         10         MS. MIMS:
   11   time I think when you described that you'd      11           Do you want one, Rick?
   12   have a few beers now and then?                  12         MR. ROOT:
   13      A. Right. Yeah, that was before my           13           Sure.
   14   time.                                           14   EXAMINATION BY MS. MIMS:
   15      Q. And in that picture, do you know what     15      Q. Do you recognize that picture?
   16   year that's from?                               16      A. Yes.
   17      A. That was 2007.                            17      Q. Did you also provide that one to your
   18      Q. That's also 2007.                         18   attorney?
   19      A. Yes.                                      19      A. Yes.
   20      Q. Now, do you remember giving these         20      Q. Who took that picture?
   21   pictures to your attorney?                      21      A. I took them at home. My
   22      A. Yes.                                      22   granddaughter.
   23      Q. Where did you get them from?              23      Q. When did you take the picture?
   24      A. I got these out my Bible. These were      24      A. After my surgery. This was like
   25   the only ones I found. At my house, that I      25   about -- what, two -- about two years ago.

                                                                                  82 (Pages 322 to 325)
                                          Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 84 of 89

                                                 326                                                  328
    1       Q. Well, you said you took it after your     1     A. Like this, but it didn't have the
    2   surgery. What surgery are you referring to?      2   hair. It was just bald.
    3       A. Of my mastectomy. This was after I        3     Q. Okay.
    4   did all my chemo and everything.                 4     A. It was slick.
    5       Q. Okay. Your mastectomy --                  5     Q. So after that first night of
    6       A. But this -- this was like recent.         6   chemotherapy, you had said you laid down and
    7   It's about two years.                            7   you lost almost all your hair.
    8       Q. Your mastectomy was in 2010, right?       8     A. Right.
    9       A. Right. Uh-huh (affirmative).              9     Q. Right?
   10       Q. And are you saying, this picture is      10     A. Uh-huh (affirmative).
   11   from 2015?                                      11     Q. And that was 2010.
   12       A. Yes.                                     12     A. Right.
   13       Q. Why did you take this picture in         13     Q. And that next morning -- this is a --
   14   2015?                                           14     A. I had no hair.
   15       A. Because I was showing my -- I wanted     15     Q. This is a pretty close picture of
   16   pictures to show, my hair wasn't coming back,   16   what it looked like.
   17   with me and my grandkids, because they say,     17     A. Well, there was --
   18   Maw-Maw, you're bald at the top. I say,         18     Q. Except you had no hair.
   19   Well, just take me some pictures.               19     A. Right. It was slick.
   20       Q. And what did you do with them after      20     Q. And here, you can see a little bit of
   21   your -- I'm sorry. You said your daughter       21   hair.
   22   took them?                                      22     A. Right.
   23       A. No. My granddaughter.                    23     Q. Okay.
   24       Q. Your granddaughter.                      24     A. This is pretty much as much as it
   25         Which granddaughter?                      25   grow.

                                                 327                                                  329
    1      A. Dinika.                                    1      Q. So that's the longest it's ever grown
    2      Q. Dinika.                                    2   back.
    3      A. Johnson. Uh-huh (affirmative).             3      A. Uh-huh (affirmative). I'd have like
    4      Q. And so, what was your intention on         4   -- you know, you see the bald spots.
    5   what to do with these pictures?                  5      Q. Uh-huh (affirmative).
    6      A. Nothing, but just have them on hand,       6         When you asked your granddaughter to
    7   well, for my purposes. For to see that --        7   take those pictures, were those the only two
    8   you know, I didn't want to look at them, but     8   she took?
    9   I just wanted to see how I really look on the    9      A. Yeah. Uh-huh (affirmative).
   10   picture, rather than in the mirror.             10      Q. In terms of the care that you would
   11      Q. And did your granddaughter take both      11   give your hair prior to chemotherapy, I know
   12   of the pictures here?                           12   that Donell did your hair. Did you ever go
   13      A. Yeah. This was taken the same day.        13   to any salons?
   14      Q. And are you wearing a wig today?          14      A. No.
   15      A. Yes.                                      15      Q. Who would do the extensions?
   16      Q. Okay. So how does this picture            16      A. My grandson.
   17   compare to how your hair looks today?           17      Q. Did you ever get any treatments for
   18      A. About the same.                           18   your hair, like relaxers or anything like
   19      Q. It looks about the same.                  19   that?
   20      A. Yes.                                      20      A. No. I was just leaving it natural.
   21      Q. Okay. How does this picture compare       21      Q. Okay. Did you ever get one of those
   22   to the way your hair looked on that first --    22   Brazilian treatments --
   23   after that first night of chemotherapy, the     23      A. No.
   24   next day, when you said you began to lose all   24      Q. -- Brazilian Blowout treatments?
   25   your hair?                                      25         No?

                                                                                  83 (Pages 326 to 329)
                                         Veritext Legal Solutions
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 85 of 89

                                                  330                                                 332
    1      A. No.                                        1   anything else besides the chemotherapy?
    2      Q. Okay. So did you ever have any             2      A. Well, I was -- I wasn't feeling
    3   chemicals at all in your hair?                   3   myself, and I would stay off to myself. I
    4      A. Years ago.                                 4   didn't want to be around anyone. I just
    5      Q. How long ago?                              5   wanted to, like, be off to myself. It was
    6      A. Oh, that was about 30 years ago.           6   like a dark place for me, and it was like I
    7      Q. Would that have been around the time       7   didn't want to see any light. I just wanted
    8   that you were taking the CNA course?             8   to be off to myself.
    9      A. Yeah.                                      9      Q. And are you -- and was that as a
   10      Q. And about how many times do you think     10   result of the cancer diagnosis?
   11   -- well, at that time, what was the treatment   11      A. Yeah.
   12   that you were having? Was it a relaxer?         12      Q. Okay.
   13      A. Yeah.                                     13      A. It bothered me. And then, by me
   14      Q. Okay. About how many of those do you      14   going through all the stages, with all the
   15   think that you had?                             15   different deaths in my family, I think it
   16      A. I guess I had about eight because I       16   kind of like took a toll on me, because
   17   had a curl at that time. I was going to the     17   everything was so fast and, you know,
   18   salon to get the -- remember the curl?          18   back-to-back, and it took a toll on me.
   19      Q. When you say curl, do you mean a          19      Q. So you had had a number of deaths --
   20   Jheri curl?                                     20      A. Right.
   21      A. Jheri curl, yeah.                         21      Q. -- in your family right before you
   22      Q. The Jheri curl days.                      22   were diagnosed with cancer.
   23      A. Uh-huh (affirmative). That's the wet      23      A. Right.
   24   curls.                                          24      Q. And that was in the years leading up
   25      Q. So is that the -- that is the             25   to your diagnosis.

                                                  331                                                 333
    1   chemical that you're referring to?               1      A. Right.
    2      A. Right. Uh-huh (affirmative).               2      Q. Okay. So that was a part of your
    3      Q. Okay. And you had that about eight         3   depression.
    4   times.                                           4      A. Right.
    5      A. Yeah.                                      5      Q. So if the records indicate that you
    6      Q. Okay.                                      6   were depressed due to home, family, or social
    7      A. Uh-huh (affirmative).                      7   issues, what do you think --
    8      Q. Have you ever used a heat process to       8      A. That, too. After --
    9   straighten your hair? Did you ever use a         9      Q. Let me finish. If the record
   10   hair blow dryer or a flat iron?                 10   indicates that you were depressed due to
   11      A. No.                                       11   home, family, or social issues, what do you
   12      Q. So you generally left your hair           12   think that is referring to?
   13   natural.                                        13      A. When I was in my depression stage,
   14      A. Right.                                    14   that I didn't want to be bothered, and they
   15      Q. And prior to the time that you had        15   didn't want to be bothered with me, either.
   16   chemo, did you ever dye your hair?              16   So I felt lonely, being alone, off to myself.
   17      A. No.                                       17   It was like I had no one to talk to.
   18      Q. I want to talk a little bit about         18      Q. And do you think, when it says family
   19   something that's come up earlier, and that is   19   and social issues, that's what it's referring
   20   the depression that you went through. And I     20   to?
   21   know that -- well, let me back up.              21      A. Well, I didn't want to be around
   22         I believe you said that it started        22   nobody for social events or anything like
   23   after the chemotherapy; is that right?          23   that. I just -- like I said, I just wanted
   24      A. Yes.                                      24   to be off in a little dark space off to
   25      Q. Okay. Was the depression due to           25   myself. I didn't want to be bothered.

                                                                                  84 (Pages 330 to 333)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 86 of 89

                                                 334                                                  336
    1      Q. How long did that last for you?            1   close to everybody and everybody being
    2      A. Oh, well, up until after I finished        2   together, you know, for the holidays and
    3   all my treatments, and I was, like, getting      3   things.
    4   off my medication, because I was on a lot of     4      Q. This time of year.
    5   medication, too, and that was doing me in,       5      A. Uh-huh (affirmative).
    6   too, because I wasn't used to taking a lot, a    6      Q. Okay. And that depression that
    7   lot of pills. I wasn't really a pill person.     7   you're talking of, about right now, in terms
    8      Q. Was that still going on -- were you        8   of your family and the deaths in your family
    9   still depressed in 2012?                         9   and the holidays, that doesn't have anything
   10      A. Yes.                                      10   to do with your chemotherapy treatment,
   11      Q. And was it for the same reasons?          11   right?
   12      A. Yes.                                      12      A. No.
   13      Q. Okay. And how about in 2013, were         13      Q. In terms of your health today, how
   14   you still depressed then?                       14   would you describe it?
   15      A. I start coming around like about '14.     15      A. Still about a 4 or 5.
   16      Q. When you say coming around, you           16      Q. Out of 10?
   17   started feeling better.                         17      A. 5.
   18      A. Yes.                                      18      Q. Oh. 4 or 5 out of 5?
   19      Q. So throughout 2013, you were still        19      A. 4 or 5 out of 10.
   20   experiencing depression.                        20      Q. Out of 10.
   21      A. Right.                                    21        What makes it a 4 or 5?
   22      Q. Okay. And you believe that was a          22      A. I still have pain, and I still hurt.
   23   result of your cancer diagnosis, your           23      Q. That's the pain in your chest?
   24   treatment, the deaths in your family.           24      A. Yes.
   25      A. Yes.                                      25      Q. Okay.

                                                 335                                                  337
    1      Q. Is that accurate?                          1       A. And --
    2      A. Yes.                                       2       Q. What other pain do you have?
    3      Q. And how do you feel today?                 3       A. And I still feel hurt after losing my
    4      A. I still feel -- sometimes, I get --        4   hair, and it had to come back because I was
    5   like, now, I get into my little phases, where    5   so used to, you know, doing -- getting my
    6   sometimes, I feel like I'm going back into       6   hair done and being out in public. And I'm
    7   depression, because this is during the time      7   not able to go out, you know, without hair;
    8   when I had all the problems, you know, with      8   and that kind of bothers me.
    9   all the death, between like now and my           9       Q. Do you go out with a wig on?
   10   birthday.                                       10       A. Yeah. But not in the summer, because
   11      Q. What do you mean, all the debt?           11   it's too hot. With us down here, I sweats a
   12      A. Losing all my family members.             12   lot, and then my hair itches and stuff, and I
   13      Q. Oh, I'm sorry. I thought you said         13   can't do, you know, the things I be wanting
   14   debt.                                           14   to do. Out in the sun, I can't be exposed
   15      A. Unh-unh (negative). Death.                15   without, you know, having a hat on or some
   16      Q. All the death.                            16   hair.
   17      A. Yeah. Death.                              17       Q. So you stay in in the summer because
   18      Q. Okay. Do you feel like -- you said        18   you -- because of the heat down here.
   19   you started coming out of it in 2014. Do you    19       A. Right.
   20   feel like it's gotten a little bit better       20       Q. It's too hot.
   21   every year?                                     21       A. Uh-huh (affirmative).
   22      A. Yeah, it's getting better.                22       Q. And you don't want to wear a wig
   23      Q. It's getting better?                      23   outside.
   24      A. Well, it just, this time, you know, I     24       A. No. It's too hot.
   25   get sentimental because I was used to being     25       Q. Is there any other way in which your

                                                                                  85 (Pages 334 to 337)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 87 of 89

                                                  338                                                340
    1   hair loss has affected you today?                1   your hair loss?
    2      A. Yeah. Not being coming back, and I         2      A. No. The only thing I have to, when I
    3   feel like I was, like I say, one of the          3   -- I have to buy, you know, wigs and things
    4   unlucky ones. And I'm still bothered by the      4   of that nature for to cover my head.
    5   fact that it hasn't come back.                   5      Q. Okay. And how much do you think
    6      Q. Are there any other physical injuries      6   you've spent on wigs?
    7   that you're claiming as a result of your use     7      A. Oh, between the time I had my surgery
    8   of Taxotere?                                     8   and stuff, about six, 600.
    9      A. No.                                        9      Q. 600?
   10      Q. Just the hair loss?                       10         Now, are you alleging that Taxotere
   11      A. Yes.                                      11   caused any other injuries that we haven't
   12      Q. Aside from going out in the summer,       12   discussed yet here today?
   13   which you've told us about, is there any        13      A. No.
   14   other activity that you're prevented from       14      Q. Okay. Have you ever been a plaintiff
   15   doing because of your hair loss?                15   in a lawsuit before this one?
   16      A. Yeah. I can't go out and be about,        16      A. No.
   17   like I say, in the heat and in the summer.      17      Q. Have you ever been a defendant in a
   18   Because I'm used to, you know, swimming and     18   lawsuit before?
   19   different things of that nature. And now,       19      A. No.
   20   I'm -- I don't want to be seen without my       20      Q. Were you ever asked to be in a
   21   hair because people tend to stare at you.       21   clinical trial?
   22   And some people, they look at you like, you     22      A. No.
   23   know, you're a man, when they see you being a   23         MS. MIMS:
   24   bald-headed woman.                              24           If we can take a five-minute
   25      Q. Is that mainly during the summer,         25   break?

                                                  339                                                341
    1   that that impacts you?                           1         MR. ROOT:
    2       A. Yes.                                      2            Of course.
    3       Q. So in the winter months, or when it's     3         MS. MIMS:
    4   not as hot out, you -- it doesn't impact you,    4            We'd probably almost be done.
    5   because you can wear a wig out.                  5                (Recess).
    6       A. Yean. I can kind of go out and, you       6   EXAMINATION BY MS. MIMS:
    7   know, not feel bad about, you know, myself,      7      Q. Ms. Johnson, at the moment, I have no
    8   knowing that I do have some hair.                8   further questions for you. So how long we
    9       Q. What does the temperature have to be      9   stay is going to depend on how long your
   10   for you not to want to go outside?              10   attorney keeps us here. And if I have any
   11       A. Well, we usually be hot, hot, hot        11   follow-up, but it will likely be short, if I
   12   here. It usually be up in the 90s, and          12   do. So . . .
   13   sometimes, we reach the hundreds.               13         MR. ROOT:
   14       Q. And at that point, you don't want to     14            Sure.
   15   go out, if it's in the 90s.                     15   EXAMINATION BY MR. ROOT:
   16       A. No.                                      16      Q. And, Ms. Johnson, I'm Richard Root.
   17       Q. I assume, though, at some point, you     17   And I'm your attorney, correct?
   18   will go outside, that you don't stay in all     18      A. Yes.
   19   summer, right?                                  19      Q. Just a couple quick questions.
   20       A. No. At some point, I do go. But I        20         Have you ever worked for
   21   go, like, in the morning, when it's cool.       21   Sanofi-Aventis, the defendant?
   22   I'll go out after, you know, the sun goes       22      A. No.
   23   down.                                           23      Q. Have you ever been an oncologist?
   24       Q. Do you claim any medical -- that         24      A. No.
   25   you've incurred any medical expenses from       25      Q. Okay. Do you have -- how old was

                                                                                 86 (Pages 338 to 341)
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Case 2:16-md-02740-JTM-MBN Document 5734-5 Filed 01/07/19 Page 88 of 89

                                                342                                                         344
    1   your oncologist when you made that -- when      1          WITNESS' ATTESTATION
    2   you had your infusions? Your chemotherapy.      2
    3      A. I'm not sure.                             3         I have read or have had the foregoing
    4      Q. Was he a young man or an older man?       4   testimony read to me, pursuant to Rule 30(e)
    5      A. In between.                               5   of the Federal Rules of Civil Procedure
    6      Q. Okay. From your personal knowledge,       6   and/or Article 1445 of the Louisiana Code of
    7   do you have any idea what information           7   Civil Procedure, and hereby attest that, to
    8   Sanofi-Aventis gave to your oncologist for,     8   the best of my ability and understanding, it
    9   say, six years prior to you having your         9   is a true and correct transcription of my
   10   infusion?                                      10   testimony, with the exception of any attached
   11      A. No.                                      11   corrections or changes, complete with reasons
   12      Q. Okay. We also talked a little bit --     12   for changes, on the Witness' Amendment Pages;
   13   you were asked a question about, if you had    13         I have in no way altered the printed
   14   to do chemotherapy again. So I want to ask     14   transcript pages containing testimony herein,
   15   you: If, in your discussion with your          15   tampered with the seal on the last numbered
   16   physician, you were told that you had two      16   page herein, or tampered with the security
   17   different chemotherapy drugs, that worked      17   strip on the binder hereof. The integrity of
   18   about equally well, but one would give you     18   this certified transcript has been maintained
   19   permanent hair loss greater than the other     19   in the identical form as it was received by
   20   drug, that wouldn't give you as much chance    20   me, with the exception of any changes on the
   21   of permanent hair loss, which one would you    21   Witness' Amendment Pages.
   22   pick?                                          22
   23         MS. MIMS:                                23
   24           I think I'll do a foundation           24   Date________Signature________________________
   25   objection for that.                            25               DEBORAH ANN JOHNSON


                                                343                                                         345
    1         THE WITNESS:                              1          CERTIFICATE
    2           The one that would give me a risk       2
    3   of less hair loss.                              3         This certification is valid only for
    4         MR. ROOT:                                 4   a transcript accompanied by my original
    5           All right. Thank you. I have no         5   signature and original required seal on this
    6   further questions.                              6   page.
    7   EXAMINATION BY MS. MIMS:                        7         I, TERENCE D. SKELTON, Certified
    8      Q. Ms. Johnson, I have no further            8   Court Reporter in and for the State of
    9   questions, but I wanted to thank you. You've    9   Louisiana, as the officer before whom this
   10   been very patient here today.                  10   testimony was taken, do hereby certify that
   11      A. Thank you.                               11   DEBORAH ANN JOHNSON, after having been duly
   12      Q. And I wish you the best of luck.         12   sworn by me upon authority of R.S. 37:2554,
   13      A. Thank you.                               13   did testify as hereinbefore set forth in the
   14         MS. MIMS:                                14   foregoing 344 pages;
   15           Thank you.                             15         That this testimony was reported by
   16         MR. ROOT:                                16   me in the stenotype reporting method, was
   17           Thank you.                             17   prepared and transcribed by me or under my
   18         (Deposition concluded at 4:35 p.m.)      18   personal direction and supervision, and is a
   19                                                  19   true and correct transcript to the best of my
   20                                                  20   ability and understanding;
   21                                                  21         That the transcript has been prepared
   22                                                  22   in compliance with transcript format
   23                                                  23   guidelines required by statute or by rules of
   24                                                  24   the board, and that I am informed about the
   25                                                  25   complete arrangement, financial or otherwise,


                                                                                    87 (Pages 342 to 345)
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                                                                346
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    1     with the person or entity making arrangements
                                                                                       290 W. Mt. Pleasant Ave. - Suite 3200
    2     for deposition services;                                                       Livingston, New Jersey 07039
    3           That I have acted in compliance with                                  Toll Free: 800-227-8440 Fax: 973-629-1287
    4     the prohibition on contractual relationships,
    5     as defined by Louisiana Code of Civil                          ______________, 2017
    6     Procedure Article 1434 and in rules and                        To: Betsy Barnes, Esq.
                                                                         Case Name: Johnson, Deborah v. Sanofi S.A., Et Als
    7     advisory opinions of the board;
                                                                         Veritext Reference Number: 2756382
    8           That I have no actual knowledge of                       Witness: Deborah Ann Johnson Deposition Date: 11/30/2017
    9     any prohibited employment or contractual
   10     relationship, direct or indirect, between a                    Dear Sir/Madam:
   11     court reporting firm and any party litigant
   12     in this matter, nor is there any such                          Enclosed please find a deposition transcript. Please have the witness review the
                                                                         transcript and note any changes or corrections on the included errata sheet, indicating the page,
   13     relationship between myself and a party
                                                                         line number, change, and the reason for the change. Have the witness’ signature at the
   14     litigant in this matter.                                       bottom of the sheet notarized except in California where they are signing under penalty
   15           I am not related to counsel or to the                    of perjury and forward the errata sheet back to us at the address shown above.
   16     parties herein, nor am I otherwise interested
   17     in the outcome of this matter.                                 If the jurat is not returned within thirty days of your receipt of
   18                                                                    this letter, the reading and signing will be deemed waived.

   19                       _________________________
                                                                         Sincerely,
   20                       Terence D. Skelton
                            Certified Court Reporter                     Production Department
   21                       State of Louisiana
                            Certificate No. 88035                        Encl.
   22                                                                    cc: Buffy J. Mims, Esq.

   23
   24
   25



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   2        800-227-8440
     ASSIGNMENT NO. NJ2756382
   3 CASE NAME: Johnson, Deborah v. Sanofi S.A., Et Als
     DATE OF DEPOSITION: 11/30/2017
   4 WITNESS' NAME: Deborah Ann Johnson
   5
       PAGE/LINE(S)/ CHANGE          REASON
   6 ____/_______/_________________/__________
       ____/_______/_________________/__________
   7   ____/_______/_________________/__________
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   8   ____/_______/_________________/__________
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  18   ____/_______/_________________/__________
       ____/_______/_________________/__________
  19   ____/_______/_________________/__________
  20          ________________________
                 Deborah Ann Johnson
  21   (Notary not required in California)
       SUBSCRIBED AND SWORN TO
  22   BEFORE ME THIS______DAY
       OF_______________, 2017.
  23
       _______________________
  24  NOTARY PUBLIC
  25 MY COMMISSION EXPIRES__________________




                                                                                                                           88 (Pages 346 to 348)
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